19-01294-scc      Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44      Main Document
                                         Pg 1 of 185



Juan P. Morillo (pro hac vice)                 Scott C. Shelley
QUINN EMANUEL URQUHART &                       QUINN EMANUEL URQUHART &
SULLIVAN, LLP                                  SULLIVAN, LLP
1300 I Street, NW, Suite 900                   51 Madison Avenue, 22nd Floor
Washington, D.C. 20005                         New York, New York 10010
Telephone: (202) 538-8000                      Telephone: (212) 849-7000
Facsimile: (202) 538-8100                      Facsimile: (212) 849-7100
Email: juanmorillo@quinnemanuel.com            Email: scottshelley@quinnemanuel.com

Eric Winston (pro hac vice)
QUINN EMANUEL URQUHART &
SULLIVAN, LLP
865 South Figueroa Street, 10th Floor
Los Angeles, California 90017
Telephone: (213) 443-3000
Facsimile: (213) 443-3100
Email: ericwinston@quinnemanuel.com

Counsel for the Plaintiffs

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                       BK Case No. 18-11094 (SCC)
                                             (Jointly Administered) (Chapter 15)
PERFORADORA ORO NEGRO,
S. DE R.L. DE C.V., et al.

Debtors in a Foreign Proceeding.

GONZALO GIL-WHITE, PERSONALLY                Adversary Case No. 19-01294 (SCC)
AND IN HIS CAPACITY AS FOREIGN
REPRESENTATIVE OF PERFORADORA
ORO NEGRO, S. DE R.L. DE C.V. AND
INTEGRADORA DE SERVICIOS
PETROLEROS ORO NEGRO, S.A.P.I. DE
C.V.
                 Plaintiff,
     -against-

ALP ERCIL; ALTERNA CAPITAL
PARTNERS, LLC; AMA CAPITAL
PARTNERS, LLC; ANDRES
CONSTANTIN ANTONIUS-GONZÁLEZ;
19-01294-scc   Doc 52   Filed 10/25/19 Entered 10/25/19 23:37:44   Main Document
                                    Pg 2 of 185



ASIA RESEARCH AND CAPITAL
MANAGEMENT LTD.; CQS (UK) LLP;
FINTECH ADVISORY, INC.; DEUTSCHE
BANK MÉXICO, S.A.; INSTITUCIÓN DE
BANCA MÚLTIPLE; GARCÍA
GONZÁLEZ Y BARRADAS ABOGADOS,
S.C.; GHL INVESTMENTS (EUROPE)
LTD.; JOHN FREDRIKSEN; KRISTAN
BODDEN; MARITIME FINANCE
COMPANY LTD.; NOEL BLAIR HUNTER
COCHRANE, JR; ORO NEGRO PRIMUS
PTE., LTD.; ORO NEGRO LAURUS PTE.,
LTD.; ORO NEGRO FORTIUS PTE., LTD.;
ORO NEGRO DECUS PTE., LTD.; ORO
NEGRO IMPETUS PTE., LTD.; PAUL
MATISON LEAND, JR.; ROGER ALAN
BARTLETT; ROGER ARNOLD
HANCOCK; SEADRILL LIMITED; SHIP
FINANCE INTERNATIONAL LTD.; and
DOES 1-100
                  Defendants.

   OPPOSITION TO DEFENDANTS’ MOTIONS TO DISMISS THE COMPLAINT
19-01294-scc              Doc 52         Filed 10/25/19 Entered 10/25/19 23:37:44                                        Main Document
                                                     Pg 3 of 185



                                                   TABLE OF CONTENTS

                                                                                                                                            Page


INTRODUCTION ...........................................................................................................................1
COUNTERSTATEMENT OF FACTS .........................................................................................11
          A.         The Parties .............................................................................................................11
                     1.         The Plaintiffs ..............................................................................................11
                     2.         The Ad-Hoc Defendants ............................................................................12
                     3.         The Seamex Defendants ............................................................................13
                     4.         The Singapore Defendants .........................................................................13
          B.         Oro Negro ..............................................................................................................13
                     1.         Corporate Structure ....................................................................................13
                     2.         Financing....................................................................................................14
                                (a)        The Bonds ......................................................................................14
                                (b)        Security ..........................................................................................15
                                (c)        Events of Default ...........................................................................15
                                (d)        The Trust ........................................................................................16
                     3.         Bondholders’ Advisors ..............................................................................16
                     4.                        ....................................................................................................16
                     5.         The Rigs And Rig Contracts ......................................................................16
                                (a)        The Bareboat Charters ...................................................................16
                                (b)        The Oro Negro Contracts ...............................................................18
          C.         Seamex ...................................................................................................................20
          D.         March 2017 to September 2017 .............................................................................21
                     1.         2017 Proposed Amendments .....................................................................21
                     2.         The Defendants’ Interference ....................................................................21
                                (a)        The Ad-Hoc Group and its Advisors .............................................21
                                (b)        Coordination with Pemex ..............................................................23
          E.         Events After September 11, 2017 ..........................................................................24
                     1.         The Concurso Filing ..................................................................................24
                     2.         Injunctions..................................................................................................25
                     3.         Violations of the Concurso Court’s Injunctions and Mexican Law ..........26
19-01294-scc              Doc 52         Filed 10/25/19 Entered 10/25/19 23:37:44                                   Main Document
                                                     Pg 4 of 185



                                (a)        The Ad-Hoc Group Encourages Pemex to Terminate the
                                           Oro Negro Contracts ......................................................................26
                                (b)        Termination of the Bareboat Charters............................................28
                                (c)        Seamex’s Facilitation of the Ad-Hoc Group’s Interference ..........29
                                (d)        Interference in Oro Negro’s Reorganization..................................30
                                (e)        Interference in January 2018 ..........................................................30
          F.         Global Litigation ....................................................................................................31
                     1.         The Singapore Litigation ...........................................................................31
                     2.         The New York Litigation ...........................................................................32
                     3.         The Norway Lawsuit..................................................................................32
          G.         The Chapter 15 Proceeding ....................................................................................33
          H.         Financial Strangulation and the Criminal Proceedings ..........................................33
                     1.         Mexican Criminal Counsel ........................................................................34
                     2.         First Criminal Complaint ...........................................................................35
                     3.         Second Criminal Complaint .......................................................................36
                     4.         The Third Criminal Proceeding .................................................................37
                                (a)        Fabrication of Evidence .................................................................37
                                (b)        Seizure Order .................................................................................38
                                (c)        The Rigs Take-Over Order ............................................................39
                     5.         The Fourth Criminal Proceeding ...............................................................40
                     6.         Gonzalo Gil ................................................................................................40
ARGUMENT .................................................................................................................................41
I.        THIS ADVERSARY PROCEEDING BELONGS IN THE UNITED STATES ..............41
          A.         Plaintiffs’ Choice Of Forum Is Entitled To Substantial Deference .......................42
          B.         México Is Not An Adequate Alternative Forum....................................................48
                     1.         Defendants Fail To Show That México Meets The Requirements
                                For An Adequate Alternative Forum .........................................................48
                     2.         Defendants Are Estopped From Arguing That México Is An
                                Adequate Alternative Forum......................................................................53
          C.         Private and Public Factors Favor Litigation In This Forum ..................................54
                     1.         Private Factors ...........................................................................................54
                     2.         Public Factors.............................................................................................59
II.       THIS COURT HAS PERSONAL JURISDICTION OVER ALL DEFENDANTS .........63
19-01294-scc      Doc 52        Filed 10/25/19 Entered 10/25/19 23:37:44                                 Main Document
                                            Pg 5 of 185



       A.    This Court Has Specific Jurisdiction Over All Moving Defendants Based
             On Their Own Contacts With The United States And Those Of Their Co-
             Conspirators In Connection With The Claims .......................................................64
             1.        There Is Specific Jurisdiction Over All Of The Moving Defendants
                       Based On The Forum Acts Of Their Co-Conspirators ..............................64
             2.        Moving Defendants Engaged In Multiple Acts In The United
                       States As Part Of A Conspiracy To Interfere with Oro Negro’s
                       Contracts and Take The Rigs .....................................................................69
                       (a)        In 2017, The Ad-Hoc Group Engaged U.S.-Based Advisors
                                  And, In 2018, Met With Co-Conspirators In New York To
                                  Strategize Its Plan To Seize The Rigs ............................................69
                       (b)        In 2018, the Singapore Rig Owners Filed The New York
                                  Litigation In An Attempt To Circumvent The Concurso
                                  Court And Seize The Rigs .............................................................70
       B.    The New York Forum Selection Clause In The Bareboat Charters Subjects
             The Singapore Rig Owners To Personal Jurisdiction In The United States
             As To All Claims ...................................................................................................71
       C.    This Court Has General Jurisdiction Over Seadrill Because It Has
             Continuous And Systematic Contacts With The United States .............................75
       D.    Exercising Personal Jurisdiction Over The Moving Defendants Would Not
             Offend Traditional Notions of Fair Play And Substantial Justice .........................78
       E.    In The Alternative, Plaintiffs Move For Jurisdictional Discovery ........................80
III.   THE ACT OF STATE DOCTRINE DOES NOT BAR PLAINTIFFS’ CLAIMS ...........82
       A.    The Threshold Conditions For The Act Of State Doctrine Are Not Present .........82
             1.        The Mexican Courts Have Declared That There Is No Official Act
                       Of A Foreign Sovereign At Issue Here ......................................................82
             2.        The Relief Sought Does Not Require This Court To Declare
                       Invalid Any Foreign Sovereign’s Official Act...........................................85
       B.    There Are No Comity Or Foreign Policy Concerns That Allow For
             Application Of The Act Of State Doctrine Here ...................................................90
       C.    The Act Of State Doctrine Should Not Be Applied At The Pleading Stage..........93
IV.    NEW YORK LAW GOVERNS PLAINTIFFS’ TORT CLAIMS ....................................94
       A.    The Place Where The Tortious Conduct Occurred Is Controlling ........................95
       B.    New York Law Governs Plaintiffs’ Tortious Interference And Conspiracy
             To Tortiously Interfere Claims Against The Ad-Hoc Group Defendants .............99
             1.        New York Law Governs Count One, Tortious Interference And
                       Conspiracy To Tortiously Interfere With The Oro Negro Contracts .........99
19-01294-scc    Doc 52         Filed 10/25/19 Entered 10/25/19 23:37:44                                    Main Document
                                           Pg 6 of 185



           2.         New York Law Governs Count Three, Tortious Interference And
                      Conspiracy To Tortiously Interference With Plaintiffs’ Pemex
                      Business Relationship ..............................................................................103
           3.         New York Law Governs Count Thirteen, Tortious Interference
                      And Conspiracy To Tortiously Interfere With Plaintiffs’ Bareboat
                      Charters ....................................................................................................103
           4.         New York Law Governs Count Fourteen, Tortious Interference
                      And Conspiracy To Tortiously Interfere With Plaintiffs’ Singapore
                      Rig Owners Business Relationship ..........................................................104
     C.    New York Law Governs Counts Two And Four, Plaintiffs’ Aiding And
           Abetting Tortious Interference Clams Against The Seamex Defendants ............105
     D.    New York Law Governs Count Nine, Abuse Of Process And Conspiracy
           To Commit Abuse Of Process .............................................................................106
     E.    At A Minimum, New York Law Governs The Availability Of Punitive
           Damages ...............................................................................................................109
V.   THE COMPLAINT STATES A CLAIM FOR THE CAUSES OF ACTION
     UNDER NEW YORK LAW (COUNTS 1-4, 9, 12-14, 17-18, AND 21) .......................110
     A.    Plaintiffs State A Claim For Tortious Interference And Conspiracy To
           Interfere With The Oro Negro Contracts Under New York Law (Count 1) ........110
     B.    Plaintiffs State A Claim For Tortious Interference With Business
           Relationship Under New York Law: Relationship With Pemex (Count 3) ........114
     C.    Plaintiffs State A Claim For The Seamex Defendants’ Aiding And
           Abetting Tortious Interference With The Oro Negro Contracts And With
           Perforadora’s Relationship With Pemex (Counts 2 and 4) ..................................117
     D.    Plaintiffs State A Claim For Abuse Of Process (Count 9)...................................119
     E.    Plaintiffs State A Claim For Tortious Interference With The Bareboat
           Charters (Count 13)..............................................................................................121
     F.    Plaintiffs State A Claim For Tortious Interference With Perforadora’s
           Business Relationship With The Singapore Rig Owners (Count 14) ..................123
     G.    Plaintiffs State A Claim For Civil Conspiracy Against The Seamex
           Defendants (Counts 1, 3, and 13).........................................................................125
     H.    Plaintiffs State A Claim For Civil Conspiracy Against The Ad-Hoc Group
           Members (Counts 1, 3, 9, 13, 14, 21) ..................................................................128
     I.    Plaintiffs State A Claim For Implied Covenant Of Good Faith And Fair
           Dealing (Count 12) ..............................................................................................130
     J.    Plaintiffs State A Claim For Breach Of The Bareboat Charters:
           Reimbursement Costs (Count 17) ........................................................................131
     K.    Plaintiffs State A Claim For Unjust Enrichment (Count 21) ...............................133
19-01294-scc             Doc 52          Filed 10/25/19 Entered 10/25/19 23:37:44                                   Main Document
                                                     Pg 7 of 185



VI.       IN THE ALTERNATIVE, PLAINTIFFS STATE CLAIMS UNDER MEXICAN
          LAW (COUNTS 5-8, 10-11 AND 15-16) .......................................................................135
          A.         Violations of the Ley de Concursos Mercantiles .................................................138
          B.         Violations of Mexican Criminal Law ..................................................................138
          C.         Violations of Good Customs ................................................................................140
          D.         The Complaint Adequately Alleges Damages Under Mexican Law ...................142
VII.      PLAINTIFFS STATE A CLAIM FOR VIOLATION OF 11 U.S.C. § 1520 AND
          THE COMITY ORDER ..................................................................................................143
          A.         Plaintiffs’ Rights Are Located Within The Territorial Jurisdiction Of The
                     United States ........................................................................................................143
          B.         Defendants Violated The Automatic Stay Under 11 U.S.C. § 1520....................145
          C.         Defendants Violated This Court’s Comity Order ................................................149
VIII.     THIS COURT HAS JURISDICTION OVER THE ABUSE OF PROCESS
          CLAIMS AND PLAINTIFFS DO NOT LACK STANDING ........................................150
          A.         Bankruptcy Jurisdiction Exists Over All Plaintiffs’ Claims ................................150
          B.         Plaintiffs Have Standing To Bring Claims Under Chapter 15 .............................157
IX.       THIS ADVERSARY PROCEEDING IS CONSISTENT WITH THE PURPOSE
          OF CHAPTER 15 ............................................................................................................159
CONCLUSION ............................................................................................................................162
19-01294-scc            Doc 52        Filed 10/25/19 Entered 10/25/19 23:37:44                           Main Document
                                                  Pg 8 of 185



                                            TABLE OF AUTHORITIES

                                                                                                                          Page

Cases

2002 Lawrence R. Buchalter Alaska Tr. v. Philadelphia Fin. Life Assur. Co.,
       96 F. Supp. 3d 182 (S.D.N.Y. 2015)................................................................................ 97

A.V.E.L.A., Inc. v. Estate of Marilyn Monroe, LLC,
       131 F. Supp. 3d 196 (S.D.N.Y. 2015).................................................................... 116, 135

Abdullahi v. Pfizer, Inc.,
       562 F.3d 163 (2d Cir. 2009)....................................................................................... 48, 54

Abogados v. AT&T, Inc.,
      223 F.3d 932 (9th Cir. 2000) ........................................................................................... 98

Accent Delight Int’l Ltd. v. Sotheby’s,
       394 F. Supp. 3d 399, 412 (S.D.N.Y. 2019)...................................................................... 62

Accordia Ne., Inc. v. Thesseus Int’l Asset Fund, N.V.,
       205 F. Supp. 2d 176 (S.D.N.Y. 2002).............................................................................. 42

Aetna Cas. & Sur. Co. v. Aniero Concrete Co.,
       404 F.3d 566 (2d Cir. 2005)........................................................................................... 130

Alfandary v. Nikko Asset Mgmt. Co.,
        337 F. Supp. 3d 343 (S.D.N.Y. 2018), reconsideration denied, 2019 WL
       2525414 (S.D.N.Y. June 19, 2019)....................................................... 57, 64-65, 68, 75-76

Alpha Lyracom Space Commc’ns, Inc. v. Commc’ns Satellite Corp.,
       1993 WL 97313 (S.D.N.Y. Mar. 30, 1993) ..................................................................... 86

Am. Lecithin Co. v. Rebmann,
       2017 WL 4402535 (S.D.N.Y. Sept. 30, 2017) ................................................................. 97

Am. Stock Exch., LLC v. Towergate Consultants Ltd.,
       No. 03 CIV. 856(RMB), 2003 WL 21692814 (S.D.N.Y. July 21, 2003) .................. 59, 61

Ancile Inv. Co. v. Archer Daniels Midland Co.,
        No. 08 CIV. 9492(PAC), 2009 WL 3049604 (S.D.N.Y. Sept. 23, 2009) ....................... 59

Arellano v. Weinberger,
       745 P.2d 1500 (D.C. Cir. 1984) ....................................................................................... 93

Argus Media Ltd. v. Tradition Fin. Servs. Inc.,
       No. 09 CIV. 7966(HB), 2009 WL 5125113 (S.D.N.Y. Dec. 29, 2009) .................... 48, 51

Arista Records, Inc. v. Mp3Board, Inc.,
        2002 WL 1997918 (S.D.N.Y. 2002) ................................................................................ 97
19-01294-scc             Doc 52         Filed 10/25/19 Entered 10/25/19 23:37:44                                Main Document
                                                    Pg 9 of 185


Ashcroft v. Iqbal,
       556 U.S. 662 (2009) ....................................................................................................... 110

Associated Container Transp. (Australia) Ltd. v. United States,
        705 F.2d 53 (2d Cir. 1983)............................................................................................... 93

Atl. Marine Const. Co. v. U.S. Dist. Court for W. Dist. of Texas,
        571 U.S. 49 (2013) ........................................................................................................... 45

Attorney Gen. of Canada v. R.J. Reynolds Tobacco Holdings, Inc.,
        103 F. Supp. 2d 134 (N.D.N.Y. 2000), aff’d, 268 F.3d 103 (2d Cir. 2001) .................... 92

Ayco Co., L.P. v. Frisch,
       795 F. Supp. 2d 193 (N.D.N.Y. 2011) ........................................................................... 104

Ayyash v. Bank Al-Madina,
       No. 04 Civ. 9201(GEL), 2006 WL 587342 (S.D.N.Y. Mar. 9, 2006) ............................. 81

Banco Nacional de Cuba v. Chem. Bank New York Tr. Co.,
       594 F. Supp. 1553 (S.D.N.Y. 1984)................................................................................. 82

Banco Nacional de Cuba v. Sabbatino,
       376 U.S. 398 (1964) ......................................................................................................... 91

Bank of Am. Corp. v. Lemgruber,
        385 F. Supp. 2d 200 (S.D.N.Y. 2005).............................................................................. 45

Becker v. Club Las Velas,
        94 CIV. 2412, 1995 WL 267025 (S.D.N.Y. May 8, 1995).............................................. 52

Bell Atl. Corp. v. Twombly,
         550 U.S. 544 (2007) ....................................................................................................... 110

Bgc Partners, Inc. v. Avison Young (Canada) Inc.,
       2015 WL 7251954 (N.D. Ill. Nov. 17, 2015) ................................................................ 152

BGC Partners, Inc. v. Avison Young (Canada), Inc.,
      919 F. Supp. 2d 310 (S.D.N.Y. 2013)............................................................................ 151

Bigio v. Coca-Cola Co.,
         239 F.3d 440 (2d Cir. 2000)....................................................................................... 82, 91

BLT Rest. Grp. LLC v. Tourondel,
       855 F. Supp. 2d 4 (S.D.N.Y. 2012)................................................................................ 156

BMW of N. Am. LLC v. M/V Courage,
      254 F. Supp. 3d 591 (S.D.N.Y. 2017).............................................................................. 74

Boehner v. Heise,
       734 F. Supp. 2d 389 (S.D.N.Y. 2010)............................................................................ 114

Borison v. Cornacchia,
       1997 WL 232294 (S.D.N.Y. May 7, 1997) ................................................................... 119
19-01294-scc             Doc 52        Filed 10/25/19 Entered 10/25/19 23:37:44                               Main Document
                                                   Pg 10 of 185


Bournias v. Atl. Mar. Co.,
       220 F.2d 152 (2d Cir. 1955)........................................................................................... 139

BPP Illinois, LLC v. Royal Bank of Scotland Grp. PLC,
        859 F.3d 188 (2d Cir. 2017)............................................................................................. 53

Briarpatch Ltd., L.P. v. Phoenix Pictures, Inc.,
       373 F.3d 296 (2d Cir. 2004)........................................................................................... 133

Bristol-Myers Squibb Co. v. Superior Ct. of Cal.,
        137 S. Ct. 1773 (2017) ..................................................................................................... 64

Brown v. Marriott Int’l, Inc.,
       No. 14-CV-5960 (MDG), 2017 WL 4484194 (E.D.N.Y. Sept. 29, 2017) ...................... 51

Burger King Corp. v. Rudzewicz,
       471 U.S. 462 (1985) ......................................................................................................... 64

Carijano v. Occidental Petroleum Corp.,
       643 F.3d 1216 (9th Cir. 2011) ......................................................................................... 43

Cavagnuolo v. Rudin,
      1996 WL 79861 (S.D.N.Y. Feb. 26, 1996) .................................................................... 102

CF 135 Flat LLC v. Triadou SPY S.A.,
       No. 15-CV-5345(AJN), 2016 WL 5945933 (S.D.N.Y. June 21, 2016) ............... 46,55, 57

Charles Schwab Corp. v. Bank of Am. Corp.,
       883 F.3d 68 (2d Cir. 2018)............................................................................................... 64

China Nat. Chartering Corp. v. Pactrans Air & Sea, Inc.,
       882 F. Supp. 2d 579 (S.D.N.Y. 2012).............................................................................. 71

Chloe v. Queen Bee of Beverly Hills, LLC,
        616 F.3d 158 (2d Cir. 2010)............................................................................................. 79

Citizens for Responsibility & Ethics in Washington v. Trump,
        939 F.3d 131 (2d Cir. 2019).................................................................................... 159-160

City of Ann Arbor Emps. Ret. Sys. v. Citigroup Mortg. Loan Trust Inc.,
        572 F. Supp. 2d 314 (E.D.N.Y. 2008) ........................................................................... 150

CLdN Cobelfret Pte Ltd v. ING Bank N.V.,
      No. 16-CV-4312(KBF), 2016 WL 6670996 (S.D.N.Y. June 10, 2016) .......................... 70

Cohain v. Klimley,
       2010 WL 3701362 (S.D.N.Y. Sept. 20, 2010) ............................................................... 101

Concesionaria DHM, S.A. v. Int’l Finance Corp.,
       307 F. Supp. 2d 553 (S.D.N.Y. 2004).............................................................................. 46

Contant v. Bank of Am. Corp.,
       385 F. Supp. 3d 284 (S.D.N.Y. 2019).............................................................................. 65
19-01294-scc            Doc 52         Filed 10/25/19 Entered 10/25/19 23:37:44                              Main Document
                                                   Pg 11 of 185


Cook v. Sheldon,
        41 F.3d 73 (2d Cir. 1994)......................................................................................... 88, 106

Cooney v. Osgood Mach., Inc.,
       81 N.Y.2d 66 (1993) ........................................................................................................ 96

Corporacion Mexicana De Mantenimiento Integral, S. De R.L. De C.V. v. Pemex-
      Exploracion Y Produccion,
       832 F.3d 92 (2d Cir. 2016)................................................................................................. 4

Curley v. AMR Corp.,
        153 F.3d 5 (2d Cir. 1998)............................................................. 9, 94, 136, 137, 140, 142

D’Amico v. Corr. Med. Care, Inc.,
      120 A.D.3d 956 (4th Dep’t 2014) .................................................................................. 119

Daimler AG v. Bauman,
       571 U.S. 117, 139 (2014) ............................................................................... 63, 75, 79, 80

Darby Trading Inc. v. Shell Int’l Trading & Shipping Co.,
       568 F. Supp. 2d 329 (S.D.N.Y. 2008)............................................................................ 114

Daventree Ltd. v. Republic of Azerbaijan,
       349 F. Supp. 2d 736 (S.D.N.Y. 2004), opinion clarified on denial of
      reconsideration, 2005 WL 2585227 (S.D.N.Y. Oct. 13, 2005) .................................. 53, 93

Davis v. Costa-Gavras,
        580 F. Supp. 1082 (S.D.N.Y. 1984)............................................................................... 102

de Csepel v. Republic of Hungary,
       714 F.3d 591 (D.C. Cir. 2013) ......................................................................................... 84

Deutsch v. Novartis Pharm. Corp.,
       723 F. Supp. 2d 521 (E.D.N.Y. 2010) ............................................................. 96, 110, 111

DiRienzo v. Philip Servs. Corp.,
       294 F.3d 21 (2d Cir. 2002)......................................................................................... 46, 60

Do Rosario Veiga v. World Meteorological Organisation,
       486 F. Supp. 2d 297 (S.D.N.Y. 2007).............................................................................. 54

Doe ex rel. Doe v. Harris,
        No. CIV.A. 14-0802, 2014 WL 4207599 (W.D. La. Aug. 25, 2014) ............................ 126

Dorchester Fin. Sec., Inc. v. Banco BRJ, S.A.,
       722 F.3d 81 (2d Cir. 2013)............................................................................................... 63

Du Daobin v. Cisco Sys., Inc.,
      2 F. Supp. 3d 717 (D. Md. 2014) ..................................................................................... 87

Dubai World Corp. v. Jaubert,
       2010 WL 11504310 (S.D. Fla. July 9, 2010) ................................................................... 88
19-01294-scc             Doc 52         Filed 10/25/19 Entered 10/25/19 23:37:44                               Main Document
                                                    Pg 12 of 185


Eades v. Kennedy, PC Law Offices,
       799 F.3d 161 (2d. Cir. 2015)............................................................................................ 79

ESI, Inc. v. Coastal Power Production Co.,
        995 F. Supp. 419 (S.D.N.Y. 1998)................................................................................... 49

European Cmty. v. RJR Nabisco, Inc.,
       150 F. Supp. 2d 456 (E.D.N.Y. 2001) ............................................................................. 91

Falise v. Am. Tobacco Co.,
        94 F. Supp. 2d 316 (E.D.N.Y. 2000) ............................................................................. 101

Fed. Treasury Enter. Sojuzpolodoimport, OAO v. Spirits Int’l B.V.,
        809 F.3d 737 (2d Cir. 2016)..................................................................................... 85, 137

Figueiredo Ferraz E Engenharia de Projeto Ltda. v. Republic of Peru,
        665 F.3d 384 (2d Cir. 2011)....................................................................................... 61, 94

First Hill Partners, LLC v. BlueCrest Capital Mgmt. Ltd.,
        52 F. Supp. 3d 625 (S.D.N.Y. 2014).......................................................................... 95, 97

Friends of Rockland Shelter Animals, Inc. (FORSA) v. Mullen,
        313 F. Supp. 2d 339 (S.D.N.Y. 2004)............................................................................ 120

Galu v. Swissair: Swiss Air Transp. Co.,
        873 F.2d 650 (2d Cir. 1989)............................................................................................. 82

Garcia v. Lion México Consol. L.P.,
       2018 WL 6427350 (W.D. Tex. Sept. 14, 2018) ............................................................... 88

Geltzer as Tr. of Estate of Michaux v. Riverbay Corp.,
        2019 WL 912504 (S.D.N.Y. Feb. 25, 2019) .................................................................. 152

Genpharm Inc. v. Pliva-Lachema a.s.,
      361 F. Supp. 2d 49 (E.D.N.Y. 2005) ............................................................................... 55

G-I Holdings, Inc. v. Baron & Budd,
       238 F. Supp. 2d 521 (S.D.N.Y. 2001)............................................................................ 114

GlobalNet Financial.Com, Inc. v. Frank Crystal & Co.,
       449 F.3d 377 (2d Cir. 2006)....................................................................................... 94, 96

Granite Partners, L.P. v. Bear, Stearns & Co., Inc.,
        17 F. Supp. 2d 275 (S.D.N.Y. 1998).............................................................................. 113

Guidi v. Inter-Cont’l Hotels Corp.,
        224 F.3d 142 (2d Cir. 2000)....................................................................................... 60, 61

Gulf Oil Corp. v. Gilbert,
        330 U.S. 501 (1947) ......................................................................................................... 41

Harris v. Mills,
        572 F.3d 66 (2d Cir. 2009)..................................................................................... 110, 141
19-01294-scc            Doc 52        Filed 10/25/19 Entered 10/25/19 23:37:44                             Main Document
                                                  Pg 13 of 185


Haywin Textile Prod., Inc. v. Int’l Fin. Inv.,
       137 F. Supp. 2d 431 (S.D.N.Y. 2001).............................................................................. 56

Hernandez v. Office,
      2019 WL 3034841 (S.D.N.Y. July 11, 2019) ................................................................ 100

Hidden Brook Air, Inc. v. Thabet Aviation Int’l Inc.,
       241 F. Supp. 2d 246 (S.D.N.Y. 2002).............................................................................. 98

Holborn Corp. v. Sawgrass Mut. Ins. Co.,
       304 F. Supp. 3d 392 (S.D.N.Y. 2018)........................................................................ 95, 99

Horowitz v. Nat’l Gas & Elec., LLC,
       No. 17-CV-7742(JPO), 2018 WL 4572244 (S.D.N.Y. Sept. 24, 2018) ........................ 122

HSBC USA, Inc. v. Prosegur Paraguay, S.A.,
      No. 03 Civ. 3336(LAP), 2004 WL 2210283 (S.D.N.Y. Sept. 30, 2004) ......................... 52

In re Agency for Deposit Ins. of Serbia,
        No. 08-0299-BK, 2008 WL 4963046 (2d Cir. Nov. 21, 2008)...................................... 157

In re Air Cargo Shipping Servs. Antitrust Litig.,
        No. 06-MDL-1775 JG VVP, 2010 WL 10947344
        (E.D.N.Y. Sept. 22, 2010) ............................................................................... 83, 84, 90, 92

In re Atlas Shipping A/S,
         404 B.R. 726 (Bankr. S.D.N.Y. 2009) ........................................................................... 160

In re B.C.I. Finances Pty Ltd.,
        583 B.R. 288 (Bankr. S.D.N.Y. 2018) ........................................................................... 144

In re Bancredit Cayman Ltd.,
        No. 06-11026(SMB), 2008 WL 5396618 (Bankr. S.D.N.Y. Nov. 25, 2008) ................ 161

In re Berau Capital Res. Pte Ltd,
        540 B.R. 80 (Bankr. S.D.N.Y. 2015) ............................................................................. 143

In re Bernard L. Madoff Inv. Secs. LLC,
        740 F.3d 81 (2d Cir. 2014)............................................................................................. 152

In re Best Payphones, Inc.,
         01-15472, 2016 WL 164900 (Bankr. S.D.N.Y. Jan. 13, 2016) .................................... 145

In re Bozel S.A.,
        434 B.R. 86 (Bankr. S.D.N.Y. 2010) ............................................................................... 78

In re British Am. Ins. Co. Ltd.,
        488 B.R. 205 (Bankr. S.D. Fla. 2013) ........................................................... 153, 158, 160

In re Calpine Corp.,
        No. 05-60200(BRL), 2008 WL 687071 (Bankr. S.D.N.Y. Mar. 12, 2008) ................... 130

In re Cantin,
        No. 15-28505-BKC-MAM, 2019 WL 2306620 (Bankr. S.D. Fla. May 30, 2019) ....... 148
19-01294-scc            Doc 52         Filed 10/25/19 Entered 10/25/19 23:37:44                             Main Document
                                                   Pg 14 of 185


In re Cavalry Constr., Inc.,
        496 B.R. 106 (S.D.N.Y. 2013)....................................................................................... 155

In re Citigroup Inc. Sec. Litig.,
        987 F. Supp. 2d 377 (S.D.N.Y. 2013)............................................................................ 102

In re Condor Ins. Ltd.,
        601 F.3d 319 (5th Cir. 2010) ......................................................................................... 159

In re Containership Co. (TCC) A/S,
        466 B.R. 219 (Bankr. S.D.N.Y. 2012) ........................................................................... 152

In re Cozumel Caribe, SA de CV,
        482 B.R. 96 (Bankr. S.D.N.Y. 2012) ............................................................................. 159

In re Cuyahoga Equip. Corp.,
        980 F.2d 110 (2d Cir. 1992)........................................................................................... 151

In re Extended Stay Inc.,
        435 B.R. 139 (S.D.N.Y. 2010)....................................................................................... 151

In re Fairfield Sentry Ltd.,
        No. 10-13164(SMB), 2018 WL 3756343 (Bankr. S.D.N.Y. Aug. 6, 2018) .................. 155

In re First Texas Petroleum, Inc.,
         52 B.R. 322 (Bankr. N.D. Tex. 1985) ............................................................................ 146

In re Food Mgmt. Grp., LLC,
        380 B.R. 677 (Bankr. S.D.N.Y. 2008) ........................................................................... 142

In re Gary V. Otten; Gary V. Otten v. Majesty Used Cars, Inc., Robert Semitekolos,
        No. 10-74946-AST, 2013 WL 1881736 (Bankr. E.D.N.Y. May 3, 2013) ............ 147, 149

In re Gaston & Snow,
        243 F.3d 599 (2d Cir. 2001)............................................................................................. 94

In re Glob. Serv. Grp., LLC,
        316 B.R. 451 (Bankr. S.D.N.Y. 2004) ........................................................................... 105

In re Hellas Telecomms (Luxembourg) II SCA,
        535 B.R. 543 (Bankr. S.D.N.Y. 2015) ..................................................................... 96, 140

In re Hellas Telecommunications (Luxembourg) II SCA,
        524 B.R. 488 (Bankr. S.D.N.Y.), adhered to, 526 B.R. 499
       (Bankr. S.D.N.Y. 2015) .................................................................................................... 63

In re LightSquared Inc.,
        504 B.R. 321 (Bankr. S.D.N.Y. 2013) ........................................................................... 129

In re Lionel Corp.,
        29 F.3d 88 (2d Cir. 1994)............................................................................................... 155

In re Magnesium Corp. of Am.,
       583 B.R. 637 (Bankr. S.D.N.Y. 2018) ........................................................................... 162
19-01294-scc            Doc 52         Filed 10/25/19 Entered 10/25/19 23:37:44                             Main Document
                                                   Pg 15 of 185


In re Magnetic Audiotape Antitrust Litig.,
       334 F.3d 204 (2d Cir. 2003)............................................................................................. 81

In re Med-Atl. Petroleum Corp.,
        233 B.R. 644 (Bankr. S.D.N.Y. 1999) ............................................................................. 68

In re Milovanovic,
        357 B.R. 250 (Bankr. S.D.N.Y. 2006) ........................................................................... 157

In re Nakash,
        190 B.R. 763 (Bankr. S.D.N.Y. 1996) ............................................................................. 84

In re OAS S.A.,
        533 B.R. 83 (Bankr. S.D.N.Y. 2015) ............................................................................. 158

In re Octaviar Admin. Pty Ltd.,
        511 B.R. 361 (Bankr. S.D.N.Y. 2014) ................................................... 144, 151, 152, 161

In re Parade Place, LLC,
        508 B.R. 863 (Bankr. S.D.N.Y. 2014) ........................................................................... 154

In re Pearce,
        400 B.R. 126 (N.D. Iowa 2010) ..................................................................................... 148

In re Perforadora Oro Negro, S. de R.L. de C.V., et al.,
        Case No. 18-11094..................................................................................................... 10, 41

In re Propranolol Antitrust Litig.,
        249 F. Supp. 3d 712 (S.D.N.Y. Apr. 6, 2017) ........................................................... 79, 80

In re PT Bakrie Telecom Tbk,
        601 B.R. 707 (Bankr. S.D.N.Y. 2019) ........................................................................... 144

In re Refco Inc. Sec. Litig.,
        892 F. Supp. 2d 534 (S.D.N.Y. 2012).................................................................... 101, 103

In re Refco Sec. Litig.,
        759 F. Supp. 2d 301 (S.D.N.Y. 2010)............................................................................ 117

In re Residential Capital, LLC,
        489 B.R. 36 (Bankr. S.D.N.Y. 2013) ..................................................................... 150, 151

In re Ritter,
         No. 05-36150(CGM), 2006 WL 3065518 (Bankr. S.D.N.Y. Oct. 27, 2006) ................ 147

In re Shirley Duke Assocs.,
        611 F.2d 15 (2d Cir. 1979)............................................................................................. 154

In re Stanford Int’l Bank, Ltd,
         No. 3:09-CV-0721-N, 2012 WL 13093940 (N.D. Tex. July 30, 2012)......... 157, 158, 162

In re Sterling Optical Corp.,
         302 B.R. 792 (Bankr. S.D.N.Y. 2003) ........................................................................... 153
19-01294-scc             Doc 52         Filed 10/25/19 Entered 10/25/19 23:37:44                                Main Document
                                                    Pg 16 of 185


In re Teknek, LLC,
        563 F.3d 639 (7th Cir. 2009) ......................................................................................... 152

In re Terrorist Attacks on Sept. 11,
        714 F.3d 659 (2d Cir. 2013).............................................................................................. 63

In re Thelen LLP,
        736 F.3d 213 (2d Cir. 2013)............................................................................................. 98

In re TransCare Corp.,
        592 B.R. 272 (Bankr. S.D.N.Y. 2018) ........................................................................... 129

In re U.S. Steel Canada Inc.,
        571 B.R. 600 (Bankr. S.D.N.Y. 2017) ........................................................................... 143

In re Vitro S.A.B. de CV,
         701 F.3d 1031 (5th Cir. 2012) ....................................................................................... 158

In re WorldCom, Inc. Sec. Litig.,
       293 B.R. 308 (S.D.N.Y. 2003)....................................................................................... 152

In re Wright,
        328 B.R. 660 (Bankr. E.D.N.Y. 2005) ........................................................................... 146

In re Yukos Oil Co. Sec. Litig.,
        2006 WL 3026024 (S.D.N.Y. Oct. 25, 2006) .................................................................. 89

In re: Lyondell Chem. Co.,
        543 B.R. 428 (Bankr. S.D.N.Y. 2016) ............................................................................. 41

Innoviant Pharmacy, Inc. v. Morganstern,
       390 F. Supp. 2d 179 (N.D.N.Y. 2005) ........................................................................... 104

Int’l Ass’n of Machinists & Aerospace Workers, (IAM) v.
        Org. of Petroleum Exporting Countries,
         (OPEC), 649 F.2d 1354 (9th Cir. 1981)..................................................................... 62, 87

Iowa Pub. Emps.’ Ret. Sys. v. Merrill Lynch, Pierce, Fenner & Smith Inc.,
       340 F. Supp. 3d 285 (S.D.N.Y. 2018)............................................................................ 129

Iragorri v. United Techs. Corp.,
        274 F.3d 65 (2d Cir. 2001)....................................................................... 41, 42, 43, 47, 54

Kashef v. BNP Paribas S.A.,
        925 F.3d 53 (2d Cir. 2019)................................................................................... 82, 83, 89

Kelly v. Robinson,
         479 U.S. 36 (1986) ......................................................................................................... 146

Klinghoffer v. S.N.C. Achille Lauro,
       937 F.2d 44 (2d Cir. 1991)............................................................................................... 70

Kolbeck v. LIT Am., Inc.,
       939 F. Supp. 240 (S.D.N.Y. 1996), aff’d, 152 F.3d 918 (2d Cir. 1998) ........................ 118
19-01294-scc            Doc 52         Filed 10/25/19 Entered 10/25/19 23:37:44                             Main Document
                                                   Pg 17 of 185


Konowaloff v. Metro. Museum of Art,
      702 F.3d 140 (2d Cir. 2012)............................................................................................. 90

Kreutter v. McFadden Oil Corp.,
        71 N.Y.2d 460, 522 N.E.2d 40 (1988) ............................................................................. 68

Lama Holding Co. v. Smith Barney Inc.,
      88 N.Y.2d 413 (1996) .................................................................................................... 111

Langsam v. Vallarta Gardens,
      No. 08 Civ. 2222(WCC), 2009 WL 8631353 (S.D.N.Y. June 15, 2009) ........................ 52

Leon v. Shmukler,
        992 F. Supp. 2d 179 (E.D.N.Y. 2014) ............................................................................. 81

Leopard Marine & Trading, Ltd. v. Easy St. Ltd.,
       896 F.3d 174 (2d Cir. 2018)....................................................................................... 61, 62

Lexmark Int’l, Inc. v. Static Control Components, Inc.,
      134 S. Ct. 1377 (2014) ................................................................................................... 159

Licci ex rel. Licci v. Lebanese Canadian Bank, SAL,
        672 F.3d 155 (2d Cir. 2012)......................................................................................... 7, 97

Licci ex rel. Licci v. Lebanese Canadian Bank, SAL,
        739 F.3d 45 (2d Cir. 2013)........................................................................................ passim

Lyondell-Citgo Ref., LP v. Petroleos de Venezuela, S.A.,
       2003 WL 21878798 (S.D.N.Y. Aug. 8, 2003) ........................................................... 84, 93

Madanes v. Madanes,
      981 F. Supp. 241 (S.D.N.Y. 1997)................................................................................... 50

Magi XXI, Inc. v. Stato,
      714 F.3d 714 (2d Cir. 2013)....................................................................................... 71, 73

Maison Lazard Et Compagnie v. Manfra, Tordella & Brooks, Inc.,
       585 F. Supp. 1286 (S.D.N.Y. 1984)............................................................................... 101

Maricultura Del Norte, S. de R.L. de C.V. v. Umami Sustainable Seafood, Inc.,
       769 F. App’x 44 (2d Cir. 2019) ....................................................................................... 98

Matter of Paso Del Norte Oil Co.,
        755 F.2d 421 (5th Cir. 1985) ......................................................................................... 152

McCracken v. Verisma Sys., Inc.,
      No. 6:14-CV-06248(MAT), 2017 WL 2080279 (W.D.N.Y. May 15, 2017) ................ 133

McKesson Corp. v. Islamic Republic of Iran,
      672 F.3d 1066 (D.C. Cir. 2012) ....................................................................................... 83

McNamee v. Clemens,
     762 F. Supp. 2d 584 (E.D.N.Y. 2011) ........................................................................... 107
19-01294-scc             Doc 52         Filed 10/25/19 Entered 10/25/19 23:37:44                               Main Document
                                                    Pg 18 of 185


MDC Corp. v. John H. Harland Co.,
     228 F. Supp. 2d 387 (S.D.N.Y. 2002)............................................................................ 115

Metropolitan Life Ins. v. Robertson-Ceco Corp.,
       84 F.3d 560 (2d Cir. 1996)............................................................................................... 79

Midamines SPRL Ltd. v. KBC Bank NV,
      No. 12 CIV. 8089 RJS, 2014 WL 1116875 (S.D.N.Y. Mar. 18, 2014) ........................... 45

Mina Inv. Holdings Ltd. v. Lefkowtiz,
       16 F. Supp. 2d 355 (S.D.N.Y. 1998).............................................................................. 113

Montefiore Med. Ctr. v. Teamsters Local 272,
       642 F.3d 321 (2d Cir. 2011)........................................................................................... 156

Murray v. British Broad. Corp.,
       81 F.3d 287 (2d Cir. 1996)............................................................................................... 47

Murtha v. Yonkers Child Care Ass’n Inc.,
       45 N.Y.2d 913 (1978) .................................................................................................... 124

Navarrete De Pedrero v. Schweizer Aircraft Corp.,
       635 F. Supp. 2d 251 (W.D.N.Y. 2009) ............................................................................ 52

New York v. Mountain Tobacco Co.,
      55 F. Supp. 3d 301 (E.D.N.Y. 2014) ............................................................................... 81

Nnaka v. Fed. Republic of Nigeria,
       756 F. App’x 16 (D.C. Cir. 2019) .................................................................................... 89

Nocula v. UGS Corp.,
       520 F.3d 719 (7th Cir. 2008) ........................................................................................... 88

Norex Petroleum Ltd. v. Access Indus., Inc.,
       416 F.3d 146 (2d Cir. 2005)..................................................................... 41, 42, 44, 48, 50

Norte v. Worldbusiness Capital, Inc.,
        2015 WL 7730980 (S.D.N.Y. Nov. 24, 2015) ................................................................. 98

Northrop Corp. v. McDonnell Douglas Corp.,
       705 F.2d 1030 (9th Cir. 1983) ................................................................................... 86, 87

Oetjen v. Central Leather Co.,
        246 U.S. 297 (1918) ......................................................................................................... 91

Offshore Logistics, Inc. v. Tallentire,
       477 U.S. 207 (1986) ....................................................................................................... 144

Osuna v. Citigroup Inc.,
       No. 17-cv-1434(RJS), 2018 WL 6547205 (S.D.N.Y. Sept. 28, 2018) ............................ 52

Overseas) Ltd. v. Gen. Elec. Co.,
       2006 WL 3230301 (S.D.N.Y. Nov. 7, 2006) ....................................................... 47, 56, 61
19-01294-scc             Doc 52         Filed 10/25/19 Entered 10/25/19 23:37:44                               Main Document
                                                    Pg 19 of 185


Parex Bank v. Russian Sav. Bank,
       116 F. Supp. 2d 415 (S.D.N.Y. 2000).............................................................................. 51

Parmalat Capital Fin. Ltd. v. Bank of Am. Corp.,
       639 F.3d 572 (2d Cir. 2011)................................................................................... 154, 155

Pension Comm. of the Univ. of Montreal Pension Plan v. Banc of Am. Sec., LLC,
       No. 05 Civ. 9016(SAS), 2006 WL 708470 (S.D.N.Y. Mar. 20, 2006) ........................... 81

Peregrine Myanmar Ltd. v. Segal,
       89 F.3d 41 (2d Cir. 1996)................................................................................................. 43

Persh v. Petersen,
        No. 15 CIV. 1414 LGS, 2015 WL 5326173 (S.D.N.Y. Sept. 14, 2015) ......................... 69

Phillips v. Audio Active Ltd.,
         494 F.3d 378 (2d Cir. 2007)............................................................................................. 73

Piper Aircraft Co. v. Reyno,
        454 U.S. 235 (1981) ......................................................................................................... 42

Pollux Holding Ltd. v. Chase Manhattan Bank,
        329 F.3d 64 (2d Cir. 2003)............................................................................................... 48

Private Capital Grp., LLC v. Cline,
        No. 07CV4585 (WDW), 2008 WL 11449284 (E.D.N.Y. Sept. 29, 2008) .................... 154

Promisel v. First Am. Artificial Flowers, Inc.,
       943 F.2d 251 (2d Cir. 1991)........................................................................................... 156

PT United Can Co. v. Crown Cork & Seal Co.,
       138 F.3d 65 (2d Cir. 1998)......................................................................................... 51, 52

R. Maganlal & Co. v. M.G. Chem. Co.,
       No. 05 CIV. 9478(GEL), 942 F.2d 164 (2d Cir. 1991) ................................................... 47

Raedle v. Credit Agricole Indosuez,
        670 F.3d 411 (2d Cir. 2012)................................................................................... 114, 125

Rasoulzadeh v. Associated Press,
       574 F. Supp. 854 (S.D.N.Y. 1983), aff’d, 767 F.2d 908 (2d Cir. 1985) .......................... 92

Reich v. Lopez,
        38 F. Supp. 3d 436 (S.D.N.Y. 2014), aff’d, 858 F.3d 55 (2d Cir. 2017) ....................... 125

Rich v. Fox News Network, LLC,
        939 F.3d 112 (2d Cir. 2019)........................................................................................... 111

RIGroup LLC v. Trefonisco Mgmt. Ltd.,
      949 F. Supp. 2d 546 (S.D.N.Y. 2013).............................................................................. 41

Robins v. Max Mara, U.S.A., Inc.,
        923 F. Supp. 460 (S.D.N.Y. 1996)................................................................................. 100
19-01294-scc            Doc 52        Filed 10/25/19 Entered 10/25/19 23:37:44                             Main Document
                                                  Pg 20 of 185


Royal & Sun All. Ins. Co. of Can. v. Century Int’l Arms, Inc.,
       466 F.3d 88 (2d Cir. 2006)............................................................................................... 61

S. New Eng. Tel. Co. v. Glob. NAPS Inc.,
       624 F.3d 123 (2d Cir. 2010)............................................................................................. 63

Sea Breeze Salt, Inc. v. Mitsubishi Corp.,
       899 F.3d 1064 (9th Cir. 2018) ......................................................................................... 87

Sharma v. Skaarup Ship Mgmt. Corp.,
       699 F. Supp. 440 (S.D.N.Y. 1988), aff’d, 916 F.2d 820 (2d Cir. 1990) ........................ 113

Sharon v. Time, Inc.,
       599 F. Supp. 538 (S.D.N.Y. 1984)................................................................................... 87

Shtofmakher v. David,
       No. 14 Civ. 6934(AT), 2015 WL 5148832 (S.D.N.Y. Aug. 17, 2015) ........................... 57

Silverman v. Rosewood Hotels & Resorts, Inc.,
       2004 WL 1823634 (S.D.N.Y. Aug. 16, 2004) ................................................................. 97

Simon v. Philip Morris Inc.,
       124 F. Supp. 2d 46 (E.D.N.Y. 2000) ............................................................................. 101

Simon v. Republic of Hungary,
       911 F.3d 1172 (D.C. Cir. 2018) ....................................................................................... 43

Sissel v. Rehwaldt,
         519 F. App’x 13 (2d Cir. 2013) ..................................................................................... 101

Sonera Holding B.V. v. Cukorova Holding A.S.,
       750 F.3d 221, 226 (2d Cir. 2014)..................................................................................... 77

Sonterra Capital Master Fund, Ltd. v. Barclays Bank PLC,
       366 F. Supp. 3d 516 (S.D.N.Y. 2018)........................................................................ 68, 71

SourceOne Dental, Inc. v. Patterson Companies, Inc.,
       310 F. Supp. 3d 346 (E.D.N.Y. 2018) ....................................................................... 95, 97

Spectrum Stores, Inc. v. Citgo Petroleum Corp.,
       632 F.3d 938 (5th Cir. 2011) ........................................................................................... 87

Stauffacher v. Bennett,
        969 F.2d 455 (7th Cir. 1992) ........................................................................................... 65

Stormhale, Inc. v. Baidu.com,
       675 F. Supp. 2d 373 (S.D.N.Y. 2009).............................................................................. 77

Taboola, Inc. v. Ezoic Inc.,
       17 Civ. 9909, 2019 WL 465003 (S.D.N.Y. Feb. 6, 2019) ............................................... 74

Terra Firma Investments (GP) 2 Ltd. v. Citigroup Inc.,
       725 F. Supp. 2d 438 (S.D.N.Y. 2010).............................................................................. 56
19-01294-scc            Doc 52         Filed 10/25/19 Entered 10/25/19 23:37:44                              Main Document
                                                   Pg 21 of 185


Thomas H. Lee Equity Fund V, L.P. v. Mayer Brown, Rowe & Maw LLP,
      612 F. Supp. 2d 267 (S.D.N.Y. 2009).................................................................... 101, 102

Toumazou v. Turkish Republic of N. Cyprus,
      71 F. Supp. 3d 7 (D.D.C. 2014) ..................................................................................... 129

Ullmannglass v. Oneida, Ltd.,
       86 A.D.3d 827 (3d Dep’t 2011) ..................................................................................... 115

United Mine Workers of Am. v. Gibbs,
       383 U.S. 715 (1966) ....................................................................................................... 156

United States v. Colasuonno,
        697 F.3d 164 (2d Cir. 2012)........................................................................................... 147

United States v. One Etched Ivory Tusk of African Elephant,
        871 F. Supp. 2d 128 (E.D.N.Y. 2012) ............................................................................. 90

United States v. Portrait of Wally,
        663 F. Supp. 2d 232 (S.D.N.Y. 2009).............................................................................. 89

Utts v. Bristol-Myers Squibb Co.,
         226 F. Supp. 3d 166 (S.D.N.Y. 2016).............................................................................. 94

Villoldo v. Castro Ruz,
        821 F.3d 196 (1st Cir. 2016) ............................................................................................ 92

W.S. Kirkpatrick & Co. v. Envtl. Tectonics Corp., Int’l,
        493 U.S. 400 (1990) ................................................................................. 82, 85, 89, 90, 91

Walker v. Sheldon,
       10 N.Y.2d 401 (1961) .................................................................................................... 109

Weiss v. Hunna,
        312 F.2d 711 (2d Cir. 1963)................................................................................. 8, 88, 107

Wells Fargo Bank, N.A. v. ADF Operating Corp.,
       50 A.D.3d 280 (1st Dep’t 2008) .................................................................................... 122

White Plains Coat & Apron Co. v. Cintas Corp.,
        460 F.3d 281 (2d Cir.), certified question accepted, 7 N.Y.3d 830 (2006), and
       certified question answered, 8 N.Y.3d 422(2007) .......................................................... 104

Winstar Holdings, LLC v. Blackstone Grp. L.P.,
       2007 WL 4323003 (S.D.N.Y. Dec. 10, 2007) ............................................................... 151

Wiwa v. Royal Dutch Petroleum Co.,
       226 F.3d 88 (2d Cir. 2000)....................................................................... 41, 42, 48, 76, 78

WMW Mach., Inc. v. Werkzeugmaschinenhandel GmbH IM Aufbau,
     960 F. Supp. 734 (S.D.N.Y. 1997)................................................................................... 86

World Wide Minerals, Ltd. v. Republic of Kazakhstan,
       296 F.3d 1154 (D.C. Cir. 2002) ....................................................................................... 87
19-01294-scc              Doc 52          Filed 10/25/19 Entered 10/25/19 23:37:44                                   Main Document
                                                      Pg 22 of 185


Wrap-N-Pack, Inc. v. Kaye,
      528 F. Supp. 2d 119 (E.D.N.Y. 2007) ........................................................................... 109

Wultz v. Bank of China Ltd.,
        865 F. Supp. 2d 425 (S.D.N.Y. 2012).............................................................................. 96

Statutory Authorities

o011 U.S.C. § 362(a)....................................................................................................................... 148
o011 U.S.C. § 362(b)(1) .................................................................................................. 145, 147, 149

o011 U.S.C. § 1509(b) .................................................................................................................... 161

o011 U.S.C. § 1520 ..................................................................................................... 10, 52, 143, 145

o011 U.S.C. § 1520(a)(1)...................................................................................... 46, 60, 73, 143, 145

o015 U.S.C. § 1509(b) .................................................................................................................... 159

o028 U.S.C. § 1334(b) ............................................................................. 150, 151, 153, 154, 155,157

o028 U.S.C. § 1367 ........................................................................................................... 11, 155, 157

o028 U.S.C. § 1367(a) ............................................................................................................ 155, 156

o028 U.S.C. § 1367(c) .................................................................................................................... 156

Rules and Regulations

Fed. R. Bankr. P. 2012(b) ................................................................................................... 157, 158
>
<

Fed. R. Civ. P. 4(f) ........................................................................................................................ 65
>
<

Fed. R. Civ. P. 8(a)(2) ......................................................................................................... 110, 126
>
<

Additional Authorities

Restatement (Second) of Conflict of Laws § 155 ....................................................................... 107

Restatement (Third) of the Foreign Relations Law of the United States § 443 ............................ 82

Robbie Whelan, Secret Recordings Describe Extensive Bribery at México’s Pemex, The
      Wall Street Journal, https://www.wsj.com/articles/secret-recordings-describe-
      extensive-bribery-at-M (Oct. 11, 2019) ............................................................................ 60
19-01294-scc      Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44            Main Document
                                         Pg 23 of 185



                                       INTRODUCTION

       This case has a long, tortured and sordid history involving a multitude of administrative,

civil and criminal proceedings in the United States, México and Singapore. However, at bottom,

this U.S. case involves a straightforward scheme hatched in New York by Defendants to illegally

dispossess Integradora de Servicios Petroleros Oro Negro, S.A.P.I. de C.V. (“Integradora”) and

its operating subsidiary Perforadora Oro Negro, S. de. R.L. de C.V. (“Perforadora,” and together

with Integradora, “Oro Negro”) of its principal assets: five state-of-the-art offshore drilling rigs

(“Rigs”) worth nearly a $1 billion and contracts worth nearly another $1 billion. Oro Negro

leased these Rigs to its only client, Petróleos Mexicanos (“Pemex”), México’s oil and gas

monopoly with substantial operations in the United States and that is reportedly under both

criminal and regulatory investigation for corruption by the U.S. Department of Justice (“DOJ”)

and Securities and Exchange Commission (“SEC”).

       Oro Negro filed this ancillary bankruptcy proceeding in large part in response to its

international investors (collectively, “Bondholders”) suing Oro Negro in New York under

contracts governed by New York law seeking an order from a New York court to award them the

Rigs. Oro Negro’s filing resulted in a stay of the Bondholders’ lawsuit and discovery into

Defendants’ misconduct.

       That discovery has established that Defendants’ scheme was orchestrated in New York

by Defendants.
19-01294-scc       Doc 52   Filed 10/25/19 Entered 10/25/19 23:37:44          Main Document
                                        Pg 24 of 185




       As part of this scheme, Defendants have (1) violated numerous U.S. and Mexican

bankruptcy court orders prohibiting any creditor—as is standard in any bankruptcy—from

attempting to seize Oro Negro’s assets; (2) instituted numerous criminal investigations and

precipitated international arrest warrants against Oro Negro’s executives based on plainly false

and fabricated evidence; and (3) tried to unlawfully remove Oro Negro’s liquidator and Gonzalo

Gil-White (“Gil”), in his capacity as the foreign representative of Oro Negro (“Foreign

Representative”), including by threatening him in New York with criminal prosecution if he did

not withdraw this case.

       As a result, Oro Negro’s core management team is openly residing in the United States in

exile, unable to return to México or travel internationally. Defendants—from New York—have

destroyed Oro Negro and ruined the reputation of its executives, destroyed them financially and

forced them into exile.

       The motive for this scheme was simple: to seize the Rigs worth nearly $1 billion and

obtain the Pemex Contracts worth another $1 billion without having to pay Oro Negro or its

other creditors a cent.



                                                                           AMA, a New York-

based maritime asset consultant and the consultant to the Bondholders, is responsible for

developing and implementing




                                               2
19-01294-scc      Doc 52    Filed 10/25/19 Entered 10/25/19 23:37:44            Main Document
                                        Pg 25 of 185




       The other members of the scheme are the Bondholders who own more than 60% of the

bonds, which Oro Negro issued to raise $900 million in debt (“Bonds”), including Alterna

Capital Partners, LLC (“Alterna”), which is also based in and operates from New York, and

Maritime Finance Company, Ltd. (“MFC”), which was, until mid-2018, headquartered in Miami,

as well as Asia Research and Capital Management Ltd. (“ARCM”), CQS (UK) LLP (“CQS”),

GHL Investments (Europe) Ltd. (“GHL”) and Ship Finance International Ltd. (“SFIL”)

(collectively, “Ad-Hoc Group”). The Ad-Hoc Group stood to gain a windfall because they

purchased the Bonds at a severe discount and stood to obtain substantially more than the par

value of the Bonds given the value of the Rigs and their plan to take over the Oro Negro

Contracts.

       SeaMex, S.A. de C.V. (“Seamex”), owned in equal parts by Seadrill, Ltd. (“Seadrill”), a

company that trades on the New York Stock Exchange and recently emerged from Chapter 11 in

the United States, and Fintech Investments, Ltd. (“Fintech Investments”), an investment vehicle

managed by Fintech Advisory, Inc. (“Fintech Advisory”), a New York-based investment firm, is

Oro Negro’s primary competitor. It also has five rigs that it leases to Pemex and has, by far, the

best contracts of any Pemex vendor.




                                                3
19-01294-scc      Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44           Main Document
                                         Pg 26 of 185



       Nordic Trustee A.S. (“Nordic Trustee”) manages the Bonds for the Bondholders,

including by (among other things) distributing payments under the Bonds to individual

Bondholders, and acts on behalf of the Bondholders by instructing Deutsche Bank México, S.A.,

Institución de Banca Múltiple (“Deutsche México”), the Mexican subsidiary of Deutsche Bank,

AG (“Deutsche Bank”). Deutsche México serves as the trustee of a trust established by the

Bondholders to receive payments from Pemex for services provided by Oro Negro.




       The Bondholders pursued their advantage around the world, filing legal cases in

Singapore, New York and Norway, clearly willing to shop around for any forum that would give

them what they wanted: control of the Rigs. And, when México did not deliver what they

needed, they argued in other courts that México was not the proper place for this dispute.

       In addition to civil litigation, the Bondholders instigated frivolous criminal proceedings

against Oro Negro and its executives and employees,



       Ultimately, the scheme was successful. Defendants now have the Rigs and are trying to

auction them off in the Bahamas, including potentially to themselves—that is, the Bondholders

will bid on the Rigs to obtain them at a distressed price and likely win an unlawful windfall.

They would then put the Rigs to work, thereby compounding their windfall.

       Meanwhile, Oro Negro has been destroyed: (1) most of its employees have lost their jobs

and are owed money; (2) Oro Negro’s management is financially ruined, including because they

funded Oro Negro while in bankruptcy to pay employees and maintain the Rigs, not the conduct

of supposed criminals; and (3) Oro Negro’s creditors have not been paid.




                                                4
19-01294-scc         Doc 52       Filed 10/25/19 Entered 10/25/19 23:37:44                    Main Document
                                              Pg 27 of 185



           Oro Negro and its CEO have properly brought this case in this Court and have more than

sufficiently alleged all of their claims. This lawsuit represents Oro Negro’s only remaining

assets: claims against Defendants governed by U.S. law for conduct by Defendants in the United

States.1

           This Court should deny Defendants’ motions to dismiss for the following reasons:

           I. Defendants argue for dismissal based on forum non conveniens, but this argument fails

on several grounds.

           First, Defendants disregard the strong presumption that the claims are properly brought

in U.S. court. The presumption is especially strong here given that (1) there is a U.S. Plaintiff;

(2) there are six Defendants from the United States (more than any other country) and several

other Defendants with very substantial ties to the United States; (3) the lease agreements for the

Rigs between each of its five owners (“Singapore Rig Owners”)2 and Perforadora (collectively,

“Bareboat Charters”) at the center of many of the claims contain a forum selection clause

stipulating venue in this Court; (4) Plaintiffs seek relief for violations of U.S. law and this

Court’s prior orders; and (5) the conspiracy to tortiously interfere with Oro Negro’s contracts and

business relationships and seize control of the Rigs was directed from New York.




1
         The Bondholders’ criminal persecution of Oro Negro escalated after the filing of this Complaint. The
Bondholders have pursued criminal actions against (1) Oro Negro; (2) two of its non-executive directors;
(3) Plaintiff Gonzalo Gil; and (4) Oro Negro’s former Chief Financial Officer and General Counsel. The most
recent offensive is based on allegations of financial mismanagement in 2014 and 2015. The transactions at issue
were the subject of a broad release that the Bondholders provided in connection with Oro Negro’s 2016 bond debt
restructuring. The Bondholders’ efforts to turn what should not be a civil dispute into a criminal proceeding—and to
seek international arrest warrants based on the same—illustrate the lengths to which the Bondholders are willing to
go to destroy Oro Negro.
2
        The Singapore Rig Owners are (1) Oro Negro Primus Pte., Ltd. (“Oro Negro Primus”); (2) Oro Negro
Laurus Pte., Ltd. (“Oro Negro Laurus”); (3) Oro Negro Fortius Pte., Ltd. (“Oro Negro Fortius”); (4) Oro Negro
Decus Pte., Ltd. (“Oro Negro Decus”); and (5) Oro Negro Impetus Pte., Ltd. (“Oro Negro Impetus”).




                                                         5
19-01294-scc      Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44               Main Document
                                         Pg 28 of 185



       Second, México is not an adequate alternative forum.            None of the non-Mexican

Defendants has agreed to submit to jurisdiction in the Mexican courts, and this fact alone

requires that the Court reject the argument for forum non conveniens. In addition, given the

                                                                                              , it is

implausible that the Mexican courts would be an adequate alternative forum to resolve Plaintiffs’

claims. Indeed, Defendants themselves successfully argued in a Singaporean court that México

was not an adequate alternative forum, and they are estopped from arguing otherwise here.

       Third, private and public factors weigh strongly in favor of keeping this adversary

proceeding in the United States. The access to evidence and witnesses will be far more efficient

in the United States than in México, and Defendants identify no specific difficulty in litigating

here. Moreover, the United States has a very strong interest in adjudicating this dispute given

that                                                              ; (2) there are numerous U.S.

Defendants; and (3) the case concerns violations of U.S. law and U.S. contracts.

       II. This Court has personal jurisdiction over all Defendants. Thirteen Defendants object

to the exercise of personal jurisdiction, but they all ignore the applicability of jurisdiction based

on conspiracy. Given the Complaint’s clear allegations of conspiracy, along with allegations of

Defendants’ participation and numerous acts in the United States in furtherance of the

conspiracy, jurisdiction is readily satisfied.    Regardless, nearly all Defendants individually

committed acts in the United States directly related to the claims at issue here.

       III. Defendants argue for dismissal based on the act of state doctrine, but fail to meet the

requirements for that very narrow exception to the exercise of jurisdiction. First, a Mexican

court has held that the acts of Pemex are commercial (not sovereign) acts, and they are thus not

covered by the act of state doctrine. Second, Plaintiffs’ claims do not require this Court to




                                                 6
19-01294-scc      Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44            Main Document
                                         Pg 29 of 185



invalidate any official act, as required for application of the doctrine. Plaintiffs seek only

monetary damages from Defendants (not Pemex), and the act of state doctrine has never been

applied to such claims. In any event, a Mexican trial court has ruled that Pemex breached the

Oro Negro Contracts by unlawfully terminating them, and a governmental act that violates its

own laws is not protected. Third, there are no comity concerns to justify application of the

doctrine, particularly given that México and Pemex are not Defendants here. Finally, at a

minimum, the act of state doctrine should not be applied at the pleading stage because the extent

of the Mexican government’s involvement in the action is disputed.

       IV. New York law applies to Plaintiffs’ tort claims. Defendants’ arguments for the

application of Mexican law rely largely on the erroneous legal premise that the place of injury is

controlling.   However, under Second Circuit precedent—that Defendants ignore—the place

where the tortious conduct occurred determines the choice-of-law question. See Licci ex rel.

Licci v. Lebanese Canadian Bank, SAL, 672 F.3d 155, 158 (2d Cir. 2012). Here, the Complaint

alleges that Defendants’ tortious conduct                                  and courts consistently

recognize this fact as sufficient for the application of New York law.




                    and (3) the Bareboat Charters were governed by U.S. law and stipulate to a

New York forum. These additional factors further establish the applicability of New York law.

       V. The Complaint’s allegations more than suffice to plead the New York law claims.

       For the claims regarding tortious interference with the Oro Negro Contracts and the

relationship with Pemex, Defendants rely entirely on disputing the facts as alleged. In particular,




                                                7
19-01294-scc       Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44          Main Document
                                          Pg 30 of 185



these include whether (1) Pemex would have terminated the Contracts regardless of tortious

interference; (2) Defendants acted with malice or dishonesty; and (3) Seamex substantially

assisted the Ad-Hoc Group. All of these issues are factual ones that cannot be decided on the

pleadings, and the Complaint provides extensive allegations on these points that Defendants

either disregard or simply dispute as a factual matter.

       For the abuse-of-process claim, Defendants argue that such a claim cannot be brought

with respect to abuse of foreign process. But the Second Circuit has recognized abuse of process

claims involving foreign legal proceedings. See Weiss v. Hunna, 312 F.2d 711 (2d Cir. 1963).

Defendants also argue that Plaintiffs have not stated a claim for malicious prosecution because

the proceedings have not terminated in Plaintiffs’ favor, but Plaintiffs are not bringing a

malicious prosecution claim, and there is no such element for an abuse-of-process claim.

       For the claim for tortious interference with the Bareboat Charters and the business

relationship with the Singapore Rig Owners, Defendants argue that the Bareboat Charters

terminated concomitantly with the termination of the Oro Negro Contracts, but a Mexican court

has declared Pemex’s termination invalid.        Defendants also argue a defense of “economic

interest,” but that defense applies only where the party is protecting its stake in the breaching

party’s business, not (as here) where it is protecting its own interests.

       For the claims for civil conspiracy, Defendants argue that the Complaint requires

specificity about the details of the conspiracy, but there is no such requirement. Regardless, the

Complaint alleges very specific facts about all of Defendants’ participation in the conspiracy,




                                                  8
19-01294-scc      Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44            Main Document
                                         Pg 31 of 185



       For the good-faith-and-fair-dealing claim, Defendants again erroneously rely on the

argument that the Bareboat Charters allowed for their termination, ignoring that the termination

of the Oro Negro Contracts was held invalid.

       For the claim for breach of the Bareboat Charters with respect to reimbursement costs,

Defendants simply ignore the factual allegations of the Complaint that establish such a breach.

       For the unjust enrichment claim, Defendants argue that it is duplicative of other claims,

but the elements of tortious interference do not duplicate unjust enrichment, and thus the claim

cannot be dismissed as duplicative. Defendants also argue that the Singapore Rig Owners had a

legal right to take over the Rigs, but the Complaint alleges that the Ad-Hoc Group illegally took

control of the Singapore Rig Owners, removing them (and the Rigs) from Integradora’s control.

       VI. In the alternative, Plaintiffs state claims under Mexican law. Defendants argue that

Mexican law does not recognize the particular tort claims brought under U.S. law. But this

argument is misplaced because Mexican law recognizes a general rule of liability under a broad

tort statute: Article 1910. The Second Circuit has recognized that Article 1910 provides an

“open-ended” standard for liability based either on the violation of a statute or on actions against

good customs and habits. See Curley v. AMR Corp., 153 F.3d 5, 14 (2d Cir. 1998).

       Here, there is a violation of the Ley de Concursos Mercantiles, which states that it is in

the public interest to “preserve businesses and avoid that the generalized failure to pay debts

places the viability of [businesses] at risk,” and a violation of Mexican criminal law, which

prohibits the pursuit of criminal proceedings through the fabrication of evidence. Defendants’

arguments to the contrary again rest on disagreement with the facts as alleged.




                                                 9
19-01294-scc        Doc 52      Filed 10/25/19 Entered 10/25/19 23:37:44                  Main Document
                                            Pg 32 of 185




        VII. Plaintiffs state a claim against the Ad-Hoc Defendants and the Singapore Rig

Owners and their directors (“Singapore Directors”)3 (collectively, “Singapore Defendants”) for

violations of 11 U.S.C. § 1520 and this Court’s order recognizing the concurso as the foreign

main proceeding, staying the New York Litigation, and granting comity to the injunction orders

issued by the Second District Court for Civil Matters of México City (Juzgado Segundo de

Distrito en Materia Civil en la Ciudad de México) (“Concurso Court”) (“Comity Order”).

        Defendants argue that the stay did not apply to Plaintiffs’ possession of the Rigs because

Plaintiffs’ possession rights are not located in the United States, but as a matter of well-

established law, Plaintiffs’ rights under the Bareboat Charters are within the territorial

jurisdiction of the United States given that those contracts require litigation of disputes in this

Court under U.S. maritime law. Defendants also argue that they did not violate the stay in the

Chapter 15 proceeding filed by the Singapore Rig Owners, In re: Perforadora Oro Negro, S. de

R.L. de C.V., et al., Case No. 18-11094 (SCC) (Jointly Administered) (“Chapter 15 Proceeding”),

because they seized the Rigs pursuant to a restitution order issued as part of a criminal

proceeding. However, the seizure of the Rigs was not authorized by the Mexican federal

judiciary (the competent authority) (and in fact was eventually annulled by Mexican judges) and

was not carried out by state security forces; regardless, improperly motivated criminal

proceedings are exempt from the stay. Defendants further argue they did not violate this Court’s

Comity Order because it supposedly did not order relief against the Singapore Rig Owners, but


3
        The Singapore Directors comprise (1) Roger Alan Bartlett; (2) Roger Arnold Hancock; and (3) Noel Blair
Hunter Cochrane, Jr.




                                                     10
19-01294-scc          Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44                  Main Document
                                             Pg 33 of 185



this is simply not correct: this Court’s order prohibited any interference with Perforadora’s

possession rights under the Bareboat Charters.

        VIII. This Court has jurisdiction over the abuse of process claims, and Plaintiffs do not

lack standing. First, this Court has bankruptcy jurisdiction because the claims are brought by Gil

personally and in his capacity as the Foreign Representative, and any damages would augment

the estate of the debtor entities: Integradora and Perforadora. This suffices for related-to

jurisdiction, and even if it did not, this Court should exercise supplemental jurisdiction under 28

U.S.C. § 1367. Second, Defendants argue that Gil does not have standing because he is no

longer the Foreign Representative; however, they fail to recognize that the current Foreign

Representative may be substituted for Gil, as this Court has done before under similar

circumstances.

        IX. Defendants argue that the adversary proceedings are outside Chapter 15’s zone of

interests, but cite no case ever dismissing adversary proceedings on this ground. Regardless, an

action seeking recovery from the parties that drove Plaintiffs into insolvency, in order to

augment the debtor’s estate, falls within the core purpose of Chapter 15.

                                COUNTERSTATEMENT OF FACTS

        A.       The Parties4

                 1.      The Plaintiffs

        Plaintiff Gonzalo Gil is the former Foreign Representative and was the CEO of Oro

Negro until the company was placed into liquidation in mid-June 2019. Compl. ¶ 9. He is a

legal permanent resident of the United States residing in Miami, Florida. Id.


4
         Defendants Deutsche México, John Fredriksen (“Fredricksen”), Andres Constantin Antonius-González
(“Antonius”) and Garcia Gonzales y Barradas, S.A. (“GGB”) are not addressed in this opposition and not discussed
in this Counterstatement of Facts.




                                                      11
19-01294-scc          Doc 52      Filed 10/25/19 Entered 10/25/19 23:37:44                    Main Document
                                              Pg 34 of 185



        Plaintiff Integradora, a Mexican holding company, is the ultimate parent company of Oro

Negro. Id. ¶ 96. Integradora, through its subsidiaries,5 owns and operates platforms that drill for

oil and gas offshore. It is owned by a combination of two Mexican pension funds (known in

México as afores) and investors based in the United States, México and Europe. Id. ¶ 97.

Plaintiff Perforadora is the wholly-owned operating subsidiary of Integradora that contracted the

Rigs to Pemex. Id. ¶ 103.

        Integradora and Perforadora are both in liquidation proceedings in México.6 Id. ¶¶ 195,

198. They are represented in the underlying Chapter 15 Proceeding by Fernando Perez Correa,

the current Foreign Representative. See Ch. 15, ECF 231.

                 2.       The Ad-Hoc Group Defendants

        The Ad-Hoc Group Defendants are (1) the members of the Ad-Hoc Group, which are the

managers of funds or companies that hold the majority of the Bonds; (2) the Group’s financial

advisor, AMA; (3) the Group’s Mexican lobbyist, Andres Antonius; (4) the Group’s Mexican

criminal law firm, GGB; and (5) the individual defendants (i) Alp Ercil, CEO of ARCM;

(ii) Kristan Bodden, CEO of MFC; (iii) John Fredriksen, who ultimately controls SFIL and

Seadrill; and (iv) Leand, CEO of AMA. Compl. ¶ 19.

        AMA, Leand, Alterna and Bodden are all U.S. residents. Id. ¶¶ 20, 24,26, 55. MFC was

based in Miami at the time of the events described in the Complaint. Id. ¶ 50. The remaining

Ad-Hoc Group Defendants have significant business ties to the United States, as set forth in

greater detail in the Complaint. See id. ¶¶ 19-67.


5
         Integradora’s relevant subsidiaries for purposes of this action are (1) Perforadora (the operating entity);
(2) the Singapore Rig Owners (the Rig-owning entities); and (3) Oro Negro Drilling, Pte., Ltd. (“Oro Negro
Drilling”) (the parent entity of the Singapore Rig Owners and issuer of the Bonds, as defined below).
6
        The proceedings have been consolidated and the two insolvencies administered together in México.
Compl. ¶ 198.




                                                        12
19-01294-scc         Doc 52    Filed 10/25/19 Entered 10/25/19 23:37:44                Main Document
                                           Pg 35 of 185



                3.      The Seamex Defendants

        The Seamex Defendants are Seadrill and New York-based Fintech Advisory. Id. ¶¶ 68-

69. Seadrill trades on the New York Stock Exchange and recently emerged from Chapter 11

bankruptcy proceedings in the U.S. Bankruptcy Court for the Southern District of Texas

(Victoria Division) on behalf of itself and 85 direct and indirect subsidiaries (“Seadrill

Restructuring”). Id. ¶¶ 72-75. Seadrill and Fintech Advisory are 50/50 owners of Seamex, a

Mexican joint venture and Oro Negro’s primary competitor in México. Id. ¶ 68.

                4.      The Singapore Defendants

        The Singapore Defendants are (1) the Singapore Rig Owners;7 and (2) the Singapore

Directors, Noel Hunter Cochrane, Roger Bartlett and Roger Hancock. Id. ¶¶ 82-87. Cochrane

resides in the United States. Id. ¶ 76.

        B.      Oro Negro

                1.      Corporate Structure

        Integradora acquired the five Rigs—Decus, Fortius, Impetus, Laurus, and Primus—

between 2012 and 2015. Id. ¶ 99. It owns the five Rigs through the five Singapore Rig Owners,

each of which owns one Rig. Id. ¶¶ 99-100. Specifically, Integradora owns 100% of the equity

of Oro Negro Drilling, which in turn owns 100% of the equity in each Singapore Rig Owner. Id.

¶ 100. Even though each Singapore Rig Owner owns a Rig, no Singapore Rig Owner operates or

has the capacity to operate a Rig. Id. ¶ 101. Without an associated contract, each Rig is worth

approximately $150 million. Id. ¶ 102. With an associated contract, each Rig can be worth

hundreds of millions of dollars. Id.


7
        See supra note 2. The Singapore Rig Owners were previously represented in the underlying Chapter 15
Proceeding by the same New York-based attorneys who act for the majority of the Ad-Hoc Group Defendants:
Paul, Weiss, Rifkind, Wharton & Garrison LLP (“Paul Weiss”).




                                                    13
19-01294-scc   Doc 52   Filed 10/25/19 Entered 10/25/19 23:37:44   Main Document
                                    Pg 36 of 185
19-01294-scc      Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44            Main Document
                                         Pg 37 of 185



interrupt, disrupt or interfere in Perforadora’s contracts, including the Oro Negro Contracts, or to

interfere in Perforadora’s use of the Rigs. Id. ¶ 112.

                       (b)     Security

       As security for the Bonds, Integradora pledged its shares in Oro Negro Drilling to Nordic

Trustee (“Oro Negro Drilling Share Charge”), and Oro Negro Drilling pledged its shares in the

Singapore Rig Owners to Nordic Trustee (“Singapore Rig Owner Share Charge,” and, together

with the Oro Negro Drilling Share Charge, “Share Charges”). Id. ¶¶ 113-14. Integradora also

provided a mortgage on the Rigs in favor of Nordic Trustee (“Mortgage[s]”).

       The Share Charges are governed by Singapore law, while the Mortgages are governed by

Panamanian law. Id. ¶¶ 114-115.

                       (c)     Events of Default

       Events of default include (1) Oro Negro’s failure to pay interest or the principal when due

under the Bond Agreement; and (2) initiation by Oro Negro of restructuring, insolvency or

bankruptcy proceedings. Id. ¶ 116. In such circumstances, Nordic Trustee may declare an event

of default, exercise the Bondholders’ security rights, and demand immediate payment of the

entire principal and accrued interest. Id.

       However, Nordic Trustee’s rights to declare a default are circumscribed by local

insolvency law. Id. ¶ 117. Mexican courts have ruled that Mexican law governs Nordic

Trustee’s rights under the Bond Agreement to the extent that exercising those rights impacts

Integradora and Perforadora. Id. As described further in Section VI, Mexican law provides that

terminating a contract or taking any actions to worsen a debtor’s condition, such as declaring an

event of default, due to the commencement of insolvency proceedings is unenforceable as a

violation of Mexican public policy because it impairs the debtor’s ability to successfully

reorganize.


                                                 15
19-01294-scc        Doc 52   Filed 10/25/19 Entered 10/25/19 23:37:44             Main Document
                                         Pg 38 of 185



                       (d)    The Trust

       The Bond Agreement provided for the establishment of a Mexican trust (in Spanish,

fideicomiso) that receives the payments by Pemex to Perforadora for leasing the Rigs (“Mexican

Trust”). Id. ¶ 160. The Mexican Trust’s administrator, the entity responsible for managing the

trust funds, including paying the beneficiaries, is Deutsche México. Id. ¶ 161.

               3.      Bondholders’ Advisors




                                   See infra Section D.2.A.

               4.

       Additionally, in connection with the amendments to the Bond Agreement and under the

auspices of ensuring a smooth and collaborative relationship between Oro Negro and its

Bondholders, the Ad-Hoc Group required Oro Negro to appoint Ole Aagaard Jensen, a rig

operations consultant, as Chief Operating Officer (“COO”). Id. ¶¶ 122-123.




                                        Id. ¶¶ 177-181.

               5.      The Rigs And Rig Contracts

                       (a)    The Bareboat Charters

       The Singapore Rig Owners leased the Rigs to Perforadora, Integradora’s operating

subsidiary, through the Bareboat Charters. Id. ¶ 124-125. The five Bareboat Charters are




                                               16
19-01294-scc         Doc 52       Filed 10/25/19 Entered 10/25/19 23:37:44                    Main Document
                                              Pg 39 of 185



governed by U.S. maritime law and disputes arising under them are subject to the jurisdiction of

New York courts. Id. ¶¶ 124-25.

        Perforadora, in turn, contracted the Rigs to provide drilling services to Pemex under the

Oro Negro Contracts. Id. ¶ 145. The Bareboat Charters are explicitly tied to the Oro Negro

Contracts: each Charter is valid from “the commencement of the [Oro Negro Contract]” to the

“termination/expiry of the [Oro Negro Contract]” (“Charter Period”), and Perforadora has sole

and exclusive possession of the Rigs during that time (i.e., for the duration of the Oro Negro

Contracts). Id. ¶¶ 126-127.

        The Bareboat Charters also set forth how income from Pemex and expenses to maintain

and operate the Rigs would be allocated between Perforadora, Integradora and the Singapore Rig

Owners. Specifically, Perforadora must pay the Singapore Rig Owners the net funds that Pemex

pays to Perforadora under the Oro Negro Contracts, after accounting for operational and

administrative expenses (“Charter Hire”).10 Id. ¶¶ 128-129.

        Under the Bareboat Charters, the Singapore Rig Owners are responsible for certain

expenses associated with the Rigs and must reimburse Perforadora for such expenses

(“Reimbursement Costs”). Id. ¶ 130. One such expense is the cost to maintain the Rigs “in

class” (i.e., with a valid inspection from the American Bureau of Shipping (“ABS”)), which

certifies that the Rigs are in good condition and meet all required safety standards. Id. ¶ 132.

This certification is necessary for the Rigs to legally (1) provide services to Pemex; (2) maintain

their insurance coverage; and (3) remain in Mexican waters. Id. ¶¶ 132-133. The ABS conducts

a comprehensive inspection every five years to determine if a Rig is “in class” (“Five-Year Class


10
        The Bareboat Charters expressly provided that Charter Hire is not due unless and until Pemex pays
Perforadora while the Rigs are in service. If the Rigs are not in service, or Pemex fails to pay, no Charter Hire is
owed during that period. Id. ¶ 128.




                                                        17
19-01294-scc       Doc 52    Filed 10/25/19 Entered 10/25/19 23:37:44            Main Document
                                         Pg 40 of 185



Certification”) and narrower annual inspections to assure a Rig should remain “in class”

(“Annual Certification[s]”). Id. ¶ 133.

       Pursuant to the Bareboat Charters, the Singapore Rig Owners must pay for all expenses

necessary for the Rigs to remain “in class,” including the costs associated with the Five-Year

Class Certification and the Annual Certifications. Id. ¶ 132-135. Article 7.1 of each Bareboat

Charter states that “[a]nnual survey, special survey, major maintenance and major overhaul of

the Vessel shall be performed every five years (or any other time as required by the classification

society) by Charterer at Owner’s expense.” Id. ¶ 133. In 2017 and 2018, Perforadora incurred

$274,925.29 in expenses to obtain Five-Year Class Certifications and Annual Certifications for

the five Rigs. Id. ¶ 135. These are expenses that the Singapore Rig Owners must reimburse to

Perforadora. Id.

       Prior to the start of the Charter Period, Perforadora has no obligation to pay for the

maintenance of the Rigs or any costs associated with them. Id. ¶ 136. The Charter Period for the

Impetus Bareboat Charter began on May 29, 2016. Id. ¶ 137. Prior to the commencement of this

Charter Period, Perforadora incurred $7,520,279.88 in expenses for the Impetus, including

salaries, maintenance, fuel and personnel training.      Id. ¶ 138.    Oro Negro Impetus must

reimburse these sums to Perforadora. Id.

                      (b)     The Oro Negro Contracts

       From April 2013 to January 2014, Perforadora entered into the Oro Negro Contracts to

provide drilling services to Pemex. Id. ¶ 140. Under the original terms, Oro Negro’s annual

revenues from the Oro Negro Contracts were approximately $280 million. Id. ¶ 143. Over the

life of the Oro Negro Contracts, Pemex would have paid Oro Negro $1.05 billion. Id.

       Under the terms of the Oro Negro Contracts, Pemex paid Perforadora daily rates, which

were deposited into the Mexican Trust and then distributed according to the Trust Agreement


                                                18
19-01294-scc     Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44           Main Document
                                        Pg 41 of 185



amongst Perforadora and the Singapore Rig Owners. Id. ¶¶ 148, 160. The Singapore Rig

Owners, in turn, transferred funds to Oro Negro Drilling, their Singaporean parent entity and

bond-issuer. Id. ¶¶ 226, 253. This is how Oro Negro paid its bond debt, and, until October

2017, it never missed a payment. Id. ¶ 253. Pemex may only validly terminate the Oro Negro

Contracts if Perforadora breaches them, for force majeure, or for “duly justified reasons” (in

Spanish, razones debidamente justificadas). Id. ¶ 144.

       Under the Oro Negro Contracts, Pemex pays Perforadora the daily rate depending on the

amount of time the Rig is available and ready for Pemex to use (i.e., it excludes time when the

Rig is in repair or malfunctioning), regardless of whether Pemex actually uses it. Id. ¶ 148.

From the inception of the Oro Negro Contracts until Pemex purported to terminate them in

October 2017, Pemex paid (or authorized payment but has not yet paid), on average, 99.5% of

the daily rate under each Pemex Contract, meaning that the Rigs were available and ready for

use, on average, 99.5% of the time. Id. ¶ 149. Thus, Perforadora’s performance of the Oro

Negro Contracts was almost perfect. Id.

       In 2015 and 2016, Pemex reduced the agreed-upon daily rates it paid Oro Negro for the

use of the Rigs (“2015 and 2016 Amendments”) and suspended two Rigs. Id. ¶ 145. This

reduced Oro Negro’s revenue by more than 50% and forced Oro Negro to renegotiate its bond

debt. Id. ¶ 146. Pemex and Oro Negro agreed that the 2015 and 2016 Amendments were

temporary and that the Oro Negro Contracts would return to their original terms in 2017. Id.

       However, as described in more detail in infra Section D.1, in 2017, Pemex purported to

impose on Oro Negro even more severe amendments that would have made it impossible for Oro

Negro to timely repay the Bonds (“2017 Proposed Amendments”).               Id. ¶ 162.    These

amendments were harsher than those imposed on any other provider. Id. ¶ 155. Oro Negro did




                                               19
19-01294-scc   Doc 52   Filed 10/25/19 Entered 10/25/19 23:37:44   Main Document
                                    Pg 42 of 185
19-01294-scc        Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44             Main Document
                                           Pg 43 of 185



       D.      March to September 2017

               1.        2017 Proposed Amendments

       In March 2017, Pemex broke its promise, demanding that (1) the two contracts for the

Primus and Laurus remain suspended; and (2) Perforadora accept permanent daily rate

reductions of approximately 27% on the other three contracts. Id. ¶ 162. As explained in

Section B.5.b, these terms threatened Oro Negro’s solvency by cutting its revenues drastically.

Pemex repeatedly threatened to terminate all the Oro Negro Contracts (a tactic it had used to

secure the 2015 and 2016 Amendments) and refused to approve and pay Perforadora’s

outstanding invoices even though the Rigs remained in operation and Pemex pumped oil using

the Rigs.12 Id. ¶ 164.

       Oro Negro turned to its Bondholders for support during this time, and discussed Pemex’s

position and tactics with ARCM so that ARCM would support Oro Negro and prevent Pemex

from imposing its draconian terms. Id. ¶ 165.




                Id.

               2.        The Defendants’ Interference

                         (a)   The Ad-Hoc Group and Its Advisors

       The Ad-Hoc Group, which owned approximately 60% of the Bonds, formed in 2017 and

engaged the law firm Paul Weiss as legal counsel. Id. ¶ 166.



12
       From April to September 2017, while Pemex was pressuring Perforadora to accept the 2017 Proposed
Pemex Amendments, Perforadora accrued close to $90 million in unpaid daily rates.




                                                  21
19-01294-scc      Doc 52    Filed 10/25/19 Entered 10/25/19 23:37:44       Main Document
                                        Pg 44 of 185



                                         Id. ¶ 170. Leand, AMA’s Managing Director and CEO,

                                                                    having held positions on

the Seadrill and SFIL Boards of Directors. Id. ¶¶ 60, 74.



              Id. ¶ 173.




13




                                               22
19-01294-scc       Doc 52   Filed 10/25/19 Entered 10/25/19 23:37:44   Main Document
                                        Pg 45 of 185



             (i)




Id. ¶ 179.

                      (b)   Coordination with Pemex




                                           23
19-01294-scc   Doc 52   Filed 10/25/19 Entered 10/25/19 23:37:44   Main Document
                                    Pg 46 of 185
19-01294-scc        Doc 52   Filed 10/25/19 Entered 10/25/19 23:37:44            Main Document
                                         Pg 47 of 185



to pay Perforadora the daily rates under the Oro Negro Contracts; (2) the Bondholders from

foreclosing on the Rigs; (3) Deutsche México from disbursing any funds from the Mexican Trust

other than to Perforadora to operate its business; and (4) Nordic Trustee from acting in

furtherance of its declaration of default, including by (i) exercising the Oro Negro Drilling Share

Charge; and (ii) attempting to collect on the limited guarantee under which Integradora

guarantees up to $175 million of the Bonds (“Guarantee”). Id. ¶¶ 193-199.

               2.      Injunctions

       On October 5, 2017, the Concurso Court issued an order granting Perforadora’s request

to initiate a concurso proceeding (“October 5 Order”). Id. ¶ 200. In the October 5 Order, the

Concurso Court issued numerous injunctions, including enjoining (1) Pemex from terminating

the Oro Negro Contracts and ceasing to pay Perforadora under the Oro Negro Contracts; (2)

Nordic Trustee (on behalf of the Bondholders) from taking any action to terminate the Bareboat

Charters; and (3) Deutsche México from disbursing any funds in the Mexican Trust. Id.

       On October 8, 2017, Perforadora informed the Concurso Court that Pemex and the

Singapore Rig Owners (acting under the unlawful control of the Ad-Hoc Group) had attempted

to terminate the Oro Negro Contracts and the Bareboat Charters (as explained in infra Section

E.3.B). Id. ¶ 201. In response, on October 11, 2017, the Concurso Court issued an order

confirming that (1) Pemex was enjoined from terminating the Oro Negro Contracts, including

taking any steps to further its purported terminations (e.g., ceasing to pay Perforadora); and

(2) Nordic Trustee (acting for the Bondholders) was enjoined from taking any action to terminate

the Bareboat Charters, including acting in furtherance of the Singapore Rig Owners’ purported

terminations of the Bareboat Charters (“October 11 Order”). Id. ¶ 202.

       Lest there be any doubt, on December 29, 2017, the Concurso Court again confirmed

these orders. The Court further clarified that the October 5 and 11 Orders applied retroactively


                                                25
19-01294-scc          Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44                     Main Document
                                             Pg 48 of 185



and, as such, that (1) Pemex’s purported terminations of the Oro Negro Contracts “were not

valid” (i.e., they were null, void and unenforceable); and (2) the Oro Negro Contracts were valid

and enforceable.15 Id. ¶ 203.

        Further, on October 31, 2017, the Concurso Court issued numerous injunctions, including

enjoining Nordic Trustee from (1) exercising or taking any actions in furtherance of the Oro

Negro Drilling Share Charge; and (2) asserting any claims against Integradora under the

Guarantee. Both injunctions are in effect. Id. ¶ 204.

        The Ad-Hoc Group has blatantly violated the Concurso Court’s injunctions. As set forth

in infra Section E.3.a, they caused Nordic Trustee to exercise the Oro Negro Drilling Share

Charge and have been acting in furtherance of the Oro Negro Drilling Share Charge since

October 2017, primarily by acting as the purported owners of Oro Negro Drilling and, through it,

of the Singapore Rig Owners. Id. ¶ 205.

                 3.       Violations of the Concurso Court’s Injunctions and Mexican Law

        Instead of supporting Oro Negro’s reorganization as normal creditors would, the Ad-Hoc

Group chose to violate the injunctions.



                           Id. ¶ 211.

                          (a)      The Ad-Hoc Group Encourages Pemex to Terminate the Oro
                                   Negro Contracts

        Even though Oro Negro had already sought concurso protection, including seeking

injunctive relief to prevent the termination of the Oro Negro Contracts, on October 3, 2017,

15
        In late January 2018, Pemex filed an amparo (a remedy for the protection of constitutional rights available
in Mexican courts) against the December 29 Order. On February 21, 2018, the amparo judge stayed the December
29 Order as to Pemex pending a final decision on the amparo on the ground that, although the injunctions in the
October 5 and October 11 Orders are lawful and appropriate under Mexican insolvency law, maintaining them as to
Pemex supposedly threatens Pemex’s financial survival. The amparo is still pending.




                                                        26
19-01294-scc         Doc 52       Filed 10/25/19 Entered 10/25/19 23:37:44                     Main Document
                                              Pg 49 of 185



Pemex delivered letters to Perforadora purporting to terminate the Oro Negro Contracts

(“Termination Letters”). Pemex asserted that it was terminating four of the Contracts because

other vendors had accepted lower daily rates, and that it was terminating the fifth Contract (for

Impetus) because Perforadora had filed for concurso. Id. ¶¶ 214-221.

        Pemex’s justification for the terminations was illegal, making the terminations null and

void. In February 2019, the Mexican federal court ruled that the terminations of the Oro Negro

Contracts were unlawful, invalid, and unenforceable.16 Id. ¶ 220. In addition, and despite the

Concurso Court’s reaffirmations that Pemex could not terminate the Oro Negro Contracts,

Pemex returned the Rigs to Perforadora and stopped paying the daily rates, including past-due

daily rates. Id. ¶ 224. Notably, the Ad-Hoc Group,

                                never offered to help Oro Negro collect any payment from Pemex,

even though Pemex payments were the only source of repayment for the Bonds. Id. ¶ 227.




16
         Perforadora also sued Pemex within the concurso regarding the Impetus termination. Terminating a
contract in México because a counterparty files for concurso is unlawful and unenforceable because it violates a rule
in the Mexican Bankruptcy Code expressly prohibiting termination of a contract (or taking any actions to worsen the
debtor’s condition) due to a concurso filing. Id. ¶¶ 221-222. Accordingly, on November 7, 2017, Perforadora sued
Pemex in the concurso proceeding (in an ancillary proceeding within the concurso) seeking a declaration that Pemex
breached the Impetus Contract by unlawfully terminating it and demanding performance and damages. Id. ¶ 222.
The case remained pending as of the date of this Complaint. Id.




                                                        27
19-01294-scc   Doc 52   Filed 10/25/19 Entered 10/25/19 23:37:44   Main Document
                                    Pg 50 of 185
19-01294-scc        Doc 52    Filed 10/25/19 Entered 10/25/19 23:37:44        Main Document
                                          Pg 51 of 185




                .

                                    on September 25, 2017, Nordic Trustee, instructed by the

Bondholders, declared Oro Negro Drilling in default and formally appointed Bartlett and

Hancock as directors,



                 Id. ¶ 236. On October 5, 2017, just two days after Perforadora received Pemex’s

Termination Letters, the Singapore Directors caused the Singapore Rig Owners, acting under the

unlawful control of the Ad-Hoc Group, to purport to terminate the Bareboat Charters and

demand that Perforadora return the Rigs to them on the sole ground that Pemex had validly

terminated the Oro Negro Contracts. Id. ¶ 237.

                        (c)   Seamex’s Facilitation of the Ad-Hoc Group’s Interference

         The Ad-Hoc Group knew it would succeed, in part because it was well supported. Id.

¶ 238.




                                                                  .




                                                 29
19-01294-scc   Doc 52   Filed 10/25/19 Entered 10/25/19 23:37:44   Main Document
                                    Pg 52 of 185
19-01294-scc       Doc 52   Filed 10/25/19 Entered 10/25/19 23:37:44           Main Document
                                        Pg 53 of 185




                                                        Pemex ultimately cancelled the meeting

with Oro Negro,

       F.     Global Litigation

       Unsuccessful in México, the Ad-Hoc Group sought other forums to facilitate their

takeover of Oro Negro’s Rigs. Id. ¶ 279.

              1.      The Singapore Litigation

       First, in January 2018, Oro Negro Drilling and the Singapore Rig Owners, acting under

the unlawful control of the Ad-Hoc Group, filed a complaint in Singapore against Integradora

and two of its managers, seeking a declaration that they could not act on behalf of Oro Negro

Drilling and the Singapore Owners in the concurso, as well as damages resulting from these

entities’ filing for concurso on September 29, 2017 (“Singapore Proceeding”).         Id. ¶ 280.

Moreover, Oro Negro Drilling and the Singapore Rig Owners sought, ex parte, to enjoin

Integradora and its managers from acting on behalf of Oro Negro Drilling and the Singapore Rig

Owners in the concurso, which a Singapore court granted on January 30, 2018. Id.

       Notably, in the course of the proceeding, Oro Negro Drilling and the Singapore Rig

Owners argued that Singapore was the proper forum for the dispute, rather than México. Morillo

Decl. ¶ 4, Ex. 1. In September of 2019, they ultimately prevailed on this argument. Id.




                                               31
19-01294-scc   Doc 52   Filed 10/25/19 Entered 10/25/19 23:37:44   Main Document
                                    Pg 54 of 185
19-01294-scc        Doc 52    Filed 10/25/19 Entered 10/25/19 23:37:44         Main Document
                                          Pg 55 of 185



Norwegian Declaratory Action. Id. ¶ 291. The existence of the suit was disclosed to the Foreign

Representative only in late January 2019, after the case was over. Id.

       G.        The Chapter 15 Proceeding

       The Foreign Representative initiated a Chapter 15 Proceeding before this Court on April

20, 2018 to (1) obtain recognition from this Court of Integradora’s and Perforadora’s concurso;

(2) stay the New York Litigation; (3) enforce the Concurso Court’s orders; and (4) obtain

information from several parties (the Ad-Hoc Group, AMA, Pemex, Seamex and Deutsche

México) regarding their potential misconduct. Id. ¶ 292.

       This Court, as stated in the Comity Order, did the following: (1) recognized the concurso

as the foreign main proceeding; (2) stayed the New York Litigation; (3) granted comity to the

October 5, October 11 and December 29 Orders; and (4) authorized the Foreign Representative

to obtain discovery from, initially, the Ad-Hoc Group, AMA and Deutsche México and, later,

from Seadrill and Fintech Advisory. Id. ¶ 293.

       Across the latter half of 2018, AMA, Alterna and Contrarian, the U.S.-based Ad-Hoc

Group Defendants,

                                                                     —as a means to delay and

obfuscate Plaintiffs’ attempts to uncover Defendants’ misdeeds in trying to seize the Rigs. Id.

¶¶ 294, 301.

       H.        Financial Strangulation and the Criminal Proceedings

       Simultaneously with its global litigation efforts, the Ad-Hoc Group redoubled its efforts

to starve Oro Negro into submission,

               and arguing in the Concurso Court that Perforadora was not entitled to any of the

funds in the Trust. Id. ¶¶ 257-271.




                                                 33
19-01294-scc   Doc 52   Filed 10/25/19 Entered 10/25/19 23:37:44   Main Document
                                    Pg 56 of 185
19-01294-scc   Doc 52   Filed 10/25/19 Entered 10/25/19 23:37:44   Main Document
                                    Pg 57 of 185
19-01294-scc        Doc 52   Filed 10/25/19 Entered 10/25/19 23:37:44             Main Document
                                         Pg 58 of 185



       Nevertheless, the Ad-Hoc Group, through the Singapore Rig Owners, requested that the

local prosecutor seek a seizure of the Mexican Trust and all of the bank accounts belonging to

the Mexican Trust and Perforadora. Id. ¶ 334. A Mexican federal judge concluded that the

allegations of mismanagement of the Mexican Trust were completely baseless and that the PGR

had no evidence demonstrating that the Mexican Trust was in any way related to any criminal

conduct. Id.

       However, the Ad-Hoc Group was able to use that proceeding to obtain information

regarding Perforadora from the Servicio de Administración Tributaria (“SAT”), México’s tax

agency, that the Singapore Rig Owners subsequently used in another criminal proceeding. Id. ¶

335. The SAT sent to the PGR a disc with hundreds of tax filings filed by Perforadora and third

parties reflecting services supposedly provided to them by Perforadora, as well as charts

summarizing these filings. Id. ¶ 337.




       The information in that spreadsheet is demonstrably false (as explained below)

                     However, when the media reported on the criminal case,

                                                                     Id. ¶ 342.

               3.      Second Criminal Complaint

       On June 18, 2018, the Singapore Rig Owners—

                —filed a second frivolous criminal complaint before the Procuraduría General

de Justicia de la Ciudad de México (“México City DA”), México City’s local prosecutors’

20
                                                    See Ch. 15, ECF 174.




                                              36
19-01294-scc        Doc 52   Filed 10/25/19 Entered 10/25/19 23:37:44            Main Document
                                         Pg 59 of 185



office, against Alonso Del Val, the then-Foreign Representative, for signing on behalf of

Integradora, on September 20, 2017, shareholder resolutions of Oro Negro Drilling and the

Singapore Rig Owners authorizing Jesus Guerra (“Attorney Guerra”), Integradora’s and its

subsidiaries’ Mexican attorney, to file concurso petitions on their behalf. Id. ¶ 343. The

Singapore Rig Owners argue in their complaint that Del Val purportedly misled the Concurso

Court by allowing Attorney Guerra to act on behalf of Oro Negro Drilling and the Singapore Rig

Owners because Oro Negro Drilling and the Singapore Rig Owners should have been controlled

by the Bondholders. Id. ¶ 344.

       The case is clearly frivolous and intended only to harass Oro Negro.              First, the

authorization pre-dates the filing. Id. ¶ 346. Second, this is an issue still being litigated in the

Concurso Court. Id. ¶ 347.

               4.      The Third Criminal Proceeding

                       (a)    Fabrication of Evidence

       In early September 2018, based on the allegations of mismanagement of the Mexican

Trust (which are described above) and the SAT’s false evidence, the Singapore Rig Owners,

              , requested that the PGR obtain a court order from a Mexican federal judge seizing

the Mexican Trust and all of Perforadora’s bank accounts. Id. ¶ 349. A day after the request, a

Mexican federal judge denied the seizure as baseless, concluding that the Singapore Rig Owners

had failed to provide any evidence that the Mexican Trust or any of the bank accounts of the

Mexican Trust or Perforadora were in any way related to, or held proceeds of, any criminal

conduct. Id. ¶ 350.



                         though the Singapore Rig Owners, filed a criminal complaint before the

México City DA against Perforadora accusing it of issuing invoices from 2014 to 2017 and


                                                37
19-01294-scc       Doc 52    Filed 10/25/19 Entered 10/25/19 23:37:44          Main Document
                                         Pg 60 of 185



totaling approximately $500,000, to 16 companies that supposedly facilitate tax evasion. Id.

¶¶ 351-352. The sole “evidence” in support of the complaint



                                                                                            . Id.

¶ 357.

         The allegations make no sense. Perforadora has only ever provided services to Pemex,

and would never have invoiced any other entity, much less ones, like the sham companies, that

have nothing to do with Rig operations. Id. ¶¶ 361-362. Further, Perforadora conducted a

comprehensive internal investigation and determined that these allegations are false. Id. ¶¶ 353-

364. Under Mexican law, every company, including Perforadora, must upload their invoices to

an electronic database that the SAT maintains. Id. ¶ 363. As the SAT has now confirmed in

writing to Perforadora, there is no record in the SAT’s database of Perforadora ever issuing an

invoice to these sham companies. Id. The sham companies also do not appear on other files

from the same “disc” purporting to list all the entities with which Oro Negro had done business.

Id. ¶ 365.

                       (b)    Seizure Order

         Nonetheless, the Ad-Hoc Group was ultimately successful in its scheme, obtaining within

one week an order seizing the Mexican Trust and all of Oro Negro’s accounts (“Seizure Order”).

Id. ¶ 368.




         Neither         the prosecutors, nor the court provided any notice whatsoever to

Perforadora about the criminal investigation, much less the Seizure Order.           Id. ¶ 371.




                                               38
19-01294-scc      Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44         Main Document
                                         Pg 61 of 185



Perforadora only learned of the criminal investigation and the Seizure Order because the

Mexican media published articles about them on October 1, 2018. Id.

                       (c)    The Rigs Take-Over Order

       Emboldened by the success of the Seizure Order, on October 18, 2018 (Thursday),

acting on behalf of the Singapore Rig Owners, sought and, one day later obtained, a second

unlawful order. Id. ¶ 372. This time, without presenting any evidence and again within days of

requesting it, the Singapore Rig Owners obtained an order allowing them to take possession of

the Rigs (“Rigs Take-Over Order”), in effect authorizing the Bondholders to dispossess

Integradora of approximately $750 million in value, based on an unproduced spreadsheet

supposedly showing invoices that Perforadora allegedly sent to 16 “sham” companies totaling a

mere $500,000. Id. ¶¶ 372-377. To ensure their success, the judge also issued orders to

government forces to provide all possible assistance to the Singapore Rig Owners in taking over

the Rigs. Id. ¶ 378.

       From October 19 to October 21, 2018 (Friday to Sunday), the Ad-Hoc Group and its

agents, led by Aagaard, placed their crews in helicopters and deployed the helicopters to try to

forcibly take over the Rigs. Id. ¶¶ 379-384. On October 20 and 21, the helicopters attempted to

land by force on the Rigs. Id. ¶ 380. Three men,                                  and an armed

private security guard, were able to jump from one of the helicopters onto one of the Rigs—the

associate and security guard refused to leave for days. Id. ¶ 381.

       The Ad-Hoc Group finally abandoned the attempt only after (1) the issuance of the

Temporary Restraining Order from this Court; (2) an order from the Concurso Court to the

México City Judge to retract the Rigs Take-Over Order; and (3) a stay of the order from an

amparo court. Id. ¶¶ 387, 389-390. Though ultimately unsuccessful, the reckless attempt put the

crews and Rigs at risk of physical harm. See id. ¶¶ 380-384. Moreover, while the Bondholders’


                                                39
19-01294-scc            Doc 52   Filed 10/25/19 Entered 10/25/19 23:37:44           Main Document
                                             Pg 62 of 185



agents were on board, GGB’s partners falsely asserted, via media appearances, that Oro Negro

had kidnapped them. Id. ¶ 383.

                   5.      The Fourth Criminal Proceeding

                   On October 21, 2018, while attempting to take over the Rigs, the Singapore Rig

Owners, acting under the Ad-Hoc Group’s unlawful control, filed a fourth criminal complaint

against Perforadora and its employees before the PGR’s office in Ciudad del Carmen, México.

Id. ¶ 394. The complaint alleges that Perforadora and its employees were in contempt of the

Rigs Take-Over Order because they did not allow the Singapore Rig Owners to take over the

Rigs. Id. ¶ 395. In January 2019, the PGR filed charges, but a federal judge dismissed them on

jurisdictional grounds. Id. ¶¶ 395-396.

                   6.      Gonzalo Gil

       The Ad-Hoc Group and Singapore Defendants have instigated criminal investigations,

including the federal criminal case, against not only Oro Negro, but against Mr. Gil personally.

Id. ¶ 324. Since the Complaint want filed, the Ad-Hoc Group and the Singapore Defendants,

                   have secured arrest warrants for Mr. Gil and others that have resulted in a request

by local México City Prosecutors for an INTERPOL red notice against Mr. Gil.21                 These

investigations, premised on false evidence and without any foundation, have forced Mr. Gil to

remain in exile in the United States, unable to return to México for business or to see his

family.22 They have destroyed his business and his professional reputation, inhibited his ability

to do business México and abroad, and forced him to live in fear.




21
        See Complaint, Perez-Correa v. Asia Research and Capital Management, Adv. No. 19-01360, In re
Perforadora Oro Negro, S. de R.L. de C.V., No. 18-11094, ECF 1, ¶ 137.
22
       Id. ¶ 30.




                                                   40
19-01294-scc      Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44           Main Document
                                         Pg 63 of 185



                                         ARGUMENT

I.     THIS ADVERSARY PROCEEDING BELONGS IN THE UNITED STATES

       “[F]orum non conveniens is a discretionary device permitting a court in rare instances to

dismiss a claim even if the court is a permissible venue with proper jurisdiction over the claim.”

Wiwa v. Royal Dutch Petroleum Co., 226 F.3d 88, 100 (2d Cir. 2000) (quotations omitted).

There is a three-step analysis to evaluate forum non conveniens challenges:          (1) “a court

determines the degree of deference properly accorded the plaintiff’s choice of forum”; (2) a court

“considers whether the alternative forum proposed by the defendants is adequate to adjudicate

the parties’ dispute”; and (3) “a court balances the private and public interests implicated in the

choice of forum.” Norex Petroleum Ltd. v. Access Indus., Inc., 416 F.3d 146, 153 (2d Cir. 2005)

(citing Iragorri v. United Techs. Corp., 274 F.3d 65, 73-74 (2d Cir. 2001) (en banc)). “The

movant bears the burden of showing that the plaintiff’s chosen forum is not the appropriate

forum.” In re: Lyondell Chem. Co., 543 B.R. 428, 457 (Bankr. S.D.N.Y. 2016); see also Wiwa,

226 F.3d at 100 (“The defendant has the burden to establish that an adequate alternative forum

exists and then to show that the pertinent factors tilt strongly in favor of trial in the foreign

forum.” (quotations and alterations omitted)). And “unless the balance is strongly in favor of the

defendant, the plaintiff’s choice of forum should rarely be disturbed.” Lyondell, 543 B.R. at 457

(quoting Gulf Oil Corp. v. Gilbert, 330 U.S. 501, 508 (1947)).

       The “court must accept the facts alleged in the complaint as true” when evaluating “a

motion to dismiss for forum non conveniens … without a factual hearing.” RIGroup LLC v.

Trefonisco Mgmt. Ltd., 949 F. Supp. 2d 546, 549 (S.D.N.Y. 2013), aff’d, 559 F. App’x 58 (2d

Cir. 2014). Here, the facts as alleged establish that Defendants cannot meet their burden for

dismissal on forum non conveniens grounds.




                                                41
19-01294-scc      Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44             Main Document
                                         Pg 64 of 185



       A.      Plaintiffs’ Choice Of Forum Is Entitled To Substantial Deference

       “Any review of a forum non conveniens motion starts with ‘a strong presumption in favor

of the plaintiff’s choice of forum.’” Norex, 416 F.3d at 154 (citing Piper Aircraft Co. v.

Reyno, 454 U.S. 235, 255 (1981)). While this presumption is always strong, “the greater the

plaintiff’s or the lawsuit’s bona fide connection to the United States and to the forum of choice

and the more it appears that considerations of convenience favor the conduct of the lawsuit in the

United States, the more difficult it will be for the defendant to gain dismissal for forum non

conveniens.”    Iragorri, 274 F.3d at 72.      Here, both Plaintiffs and lawsuit possess strong

connections to the forum of choice, and convenience compels retaining the lawsuit in this Court,

thus warranting particularly strong deference here.

       First, Gil, the named individual Plaintiff, resides in the United States. Compl. ¶¶ 16-17.

“[C]ourts should offer greater deference to the selection of a U.S. forum by U.S. resident

plaintiffs.” Wiwa, 226 F.3d at 102. The Ad-Hoc Defendants note (Br. 28 n.27) that Gil resides

in Florida, not New York, but “[t]he benefit for a U.S. resident plaintiff of suing in a U.S. forum

is not limited to suits in the very district where the plaintiff resides, especially considering that

the defendant may not be amenable to suit in the plaintiff’s district of residence.” Id. at 103; see

also Accordia Ne., Inc. v. Thesseus Int’l Asset Fund, N.V., 205 F. Supp. 2d 176, 179 (S.D.N.Y.

2002) (“It is well settled that the plaintiff’s choice of forum should rarely be disturbed. This

remains true even where, as here, a United States plaintiff sues a foreign defendant in a U.S.

court that is outside the plaintiff’s home district.”) (citation and quotations omitted). Moreover,

while other Plaintiffs are not U.S. residents, even a single U.S. resident plaintiff suffices for

application of strong deference to the choice of a U.S. forum. See, e.g., Simon v. Republic of

Hungary, 911 F.3d 1172, 1183 (D.C. Cir. 2018) (“[T]he addition of foreign plaintiffs does not

render for naught the weighty interest of Americans seeking justice in their own courts.”);


                                                 42
19-01294-scc      Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44             Main Document
                                         Pg 65 of 185



Carijano v. Occidental Petroleum Corp., 643 F.3d 1216, 1228 (9th Cir. 2011) (“[T]he district

court explained that because Amazon Watch was but one domestic plaintiff alongside 25 foreign

plaintiffs, it was entitled to ‘only some deference.’ The district court cited no legal authority for

the application of this vague intermediate standard of deference. Indeed, the district court’s

application of that standard is directly contrary to the Piper . . . .”). Indeed, it would be

fundamentally unjust to U.S. citizens (and inconsistent with the judiciary’s general obligation to

exercise jurisdiction where available) for courts with jurisdiction to give them no forum for their

claims simply because the defendant also harmed foreign citizens who are also bringing claims

against the defendants. See Simon, 911 F.3d at 1183.

       Second, several Defendants are U.S. residents or have strong U.S. connections; more

defendants are located in the United States than in any other single jurisdiction, with only three

in México. See Compl. ¶¶ 27, 43, 88. “In weighing the … factors, the court starts with a

presumption in favor of the plaintiff’s choice of forum, especially if the defendant resides in the

chosen forum ….” Peregrine Myanmar Ltd. v. Segal, 89 F.3d 41, 46 (2d Cir. 1996); see also

Iragorri, 274 F.3d at 72 (“One of the factors that necessarily affects a plaintiff’s choice of forum

is the need to sue in a place where the defendant is amenable to suit.”). Here, Defendants

Alterna, AMA, Fintech Advisory, Leand, Bodden, and Cochrane (six of the 23 Defendants) are

U.S. residents, and MFC was U.S.-based at the time the relevant conduct occurred. See Compl. ¶

50.   Many other Defendants do substantial business in the United States or have strong

connections to the United States: ARCM manages funds that raise capital from and invest

permanently and significantly in New York (id. ¶¶ 32-34); Ercil, ARCM’s principal, conducts

permanent and substantial business in New York (id. ¶ 36); CQS has a subsidiary in New York,

through which it conducts permanent and substantial business (id. ¶ 38); MFC manages




                                                 43
19-01294-scc      Doc 52    Filed 10/25/19 Entered 10/25/19 23:37:44            Main Document
                                        Pg 66 of 185



investments funded by New York-based firms and its managers are based in the United States,

and until May 2018, its principal place of business was in the United States (id. ¶¶ 50, 52); and

SFIL and Seadrill trade on the New York Stock Exchange, and have or had multiple board

members in New York (id. ¶¶ 62, 74). In addition, Defendants ARCM, CQS, GHL and SFIL

have relied on their U.S. connections to attempt to seek relief in the NAFTA arbitration between

Oro Negro’s U.S. investors and México. Id. ¶¶ 32-34.

       As with foreign Plaintiffs, the fact that there are also foreign Defendants is immaterial to

the presumption. As the Second Circuit explained in a case with a mix of U.S. and foreign

defendants, Plaintiffs’ “decision to litigate in New York, where all defendants were amenable to

suit (and where some reside or are incorporated) is properly viewed as a strong indicator that

convenience, and not tactical harassment of an adversary, informed its decision to sue outside its

home forum.” Norex, 416 F.3d at 155. That is especially true here, given that Defendants have

avoided jurisdiction in México, which they now argue is the only proper forum; for instance, in

the Mexican criminal proceedings, the Ad-Hoc Defendants have acted only through the

Singapore Rig Owners to avoid entering formal appearances that could subject the Ad-Hoc

Defendants to suit in México. Compl. ¶¶ 321, 324, 335, 343, 349, 352, 394. Moreover, the

U.S.-based Defendants have no reasonable argument that this is an inconvenient forum, and as

for the foreign Defendants, there is no reasonable way to examine the presumption on a

defendant-per-defendant basis. The forum non conveniens doctrine concerns convenience of the

parties, and there could be no convenience from splitting an action into several separate actions

based on the residencies of all of the separate Defendants. The presence of some foreign

Defendants in this action therefore does not mitigate the connection to this forum premised, in

part, on the U.S.-based Defendants’ extensive connections.




                                               44
19-01294-scc      Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44            Main Document
                                         Pg 67 of 185



       Third, the Bareboat Charters at the center of Counts Thirteen through Twenty (and

relevant to the other claims) in this action contain a forum selection clause stipulating that venue

properly lies in this Court. Compl. ¶ 93 (“The Court has personal jurisdiction over the Singapore

Rig Owners pursuant to Section 19.1 of each of the Bareboat Charters, by which the Singapore

Rig Owners expressly and irrevocably agreed to submit to the jurisdiction of this Court.”).

Count 17 expressly concerns a breach of the Bareboat Charters against the Singapore Rig

Owners for failure to pay reimbursement costs. Compl. ¶¶ 547-50. And, “[u]nder the doctrine

of forum non conveniens, a valid forum-selection clause . . . must be given ‘controlling weight in

all but the most exceptional cases.’” Midamines SPRL Ltd. v. KBC Bank NV, No. 12 CIV. 8089

RJS, 2014 WL 1116875, at *3 (S.D.N.Y. Mar. 18, 2014), aff’d, 601 F. App’x 43 (2d Cir. 2015)

(citing Atl. Marine Const. Co. v. U.S. Dist. Court for W. Dist. of Texas, 571 U.S. 49, 60 (2013));

see also Bank of Am. Corp. v. Lemgruber, 385 F. Supp. 2d 200, 235 (S.D.N.Y. 2005) (“[A]

plaintiff’s forum choice that is consistent with a mandatory forum selection clause in a contract

signed by the parties and encompassing the causes of action brought by the plaintiff is entitled to

nearly conclusive deference.” (citations and quotations omitted)).

       Defendants make no argument for why this action presents an exceptional case that could

overcome the forum selection clause. Nor could they, as the Singapore Rig Owners themselves

previously sought relief in the Southern District of New York pursuant to those very contracts.

See Oro Negro Decus Pte. Ltd., et al. v. Perforadora Oro Negro, S. de R.L. de C.V., Case 1:18-

cv-02301-JPO. In their complaint, the Singapore Rig Owners alleged: “Venue properly lies in

this Court in accordance with the terms of the Bareboat Charters.” Oro Negro Decus Pte. Ltd., et

al. v. Perforadora Oro Negro, S. de R.L. de C.V., Case 1:18-cv-02301-JPO, Dkt. No. 1, at ¶ 18.

Moreover, even though only the Singapore Rig Owners were also parties to the Bareboat




                                                45
19-01294-scc      Doc 52      Filed 10/25/19 Entered 10/25/19 23:37:44             Main Document
                                          Pg 68 of 185



Charters, the forum selection clause weighs strongly against forum non conveniens dismissal

with regards to the remaining Defendants “because granting the motion would require the

plaintiff to pursue the case in two fora.” Concesionaria DHM, S.A. v. Int’l Finance Corp., 307

F. Supp. 2d 553, 563 (S.D.N.Y. 2004) (denying motion to dismiss for forum non conveniens).

And the Singapore Rig Owners brought suit at the instruction of the Ad-Hoc Defendants.

Compl. ¶¶ 285-288.

       Fourth, Defendants’ prior efforts to seek relief related to this dispute in this forum

preclude later forum non conveniens challenges. See Corporacion Mexicana De Mantenimiento

Integral, S. De R.L. De C.V. v. Pemex-Exploracion Y Produccion, 832 F.3d 92, 104 (2d Cir.

2016) (“[Pemex-Exploración Y Producción] cannot now reject this forum as extraordinarily

inconvenient when it affirmatively sought relief from this Court and from the Southern District

of New York.”); CF 135 Flat LLC v. Triadou SPY S.A., No. 15-CV-5345 (AJN), 2016 WL

5945933, at *3 (S.D.N.Y. June 21, 2016) (denying motion to dismiss for forum non conveniens

where defendant “first initiated litigation in New York State Supreme Court”).

       Fifth, Plaintiffs seek relief for violations of U.S. law and this Court’s prior orders, both of

which establish a strong connection with this forum. Oro Negro’s Chapter 15 proceeding in this

Court grounds this adversary proceeding. And Count 18 seeks relief for violations of 11 U.S.C.

§ 1520(a)(1), which stays all actions against property of a debtor located in the United States,

and the orders of this Court, which precluded Defendants from seizing the Rigs. Compl. ¶¶ 551-

65. Plaintiffs thus have “offered a quite valid reason for litigating in federal court: this country’s

interest in having United States courts enforce United States . . . laws.” DiRienzo v. Philip Servs.




                                                 46
19-01294-scc         Doc 52       Filed 10/25/19 Entered 10/25/19 23:37:44                      Main Document
                                              Pg 69 of 185



Corp., 294 F.3d 21, 28 (2d Cir. 2002) (explaining “that this interest . . . demonstrates a ‘bona

fide’ connection to the United States, that is, a valid reason”).23

         Finally, as discussed infra Section IV, the underlying conspiracy to tortiously interfere

with Oro Negro’s contracts and business relationships and seize the Rigs

                                    And the greater “the lawsuit’s bona fide connection to the United

States”, the greater the deference this Court must grant Plaintiffs’ choice of forum. Iragorri, 274

F.3d at 72.

         But even if the Iragorri analysis, which grants greater deference to Plaintiffs’ chosen

forum the greater the plaintiff’s and action’s connections to that forum, favored reduced

deference (it does not), the Ad-Hoc Defendants cannot support their assertion (Br. 31) that

Plaintiffs’ choice of forum “warrants no deference.” The Second Circuit “ha[s] cautioned that

‘this reduced weight is not an invitation to accord a foreign plaintiff’s selection of an American

forum no deference since dismissal for forum non conveniens is the exception rather than the

rule.’” Murray v. British Broad. Corp., 81 F.3d 287, 290 (2d Cir. 1996) (emphasis in original)

(citing R. Maganlal & Co. v. M.G. Chem. Co., No. 05 CIV. 9478 (GEL), 942 F.2d 164, 168 (2d

Cir. 1991)). Thus, at a minimum, “some weight must still be given to a foreign plaintiff’s choice

of forum.” Id.; see also Metito (Overseas) Ltd. v. Gen. Elec. Co., 2006 WL 3230301, at *3

(S.D.N.Y. Nov. 7, 2006) (Defendant “argues that plaintiff’s choice is instead due no deference

23
          The underlying dispute’s numerous bona fide ties to this forum bely the Ad-Hoc Defendants’ assertions
that forum shopping and tactical harassment motivated the selection of this forum. The Ad-Hoc Defendants claim
(Br. 30 n.29) that the litigation interest agreement evinces forum shopping, misleadingly quoting the words “plaintiff
friendly” to suggest Plaintiffs admitted as much in their own submissions. The referenced agreement makes no such
admission, and has no relevance to the comparative legal merit of Plaintiffs’ claims in this adversary proceeding.
Moreover, the Ad-Hoc Defendants’ argument that Plaintiffs are forum shopping by litigating where only a minority
of defendants are purportedly amenable to suit in this forum rings hollow given their unwillingness to accede to
jurisdiction elsewhere. See CF 135 Flat LLC, 2016 WL 5945933, at *4 (“[C]ourts generally require the moving
defendant” in a forum non conveniens case “to show that those [defendants that have been served but not appeared]
are at least as amenable to suit in the foreign jurisdiction as they are in the current forum.”). No matter where
Plaintiffs litigate, a significant number of Defendants will contest jurisdiction.




                                                         47
19-01294-scc         Doc 52   Filed 10/25/19 Entered 10/25/19 23:37:44            Main Document
                                          Pg 70 of 185



whatsoever. This argument . . . is clearly incorrect. Even assuming . . . plaintiff was motivated

in part by forum shopping . . . that would not mean that plaintiff’s forum choice is entitled to ‘no’

deference.”). Accordingly, Defendants must show “the pertinent factors tilt strongly in favor of

trial in the foreign forum,” Wiwa, 226 F.3d at 100, to overcome the deference owed to Plaintiffs’

forum choice.

       B.       México Is Not An Adequate Alternative Forum

       Regardless of the degree of deference this Court should afford to Plaintiffs’ selection of

forum, Defendants’ motion to dismiss on forum non conveniens grounds should be denied for

lack of an adequate alternative forum. “The defendant bears the burden of establishing that a

presently available and adequate alternative forum exists.” Abdullahi v. Pfizer, Inc., 562 F.3d

163, 189 (2d Cir. 2009). “An alternative forum is adequate if the defendants are amenable to

service of process there, and if it permits litigation of the subject matter of the dispute.” Norex,

416 F.3d at 157 (citing Pollux Holding Ltd. v. Chase Manhattan Bank, 329 F.3d 64, 75 (2d Cir.

2003)). Defendants cannot establish that México satisfies either condition.

                1.      Defendants Fail To Show That México Meets The Requirements For
                        An Adequate Alternative Forum

       First, Defendants have not carried their burden to demonstrate that all defendants are

amenable to service of process in México.             None “of the Defendants has made any

representations—either in their briefs or at oral argument—that they will submit to jurisdiction in

the [foreign forum] . . . . Absent any such consent, the [foreign forum] would not be an adequate

forum for the Defendants in this action and dismissal should be denied on that basis alone.”

Argus Media Ltd. v. Tradition Fin. Servs. Inc., No. 09 CIV. 7966 (HB), 2009 WL 5125113, at *5

(S.D.N.Y. Dec. 29, 2009). Moreover, even if some defendants were amenable to service of

process and subject to jurisdiction in México, “the requirement that a defendant be subject to the



                                                 48
19-01294-scc      Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44            Main Document
                                         Pg 71 of 185



jurisdiction of the alternative forum refers to all defendants.” ESI, Inc. v. Coastal Power

Production Co., 995 F. Supp. 419, 426 (S.D.N.Y. 1998) (emphasis added) (quotations omitted);

see also Concesionaria DHM, 307 F. Supp. 2d at 563 (holding “the alternative fora offered by

[defendant] are not adequate” because “not all defendants are subject to its jurisdiction and

granting the motion would require the plaintiff to proceed through multiple suits”).

       Defendants fail to address this well-established law. Instead, the Ad-Hoc Defendants

assert (Br. 32) that they are subject to service in a Mexican proceeding under the Hague

Convention, but this fails to address whether, regardless of service, they are all subject to

jurisdiction in the Mexican courts. As to jurisdiction, Ad-Hoc Defendants assert (Br. 31-32) that

Mexican courts can exercise jurisdiction over all defendants “if they are parties to contracts to be

performed in México or are alleged to have committed torts in México.” But only the Singapore

Rig Owners are party to contracts to be performed in México with Perforadora, and those

contracts contain forum selection clauses directing the parties to this Court. See Compl. ¶¶ 547-

50 (detailing Count 17, for breach of Bareboat Charters). Defendants produce no argument that

the Mexican courts will disregard this provision and instead take jurisdiction over claims

regarding those contracts. Indeed, as explained in the declaration of Plaintiffs’ expert Alfonso

López-Melih, the Mexican courts would not have personal jurisdiction over the non-Mexican

Defendants here or for conduct that took place outside of México. See Lopez Decl. ¶ 13.

       The actual proceedings in México have borne this out. In late 2017, Oro Negro filed an

incidente de ineficacia de actos juridicos y daños punitivos (motion to declare actions

unenforceable and for punitive damages) against Nordic Trustee and other parties. The motion

sought that the Mexican Concurso Court declare unenforceable all of Nordic Trustee’s actions in

furtherance of declaring Oro Negro Drilling in default, including taking over the Singapore Rig




                                                49
19-01294-scc         Doc 52       Filed 10/25/19 Entered 10/25/19 23:37:44                     Main Document
                                              Pg 72 of 185



Owners, and acting as their owners and managers, as a violation of Article 87 of the Mexican

Bankruptcy Code, which prohibits a party from terminating a contract and worsening a debtor’s

situation while the debtor is in bankruptcy. The Mexican court denied the motion for lack of

jurisdiction and ruled that it could not resolve disputes arising from or related to foreign

contracts.24 The Mexican court would likely rule the same here, declining to resolve this cross-

border dispute against Defendants, which arises from or relates to a plethora of non-Mexican

contracts such as the Bareboat Charters. Absent consent to jurisdiction, Plaintiffs’ speculation

about jurisdiction in México is insufficient to carry their burden to demonstrate the adequacy of

the alternative forum. See Madanes v. Madanes, 981 F. Supp. 241, 266 (S.D.N.Y. 1997)

(holding, despite the defendants’ arguments that an Argentine court would have jurisdiction,

“that it would be improper to dismiss the case absent a proffer by all of the [d]efendants that they

would be willing to consent to the jurisdiction of the Argentine court”).

        Second, Defendants have not carried their burden to establish that Mexican courts

“would, in fact, permit litigation of the disputed issues at the core of [plaintiffs’] . . . complaint.”

Norex, 416 F.3d at 157. “[A] case cannot be dismissed on grounds of forum non conveniens

unless there is presently available to the plaintiff an alternative forum that will permit it to

litigate the subject matter of its dispute.” Id. at 159. The essential subject matter of this dispute

concerns Defendants’ conspiracy to tortiously interfere with Plaintiffs’ contracts with Pemex and

the Singapore Rig Owners and seize control of the Rigs.25 Counts 1-4 and 13-14 allege tortious

interference and conspiracy to tortiously interfere with Oro Negro’s business relationships. But,

24
        In re Perforadora, et al., No. 18-11094 ECF 2 ¶ 41. n.10 (Bankr. S.D.N.Y.) (SCC) (Jointly Administered).
25
          Compl. ¶ 1 (“This is an egregious tortious interference case in which a company’s creditors and its only
customer colluded to drive the company out of business and take over its only assets.”); id. ¶¶ 214-49 (detailing Ad-
Hoc Group’s conspiracy to terminate the Oro Negro Contracts and ignore concurso orders); id. ¶¶ 398-436
(detailing Defendants’ interference with Oro Negro’s contracts, business relationships, and restructuring efforts).




                                                        50
19-01294-scc          Doc 52       Filed 10/25/19 Entered 10/25/19 23:37:44                       Main Document
                                               Pg 73 of 185



according to Defendants’ own expert, Mexican tort law recognizes neither tortious interference

claims nor conspiracy claims. See Harfuch Decl. ¶¶ 12-13.

         Plaintiffs contend Mexican law recognizes their claims, see infra Section VI, but even if

Defendants’ arguments to the contrary were accepted, Defendants have not shown an adequate

alternative forum. The Ad-Hoc Defendants emphasize (Br. 33) the Second Circuit’s statement

that “[t]he availability of an adequate alternative forum does not depend on the existence of the

identical cause of action in the other forum.” PT United Can Co. v. Crown Cork & Seal Co., 138

F.3d 65, 74 (2d Cir. 1998)). But here, the issue is not the absence of the identical cause of

action, but—according to Defendants—the preclusion of any cause of action for the misconduct

at the heart of this case. As the Supreme Court explained in Piper, “where the remedy offered by

the other forum is clearly unsatisfactory, the other forum may not be an adequate alternative, and

the initial requirement [of the existence of an alternative forum] may not be satisfied.” 454 U.S.

at 254 n. 22. And courts repeatedly find such a “clearly unsatisfactory” remedy in cases where,

as here, plaintiffs are unable to advance their central claims in the foreign forum.26

         Finally, even if Plaintiffs could litigate the essential subject matter of this action in

México, México is not an adequate alternative forum because of the Mexican government’s

involvement in the underlying actions. See Compl. ¶¶ 306-371 (detailing the four criminal

investigations against Plaintiffs based on fabricated evidence, false allegations, and potential


26
          See Argus Media, 2009 WL 5125113, at *5 (concluding “England is not an adequate alternative forum”
because plaintiff “cannot litigate its Copyright Act claims in England”); Haywin Textile Prod., Inc. v. Int’l Fin. Inv.,
137 F. Supp. 2d 431, 436 (S.D.N.Y. 2001) (“[Defendant] has failed to demonstrate that [plaintiff’s] claims could be
prosecuted in Bangladesh. In fact, it argues that Bangladeshi law would prohibit [plaintiff’s] claims.”); Parex Bank
v. Russian Sav. Bank, 116 F. Supp. 2d 415, 427 (S.D.N.Y. 2000) (“[Defendant] has failed to meet its burden of
proving that Russia will provide any avenue of relief for [plaintiff’s] claims as a matter of law.”); Brown v. Marriott
Int’l, Inc., No. 14-CV-5960 (SLT) (MDG), 2017 WL 4484194, at *6 (E.D.N.Y. Sept. 29, 2017) (“Defendant has
failed to meet its burden to show a necessary element of seeking dismissal based on forum non conveniens, that St.
Kitts permits litigation of vicarious liability and/or agency claims. On this ground alone, the Court can properly
deny this motion.”).




                                                          51
19-01294-scc         Doc 52      Filed 10/25/19 Entered 10/25/19 23:37:44                     Main Document
                                             Pg 74 of 185



bribes, and conducted without meaningful process afforded to Plaintiffs); id. ¶¶ 372-384

(detailing the Mexican government’s involvement in the seizure of the Rigs in violation of 11

U.S.C. § 1520).        The Ad-Hoc Defendants themselves acknowledge (Br. 37) that this case

“implicate[s] the conduct of Mexican officials.”



         ¶¶ 341, 372-84, Defendants cannot carry their burden to demonstrate that México would

be an adequate alternative forum. See HSBC USA, Inc. v. Prosegur Paraguay, S.A., No. 03 Civ.

3336 (LAP), 2004 WL 2210283, at *3 (S.D.N.Y. Sept. 30, 2004) (detailing specific allegations

of government corruption implicated in the conduct that gave rise to the plaintiff’s action, which

render the plaintiff “likely . . . unable to obtain basic justice in Paraguay”).27

                                                          also distinguish this case from others finding

México an adequate alternative forum. See Ad-Hoc Br. 33 n. 32. In Osuna v. Citigroup Inc.,

No. 17-cv-1434 (RJS), 2018 WL 6547205, at *8 (S.D.N.Y. Sept. 28, 2018), “Plaintiffs

concede[d] that Mexican courts are generally adequate fora for this lawsuit.”                        Id. (noting

challenges only to Mexican courts’ capacity to resolve dismissed claims governed by mandatory

forum selection clauses). Nor did the plaintiffs in Langsam v. Vallarta Gardens, No. 08 Civ.

2222 (WCC), 2009 WL 8631353, at *6 (S.D.N.Y. June 15, 2009), Becker v. Club Las Velas, 94

CIV. 2412 (JFK), 1995 WL 267025, at *2 (S.D.N.Y. May 8, 1995), or Navarrete De Pedrero v.

Schweizer Aircraft Corp., 635 F. Supp. 2d 251, 261 (W.D.N.Y. 2009), argue corruption would
27
          The Second Circuit’s general instruction for courts to avoid “adversely judging the quality of a foreign
justice system absent a showing of inadequate procedural safeguards,” PT United Can Co. v. Crown Cork & Seal
Co., 138 F.3d 65, 73 (2d Cir. 1998), is inapposite here. First, Plaintiffs alleged numerous specific examples of
inadequate procedural safeguards, including the four criminal investigations against Plaintiffs based on fabricated
evidence, false allegations, and potential bribes, see Compl. ¶ 432(a), and the ex parte Seizure Order obtained
through those criminal investigations, see id. ¶¶ 368-71. Second, courts in this circuit have previously denied
comity to Mexican court orders governing disputes involving Pemex. See Corporacion Mexicana De
Mantenimiento Integral, 832 F.3d at 111 (affirming a Southern District opinion denying comity to a Mexican court’s
decision that “offends basic standards of justice in the United States”).




                                                        52
19-01294-scc        Doc 52   Filed 10/25/19 Entered 10/25/19 23:37:44             Main Document
                                         Pg 75 of 185



preclude a meaningful remedy, much less specifically allege government and foreign judicial

corruption in the underlying dispute. See Daventree Ltd. v. Republic of Azerbaijan, 349 F. Supp.

2d 736, 756 (S.D.N.Y. 2004), opinion clarified on denial of reconsideration, 2005 WL 2585227

(S.D.N.Y. Oct. 13, 2005) (“In contrast with general allegations of corruption, the possibility that

the Sovereign defendants could dictate the outcome of this dispute through their control over

[foreign] courts would effectively foreclose the plaintiffs’ right to pursue their claims and render

the [foreign] courts an inadequate forum.”).

               2.      Defendants Are Estopped From Arguing That México Is An Adequate
                       Alternative Forum

        Defendants are also barred as a matter of judicial estoppel from arguing that México is an

adequate alternative forum because they argued successfully the exact opposite in Singaporean

courts. “[J]udicial estoppel will apply if: [A] a party’s later position is clearly inconsistent with

its earlier position; [B] the party’s former position has been adopted in some way by the court in

the earlier proceeding; and [C] the party asserting the two positions would derive an unfair

advantage against the party seeking estoppel.” BPP Illinois, LLC v. Royal Bank of Scotland Grp.

PLC, 859 F.3d 188, 192 (2d Cir. 2017) (quotations omitted). All three elements are satisfied

here.

        First, Defendants’ positions are clearly inconsistent. Here, they argue that México is an

adequate alternative forum to resolve this litigation. In Singapore, in stark contrast, Defendants

argued that México was not an adequate forum for resolution of claims intimately related to

those at issue here. Morillo Decl. ¶ 4, Ex. 1.

        Second, the Singaporean court accepted Defendants’ position by rejecting the forum non

conveniens argument and deciding the appeal on the merits. Id.




                                                 53
19-01294-scc        Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44          Main Document
                                           Pg 76 of 185



       Third, Defendants would derive an unfair advantage from their inconsistent positions.

Defendants’ approach is nothing more than forum shopping: claiming the Mexican courts are

inadequate when the Singapore courts are advantageous to them, and then claiming the Mexican

courts are adequate when they want to evade justice in the U.S. courts. It is clearly improper to

use the forum non conveniens doctrine for this kind of gamesmanship.

       C.      Private and Public Factors Favor Litigation In This Forum

       Defendants fail to carry their burden to demonstrate that “the balance of private and

public interest factors tilts heavily in favor of the alternative forum.” Abdullahi v. Pfizer, Inc.,

562 F.3d 163, 189 (2d Cir. 2009). This provides an independent basis to reject a motion based

on forum non conveniens. See Iragorri, 274 F.3d at 74-75 (Defendants “do[] not carry the day

simply by showing the existence of an adequate alternative forum.           The action should be

dismissed only if the chosen forum is shown to be genuinely inconvenient and the selected forum

significantly preferable.”).

               1.      Private Factors

       The five private factors to consider are: “(a) the ease of access to evidence; (b) the

availability of compulsory process; (c) the cost for cooperative witnesses to attend trial; (d) the

enforceability of a judgment; and (e) all other practical matters that might shorten any trial or

make it less expensive.” Do Rosario Veiga v. World Meteorological Organisation, 486 F. Supp.

2d 297, 306 (S.D.N.Y. 2007).

       First, this forum offers the best access to evidence concerning Defendants’ conspiracy

and strategy. Leand resides in New York, and AMA’s and Fintech’s principal place of business

is also here. Compl. ¶¶ 24, 26, 69. Thus, evidence related to their direction of the Ad-Hoc

Group’s conspiracy resides in New York, especially as the Ad-Hoc Group met repeatedly in

New York to strategize. Id. ¶ 314. In total, six Defendants can be found in the United States. In


                                                54
19-01294-scc      Doc 52      Filed 10/25/19 Entered 10/25/19 23:37:44             Main Document
                                          Pg 77 of 185



addition, many of the key parties located in México and abroad are agents of or controlled by the

Bondholders, and thus AMA, Leand, and the Ad-Hoc Group can obtain any needed evidence

from those parties by virtue of their control of those entities. See Compl. ¶¶ 221, 324, 427-428.



                          Morillo Decl. ¶ 5, and no other entity has stated that it has evidence or

witnesses that cannot be produced here.

       Crucially, the course of proceedings has shown that access to evidence is not a problem

in this forum. Plaintiffs have already conducted depositions here with key witnesses. And

Plaintiffs have already uncovered numerous relevant emails, texts, chats, invoices, drafts and

other records through Chapter 15 discovery.

       Even assuming Defendants are correct that evidence does not reside exclusively in this

forum (and the Chapter 15 discovery demonstrates they are not), that evidence is dispersed

throughout the world (and not in México). Two directors of the Singapore Defendants reside in

Singapore and one in Florida, id. ¶¶ 82-87, and thus, evidence related to their actions could be

found there.    This global dispersion of evidence and witnesses weighs against dismissal.

Genpharm Inc. v. Pliva-Lachema a.s., 361 F. Supp. 2d 49, 60 (E.D.N.Y. 2005) (noting that

litigation in a foreign forum would only shift inconvenience because “[w]itnesses and documents

are scattered throughout the world”); CF 135 Flat LLC, 2016 WL 5945933, at *6 (“In light of

the degree to which relevant evidence is spread throughout the globe, it is difficult to say that this

factor meaningfully differentiates the convenience of litigating in this forum versus the proposed

[foreign] forum.”).

        Furthermore, as explained in the declaration of Plaintiffs’ expert Alfonso López-Melih,

 access to evidence held by third parties is far superior in the U.S. courts than in the Mexican




                                                 55
19-01294-scc      Doc 52    Filed 10/25/19 Entered 10/25/19 23:37:44            Main Document
                                        Pg 78 of 185



 courts, which limit third party discovery. See Lopez-Melih Decl. ¶ 23. In particular, parties in

 a Mexican litigation may not investigate or develop the facts by obtaining information from

 Defendants or third parties during the case and, to prove their case, must rely almost

 exclusively on documents in their possession and on witnesses they know of when filing their

 pleadings. Id. ¶¶ 23-31. In addition, U.S. courts allow for much more efficient access to

 evidence abroad through discovery procedures than do Mexican courts. Id. ¶ 30.

       In any event, Defendants have not identified any relevant evidence in México that has not

or cannot be produced here. Thus, even if Defendants could demonstrate the vast majority of the

evidence were in México (and they cannot), this factor would still fail to establish the

inconvenience necessary to justify dismissal: “the difficulties of discovery are mitigated by

instant communication and rapid transport, especially for sophisticated corporate entities such as

the parties in this case, thus diminishing any supposed inconvenience.” Terra Firma Investments

(GP) 2 Ltd. v. Citigroup Inc., 725 F. Supp. 2d 438, 443 (S.D.N.Y. 2010); see also Metito

(Overseas) Ltd. v. Gen. Elec. Co., 2006 WL 3230301, at *6 (“For many years, courts in this

Circuit have recognized that modern technologies can make the location of witnesses and

evidence less important to the forum non conveniens analysis, particularly where the parties are

major corporations.”).

       Second, Defendants have also failed to carry their burden to demonstrate that concerns

for compelling witnesses justify dismissal. Defendants do not “identify with specificity the

witnesses who will be necessary to litigate this action but whose presence in a New York court

will be difficult to secure. Such identification is generally required for a forum non conveniens

dismissal.” Haywin Textile Prod., Inc. v. Int’l Fin. Inv., 137 F. Supp. 2d 431, 436 (S.D.N.Y.

2001). Although the Ad-Hoc Defendants provide (Br. 35) a general list of necessary witnesses




                                               56
19-01294-scc      Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44                Main Document
                                         Pg 79 of 185



by their employer (“Oro Negro and Deutsche Bank México, S.A. employees, the Mexican

prosecutors, representatives the Mexican tax agency, and former Pemex officials”), “there is no

evidence that they would be unwilling to testify, which renders the lack of a subpoena power a

less compelling consideration.” Shtofmakher v. David, No. 14 Civ. 6934 (AT), 2015 WL

5148832, at *3 (S.D.N.Y. Aug. 17, 2015); see also Alfandary v. Nikko Asset Mgmt. Co., 337 F.

Supp. 3d 343, 355 (S.D.N.Y. 2018), reconsideration denied, 2019 WL 2525414 (S.D.N.Y. June

19, 2019) (“Defendants have also cited concerns about compelling unwilling witnesses. But

neither specific witnesses nor their testimony have been identified, and even if such a list had

been provided, it has not shown why the testimony of these witnesses could not be obtained in

the form of depositions or letters rogatory.” (quotations and citations omitted)).

       Moreover, there are key witnesses that likely would not be available to testify in a

proceeding in México. In particular, Gil, Oro Negro’s former CFO Miguel Angel Villegas, and

two of Oro Negro’s board members, Jose Antonio Cañedo White and Carlos Williamson-Nasi,

cannot leave the United States due to the international arrest warrants the Ad-Hoc Group have

procured against them. Perez Compl. ¶¶ 131, 137. And these are the crucial witnesses to

evaluate the validity of Defendants’ defense as to why Pemex terminated the contracts and

whether Oro Negro did in fact commit any crimes justifying the Mexican criminal investigations.

Because these witnesses cannot go to México, and especially because this is a direct result of

Defendants’ improper and unlawful actions, access to witnesses is far superior in this forum.

       Third, as to costs, Defendants have failed to demonstrate that dismissal for forum non

conveniens would do anything but shift the inconvenience of transporting witnesses to Plaintiffs,

who would attempt to bring witnesses from the Ad-Hoc Group based in New York, including

AMA, to México. CF 135 Flat LLC, 2016 WL 5945933, at *7 (“In sum, regardless of where this




                                                 57
19-01294-scc      Doc 52      Filed 10/25/19 Entered 10/25/19 23:37:44             Main Document
                                          Pg 80 of 185



dispute is litigated, litigation will be inconvenient and there is little net convenience to be gained

by sending this dispute to [the foreign forum].”).

       Fourth, Defendants argue (Br. 36) that Mexican judgments would be enforceable through

Mexican procedures for enforcing judgments against non-resident litigants. But Defendants’

repeated failures to comply with the orders of Mexican courts bely this assertion. See Compl. ¶¶

211-271 (summarizing Defendants’ numerous actions in contravention of the concurso

proceeding).    Moreover, Plaintiffs are unaware of any assets that any (let alone all) of

Defendants have in México.        As a result, a Mexican judgment would be difficult, if not

impossible, to enforce against Defendants.

       Finally, the existence of claims that undisputedly belong in this forum further supports

the private interests in keeping the litigation here. As explained infra Section II.B., the Bareboat

Charters contain a forum selection clause stipulating venue in this Court. And while this clause

does not cover all of the claims here, there is no private interest that would support splitting up

the claims into different fora. That is especially true because Plaintiffs have filed a second

complaint against the Bondholders in this Court, after the filing of this suit, arising from

additional, baseless criminal accusations brought by the Ad-Hoc Group (acting through the

Singapore Rig Owners it controls). See Perez, et al. v. Asia Research Capital Management, et

al., Adv. No. 19-01360-scc, (In re Perforadora Oro Negro, S. de R.L. de C.V., et al., No. 18-

11094) (Bankr. S.D.N.Y.). This separate adversary proceeding in the Chapter 15 action arises

under contracts governed by New York law and stipulating to a forum in New York. See Perez

Compl. ¶ 55. Given the overlap in the parties and allegations, and that this new adversary

proceeding will certainly remain in this Court, it would be irrational to dismiss the instant case

on the basis of convenience. This Court should reject the Singapore Rig Owners’ invitation (Br.




                                                 58
19-01294-scc        Doc 52   Filed 10/25/19 Entered 10/25/19 23:37:44            Main Document
                                         Pg 81 of 185



27 n.17) to sever and dismiss for forum non conveniens the non-Contract claims for these same

reasons: forcing Plaintiffs to seek relief against the same Defendants for the same underlying

tortious conduct in multiple fora wastes judicial resources.

               2.      Public Factors

       The public factors this Court must weigh are: “(a) administrative difficulties relating to

court congestion; (b) imposing jury duty on citizens of the forum; (c) having local disputes

settled locally; and (d) avoiding problems associated with the application of foreign law.” Do

Rosaria Veiga, 486 F. Supp. 2d at 307. Defendants do not argue that the first two factors support

dismissal, and the other factors also weigh against dismissal.

       The interests in having local disputes settled locally favors retaining jurisdiction because

New York has a greater interest in resolving this dispute than does México. As explained infra

Section IV, Defendants’ conspiracy at the heart of this adversary proceeding

              Thus, “the United States has an interest in settling this dispute locally because

important underlying activities took place here.”         Am. Stock Exch., LLC v. Towergate

Consultants Ltd., No. 03 CIV. 856 (RMB), 2003 WL 21692814, at *5 (S.D.N.Y. July 21, 2003).

In addition, numerous Defendants reside in this forum, conduct significant business in this

forum, derive investment from this forum, or are traded on the exchanges in this forum. The

United States clearly has a strong interest in the conduct of its own residents and those who do

substantial business here. Ancile Inv. Co. v. Archer Daniels Midland Co., No. 08 CIV. 9492

(PAC), 2009 WL 3049604, at *8 (S.D.N.Y. Sept. 23, 2009) (“New York has a cognizable

interest in this matter because [defendant] is a U.S.-based multinational corporation that conducts

significant operations here.”).    Moreover, as explained infra Section II.B., the contracts

governing multiple counts contain forum selection clauses directing the parties to this forum, and

Defendants that are party to those contracts previously initiated an action in this forum at the


                                                59
19-01294-scc        Doc 52      Filed 10/25/19 Entered 10/25/19 23:37:44                  Main Document
                                            Pg 82 of 185



direction of the Ad-Hoc Group. Defendants’ choice of a United States forum in contracts at

issue here, and in litigating related claims to those at issue here, further establishes the interest of

the United States in this suit. Furthermore, DOJ is investigating Pemex (which issues most of its

debt in the U.S. financial markets) for numerous instances of bribery, which further bolsters the

existence of a United States interest in addressing issues related to Pemex.28

        Plaintiffs also allege violations of the laws of this forum. DiRienzo, 294 F.3d at 28

(noting “this country’s interest in having United States courts enforce United States . . . laws”).

Defendants err in arguing (Br. 37) that the possibility of applying foreign law supports dismissal.

As explained infra Sections IV and VI, New York law governs the tort claims, and Plaintiffs’

claims under Mexican law are pled in the alternative. And Plaintiffs’ expert has explained that

the Mexican courts would also apply U.S. law, based both on the location of the alleged

misconduct and the place of incorporation or principal place of business of numerous

Defendants. See Lopez Decl. ¶18. At a minimum, U.S. law will govern those disputes regarding

the Bareboat Charters, see Compl. ¶ 79, and Defendants’ violation of 11 U.S.C. § 1520(a)(1) and

this Court’s Comity Order. Thus, even assuming foreign law applied to some claims, “[t]he

interest in avoiding the application of foreign law therefore does not favor either forum.”

DiRienzo, 294 F.3d at 31 (addressing a case in which “an Ontario court would likely apply

American law to at least” some of the claims, and “an American court would likely apply

Canadian law to” other claims). In any event, even if retaining the case in this Court required

more application of foreign law, “[t]he Second Circuit . . . has cautioned against an excessive




28
       Robbie Whelan, Secret Recordings Describe Extensive Bribery at México’s Pemex, THE WALL STREET
JOURNAL (Oct. 11, 2019), https://www.wsj.com/articles/secret-recordings-describe-extensive-bribery-at-Méxicos-
pemex-11570804717.




                                                     60
19-01294-scc      Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44            Main Document
                                         Pg 83 of 185



reluctance to undertake the task of deciding foreign law, a chore federal courts must often

perform.” Metito (Overseas), 2006 WL 3230301, at *7 (quotations and citations omitted).

       Also contrary to Ad-Hoc Defendants’ suggestion (Br. 39-40), the existence of parallel

litigation does not weigh in favor of dismissal. “The existence of related litigation, while of

major significance in § 1404(a) cases, is not listed as a relevant factor in the forum non

conveniens analysis . . . .” Guidi v. Inter-Cont’l Hotels Corp., 224 F.3d 142, 148 (2d Cir. 2000);

see also Am. Stock Exch., LLC v. Towergate Consultants Ltd., 2003 WL 21692814, at *5 (“[T]he

pendency of the United Kingdom action does not factor into the forum non conveniens

decision.”). Rather, “[t]he mere existence of parallel foreign proceedings does not negate the

district courts’ virtually unflagging obligation to exercise the jurisdiction given them.” Royal &

Sun All. Ins. Co. of Can. v. Century Int’l Arms, Inc., 466 F.3d 88, 92 (2d Cir. 2006) (citation and

quotations omitted). “In particular, parallel proceedings in the same in personam claim should

ordinarily be allowed to proceed simultaneously.” Leopard Marine & Trading, Ltd. v. Easy St.

Ltd., 896 F.3d 174, 190 (2d Cir. 2018) (citing Royal & Sun, 466 F.3d at 92). Parallel litigation is

particularly irrelevant to this Court’s forum non conveniens analysis because the Ad-Hoc

Defendants, against whom Plaintiffs bring fifteen out of twenty-one claims, are not party to any

of the Mexican proceedings. See Compl. ¶¶ 252, 255, 324, 343, 349, 394; see Guidi, 224 F.3d at

148 (noting the only cases that supported the consideration of related litigation in a foreign

forum involve “parties to the American and foreign actions” that “were identical”).

       Finally, the Ad-Hoc Defendants’ reliance (Br. 40-41) on “sovereign prerogatives” is

similarly unavailing. The list of public factors for consideration when adjudicating forum non

conveniens does not include “sovereign prerogatives.” And the sole forum non conveniens case

the Ad-Hoc Defendants rely upon, Figueiredo Ferraz E Engenharia de Projeto Ltda. v. Republic




                                                61
19-01294-scc         Doc 52      Filed 10/25/19 Entered 10/25/19 23:37:44                     Main Document
                                             Pg 84 of 185



of Peru, 665 F.3d 384, (2d Cir. 2011), is readily distinguishable. That case involved a plaintiff’s

request for a court to disregard a Peruvian statute that limited payment of an arbitral award. Id.

at 392 (explaining “the public factor of permitting Peru to apply its cap statute to the

disbursement of governmental funds to satisfy the Award tips the FNC balance decisively

against the exercise of jurisdiction in the United States”). But the relief sought in this action

does not require this Court to undermine any Mexican statute; rather, Plaintiffs seek relief for

conduct perpetrated from the United States by a multitude of parties to destroy Oro Negro, as

well as for violations of this Court’s recognition order and the U.S. Bankruptcy Code. Compl. ¶¶

211-71.     Moreover, Figuieredo directed the “district court to dismiss case on forum non

conveniens grounds where the disputed agreement included a clause” subjecting the parties to the

“competence of the Judges and Courts of the City of Lima.” México Infrastructure Fin., LLC v.

Corp. of Hamilton, No. 17-CV-6424 (VSB), 2019 WL 1206690, at *7 (S.D.N.Y. Mar. 14, 2019).

Here, the relevant forum selection clause in the Bareboat Charters directs the parties to this

Court. The remaining, out-of-circuit cases that the Ad-Hoc Defendants cite (Br. 40-41) to justify

dismissal on this factor are irrelevant to forum non conveniens analysis. See Int’l Ass’n of

Machinists & Aerospace Workers, (IAM) v. Org. of Petroleum Exporting Countries (OPEC), 649

F.2d 1354 (9th Cir. 1981) (affirming dismissal under the act of state doctrine); Yahoo! Inc. v. La

Ligue Contre Le Racisme Et L’Antisemitisme, 433 F.3d 1199 (9th Cir. 2006) (reversing and

dismissing for lack of ripeness and lack of personal jurisdiction).29


29
         Similarly, Ad-Hoc Defendants assert (Br. 39-40 n.34) that “principles of ‘adjudicative comity’ further
support dismissal” for forum non conveniens. But Defendants fail to identify any support for the consideration of
such principles when assessing forum non conveniens. In any event, to the extent adjudicative comity were relevant
in this Court’s forum non conveniens analysis (it is not), Defendants’ argument fails because of differences in the
parties and underlying claims involved in the concurso proceedings. See supra at 25. It also fails because courts
considering abstention on adjudicative comity grounds must assess the “the adequacy of the alternate forum.”
Leopard Marine, 896 F.3d at 190; see also Accent Delight Int’l Ltd. v. Sotheby’s, 394 F. Supp. 3d 399, 412,
(S.D.N.Y. 2019). As explained supra, México does not constitute an adequate alternative forum here.




                                                        62
19-01294-scc        Doc 52      Filed 10/25/19 Entered 10/25/19 23:37:44                  Main Document
                                            Pg 85 of 185



II.     THIS COURT HAS PERSONAL JURISDICTION OVER ALL DEFENDANTS

        In assessing whether it has personal jurisdiction over the Moving Defendants,30 the court

need only determine whether (1) Plaintiffs have sufficiently alleged that Defendants have

“certain minimum contacts” with the forum—here, the United States;31 and (2) exercising such

jurisdiction is reasonable in the circumstances. In re Terrorist Attacks on Sept. 11, 2001, 714

F.3d 659, 673 (2d Cir. 2013). Plaintiffs can satisfy the minimum contacts requirement if (1) the

Moving Defendants’ affiliations with the United States were “so continuous and systematic as to

render [them] essentially at home” in the United States, thereby establishing general jurisdiction;

or (2) the claims in this suit arose from Defendants’ conduct in the United States, thereby

establishing specific jurisdiction. Daimler AG v. Bauman, 571 U.S. 117, 127, 139 (2014)

(quotations omitted).

        At the pleading stage, Plaintiffs need only make a prima facie showing that personal

jurisdiction exists, S. New Eng. Tel. Co. v. Glob. NAPS Inc., 624 F.3d 123, 138 (2d Cir. 2010),

and this “prima facie showing may be established solely by allegations.” Dorchester Fin. Sec.,

Inc. v. Banco BRJ, S.A., 722 F.3d 81, 85 (2d Cir. 2013). The court must assume that Plaintiffs’

factual allegations are accurate and construe “pleadings and affidavits in the light most favorable

to plaintiffs, resolving all doubts in their favor.” Id. at 85 (quotations and citation omitted). As

set forth below, Plaintiffs have made such a prima facie showing.


30
         The term “Moving Defendants” in this section refers to the 13 defendants who moved to dismiss the
complaint on August 26, 2019 for lack of personal jurisdiction under Rule 12(b)(2). The Moving Defendants are:
(1) five of the Ad-Hoc Defendants: Ercil, ARCM, CQS, GHL, and SFIL; (2) Seadrill; (3) the five Singapore Rig
Owners; and (4) the two Foreign Singapore Directors (together with the Singapore Rig Owners, “Foreign Singapore
Defendants”). See Foreign Defendants Br. 1; Singapore Defendants Br. 1, 6-7; Seamex Br. 3, 42.
31
        In examining its exercise of personal jurisdiction in a federal bankruptcy proceeding, the court should
assess a party’s contacts with the United States as a whole and not the forum state. See, e.g., In re Hellas
Telecommunications (Luxembourg) II SCA, 524 B.R. 488, 506-07 (Bankr. S.D.N.Y. 2015); Enron, 316 B.R. 434,
444-45 (Bankr. S.D.N.Y. 2004). This is undisputed by the Moving Defendants.




                                                      63
19-01294-scc          Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44                     Main Document
                                             Pg 86 of 185



        A.       This Court Has Specific Jurisdiction Over All Moving Defendants Based On
                 Their Own Contacts With The United States And Those Of Their Co-
                 Conspirators In Connection With The Claims

        Plaintiffs satisfy the minimum contacts requirement sufficient for specific jurisdiction.

There is specific jurisdiction where the plaintiff’s injuries “arise out of or relate to” the forum

contacts. See, e.g., Burger King Corp. v. Rudzewicz, 471 U.S. 462, 472 (1985); see also, e.g.,

Bristol-Myers Squibb Co. v. Superior Ct. of Cal., 137 S. Ct. 1773, 1780 (2017).32 Plaintiffs’

burden is not a heavy one: “[s]o long as it creates a ‘substantial connection’ with the forum,

even a single act can support jurisdiction.” Burger King Corp., 471 U.S. at 475 n.18. In short, a

claim “arise[s] out of or relate[s] to at least one of the defendant[s’] contacts with the forum

when there is a substantial connection between the two, such that the assertion of jurisdiction is

fair and reasonable.” Alfandary, 337 F. Supp. 3d at 359. The Moving Defendants attempt to

define the test narrowly as only “arising out of,” but they provide no argument for ignoring the

well-established law that contacts “relate[d] to” the claim, or a “substantial connection,” suffice.

        As set forth below, there is specific jurisdiction because Plaintiffs’ claims arose out of or

relate to Moving Defendants’ and their co-conspirators’ conduct in the United States.

                 1.       There Is Specific Jurisdiction Over All Of The Moving Defendants
                          Based On The Forum Acts Of Their Co-Conspirators

        This Court can exercise personal jurisdiction over each of the 13 Moving Defendants

under the principles of conspiracy, which all of the Moving Defendants simply ignore. In cases

involving a conspiracy among multiple defendants—as is alleged here—there is specific

jurisdiction over forum non-residents based on the acts of co-conspirators in the forum that


32
          Moving Defendants make no separate argument that they did not purposefully avail themselves of the
forum, and the forum contacts discussed below plainly satisfy the purposeful availment requirement. And for
jurisdiction based on conspiracy, the existence of the co-conspirators’ overt acts in furtherance of the conspiracy
establishes purposeful availment. See Charles Schwab Corp. v. Bank of Am. Corp., 883 F.3d 68, 87 (2d Cir. 2018).




                                                        64
19-01294-scc      Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44             Main Document
                                         Pg 87 of 185



furthered the conspiracy. See Charles Schwab Corp., 883 F.3d at 86-87; see also Contant v.

Bank of Am. Corp., 385 F. Supp. 3d 284, 291-92 (S.D.N.Y. 2019); Alfandary, 337 F. Supp. 3d at

363-64. As Judge Posner explained nearly 30 years ago, “[i]f through one of its members a

conspiracy inflicts an actionable wrong in one jurisdiction, the other members should not be

allowed to escape being sued there by hiding in another jurisdiction.” Stauffacher v. Bennett,

969 F.2d 455, 459 (7th Cir. 1992), superseded on other grounds by repeal of rule, Fed. R. Civ. P.

4(f) (repealed 1993).

       The court in Schwab “set[] forth the appropriate test for alleging a conspiracy theory of

jurisdiction: the plaintiff must allege that (1) a conspiracy existed; (2) the defendant participated

in the conspiracy; and (3) a co-conspirator’s overt acts in furtherance of the conspiracy had

sufficient contacts with a state to subject that co-conspirator to jurisdiction in that state.”

Schwab, 883 F.3d at 87. Here, Plaintiffs’ allegations meet each of these three elements.

       First, Plaintiffs have clearly alleged the existence of a conspiracy—



Moving Defendants do not and cannot contest this element.

       Second, Plaintiffs have alleged that Moving Defendants participated in the conspiracy,

including by, among other things, filing the New York Litigation, initiating criminal proceedings



                          To the extent Moving Defendants contest their participation in the

conspiracy when challenging the conspiracy claims under New York law, their arguments fail for

the reasons stated infra Section V.

       Third, members of the conspiracy undertook actions—in fact, very extensive and critical

actions—in the United States in furtherance of the conspiracy. Specifically, Plaintiffs have




                                                 65
19-01294-scc   Doc 52   Filed 10/25/19 Entered 10/25/19 23:37:44   Main Document
                                    Pg 88 of 185
19-01294-scc   Doc 52   Filed 10/25/19 Entered 10/25/19 23:37:44   Main Document
                                    Pg 89 of 185
19-01294-scc       Doc 52   Filed 10/25/19 Entered 10/25/19 23:37:44           Main Document
                                        Pg 90 of 185



               •      Across the latter half of 2018, AMA, Alterna, and Contrarian, the U.S.-

                      based Ad-Hoc Group Defendants, engaged in repeated discovery abuses in

                      connection with the Chapter 15 proceeding—including failing to comply

                      with this Court’s orders—as a means to delay and obfuscate Plaintiffs’

                      attempts to uncover Defendants’ misdeeds in trying to seize the Rigs (id.

                      ¶¶ 294, 301).

       Any of these acts—and certainly all of them together—constitute acts in the United

States in furtherance of the conspiracy to interfere with Oro Negro’s contracts and business

relationships and seize the Rigs.     In re Med-Atl. Petroleum Corp., 233 B.R. 644 (Bankr.

S.D.N.Y. 1999) (purposefully engaging in activities, including meetings, in New York in

furtherance of conspiracy was sufficient to establish personal jurisdiction); Sonterra v. Credit

Suisse, 277 F. Supp. 3d 521, 588-89 (personal jurisdiction could be maintained over foreign

defendant bank where it conspired with a co-conspirator trader located in the forum); Kreutter v.

McFadden Oil Corp., 71 N.Y.2d 460, 466-67 (1988) (jurisdiction over Texas drilling company

was properly sustained because drilling company used corporation licensed to do business in

New York to secure plaintiff’s investment, it paid New York licensed company for that service,

and it received the balance of plaintiff’s invested funds directly from the New York licensed

company when it issued a check payable to itself); Alfandary, 337 F. Supp. 3d at 364 (finding

conspiracy jurisdiction by imputing in forum overt acts of co-conspirators, including sending

fraudulent purchase orders relevant to the overall scheme to the United States, on foreign

defendants and noting in dicta that the co-conspirators exercised “control” over foreign

defendants).




                                               68
19-01294-scc           Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44                      Main Document
                                              Pg 91 of 185



                  2.       Moving Defendants Engaged In Multiple Acts In The United States
                           As Part Of A Conspiracy To Interfere with Oro Negro’s Contracts
                           and Take The Rigs

         Even putting aside jurisdiction based on conspiracy, Plaintiffs have pleaded extensive

factual allegations regarding Moving Defendants’ actions in or directed to the United States

relating to the scheme at the core of the complaint.36

                           (a)      In 2017, The Ad-Hoc Group Engaged U.S.-Based Advisors
                                    And, In 2018, Met With Co-Conspirators In New York To
                                    Strategize Its Plan To Seize The Rigs

         First, in 2017, the Ad-Hoc Group—which included, by no later than May 2017,

Defendants Alterna, ARCM, CQS, GHL, MFC and SFIL—engaged New York-based advisors to

advise them in connection with Oro Negro. Compl. ¶ 166, 173.




In December 2018, the Ad-Hoc Group retained New York-based law firm Paul Weiss as its legal

advisor. Id. ¶ 166.

         Second, as noted supra at II(A)(1),

                                               Plaintiffs’ allegations

       alone, are sufficient to find specific jurisdiction over ARCM, CQS, GHL and SFIL—each

a member of the Ad-Hoc Group. See, e.g., Persh v. Petersen, No. 15 CIV. 1414 LGS, 2015 WL


36
         The Complaint does not identify any specific U.S. contacts of Seadrill, Ercil, Bartlett, or Hancock, but such
contacts may be revealed in jurisdictional discovery, and regardless, there is jurisdiction over them based on
conspiracy.




                                                         69
19-01294-scc      Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44            Main Document
                                         Pg 92 of 185



5326173, at *4 (S.D.N.Y. Sept. 14, 2015) (denying motion to dismiss because meetings in New

York to plan equity acquisition deal were sufficient to establish personal jurisdiction over foreign

defendant in action alleging tortious interference and fraud).

                       (b)    In 2018, the Singapore Rig Owners Filed the New York
                              Litigation in an Attempt to Circumvent the Concurso Court
                              and Seize the Rigs

       In March 2018, the Singapore Rig Owners filed the New York Litigation and explicitly

sought an order from the court that, inter alia, compelled Perforadora to transfer the Rigs to

them. Compl. ¶ 285. Acting under the direction of the Ad-Hoc Group, the Singapore Rig

Owners did so in order to circumvent the Concurso Court’s October 5 and 11 Orders expressly

enjoining termination of the Bareboat Charters—which precluded the Ad-Hoc Group’s ability to

immediately assume control over the Rigs. Id. ¶¶ 285-86, 288. The New York Litigation was

thus yet another legal maneuver (out of many) that the Moving Defendants took as part of their

two-year long conspiracy to interfere with Oro Negro’s contracts and business relationships and

seize the Rigs, thereby substantially harming Plaintiffs.

       In arguing that the New York Litigation is insufficient to convey specific jurisdiction, the

Singapore Rig Owners assert (Br. 14-15) that a defendant’s consent to jurisdiction in one case

(i.e., the New York Litigation) does not necessarily confer jurisdiction in another case (i.e., the

instant action). However, that is not what Plaintiffs allege. Rather, the point here is that the New

York Litigation itself was part of the global scheme to seize the Rigs and, through it, the

Singapore Rig Owners purposely directed their conduct at the United States. The only cases the

Singapore Owners cite are readily distinguishable, as they concern a case filed in the United

States that was wholly unrelated to the case at issue. See Klinghoffer v. S.N.C. Achille Lauro,

937 F.2d 44, 50 n.5 (2d Cir. 1991) and CLdN Cobelfret Pte Ltd. v. ING Bank N.V., No. 16-CV-

4312 (KBF), 2016 WL 6670996, at *2 (S.D.N.Y. June 10, 2016). Here, the litigations are


                                                70
19-01294-scc         Doc 52       Filed 10/25/19 Entered 10/25/19 23:37:44                     Main Document
                                              Pg 93 of 185



unquestionably related, and in such a situation, that does suffice for jurisdiction: “[T]here is

nothing unfair, or violative of due process, about requiring a party that has affirmatively sought

the aid of our courts with regard to a particular transaction to submit to jurisdiction in the same

forum as a defendant with regard to the same transaction with the same party.” China Nat.

Chartering Corp. v. Pactrans Air & Sea, Inc., 882 F. Supp. 2d 579, 592 (S.D.N.Y. 2012)

(citations omitted).

        B.       The New York Forum Selection Clause in the Bareboat Charters Subjects
                 the Singapore Rig Owners to Personal Jurisdiction in the United States as to
                 All Claims

        This Court also has personal jurisdiction over the Singapore Rig Owners as to all of

Plaintiffs’ claims—not just the contractual claims—because they consented to jurisdiction on the

basis of the New York forum selection clause in the Bareboat Charters.37 See Sonterra Capital

Master Fund, Ltd. v. Barclays Bank PLC, 366 F. Supp. 3d 516, 560 (S.D.N.Y. 2018) (citation

omitted) (stating that parties can consent to personal jurisdiction through forum selection clauses

in contractual agreements); see also Magi XXI, Inc. v. Stato della Citta del Vaticano, 714 F.3d

714, 721 (2d Cir. 2013) (courts “give substantial deference to the forum selected by the parties,

particularly where this choice was made in an arm’s-length negotiation by experienced and

sophisticated businessmen”) (citations and quotations omitted).

        Here, each of the claims against the Singapore Rig Owners relates to the same underlying

scheme: a conspiracy to force Oro Negro into default as a means to foreclose on the Rigs,

including by (among other acts of misconduct) terminating the Oro Negro Contracts and


37
         The Bareboat Charters’ forum selection clause states: “The parties to this Charter hereby irrevocably
submit to the jurisdiction of the courts of the State of New York . . . solely in respect of the interpretation and
enforcement of the provisions of this Charter and of the documents referred to in this Charter, and in respect of the
transactions contemplated hereby . . . .” See, e.g., Amended and Restated Oro Negro Decus Pte. Ltd. Bareboat
Charter, § 19.1 (“Decus Bareboat Charter”).




                                                        71
19-01294-scc         Doc 52      Filed 10/25/19 Entered 10/25/19 23:37:44                    Main Document
                                             Pg 94 of 185



Bareboat Charters. In order to do so, the Singapore Rig Owners (1) terminated the Bareboat

Charters in bad faith based solely on Pemex’s own unilateral and unlawful termination of the

Oro Negro Contracts—which was directly caused by the actions of the Ad-Hoc Group (Compl.

¶¶ 431, 432, 442)38; and (2) did not comply with their terms, including by failing to pay the

Reimbursement Costs to Perforadora which, in turn, hindered Perforadora’s ability to pay past-

due Charter Hire to the Singapore Rig Owners. Id. ¶¶ 130-39, 431-32, 519. Moreover, the

Singapore Rig Owners terminated the Bareboat Charters despite the existence of the Concurso

Court’s October 5 and 11, 2017 Orders expressly enjoining their termination. Id. ¶¶ 286, 424.

        In addition, Plaintiffs have alleged that the Singapore Rig Owners engaged in other

misconduct as a means to justify breaching provisions of and unlawfully terminating the

Bareboat Charters (the basis for the contract claims) and force Oro Negro to dispossess the Rigs.

These other claims are as follows:

                     •    Counts 7 and 8 (tort claims) and Count 21 (unjust enrichment claim)

                          assert that the Singapore Rig Owners (1)




                                                                                  (Compl. ¶¶ 487, 493, 567,

                          572 and 577);

38
         As alleged by plaintiffs, defendants unlawfully terminated the Charters as follows: (i) the Ad-Hoc Group
gained full control of the Singapore Rig Owners by appointing two new directors; (ii) the Singapore Rig Owners did
not validly terminate the Bareboat Charters because Pemex unlawfully terminated the Oro Negro Contracts; and (iii)
the Singapore Rig Owners demanded that Perforadora dispossess the Rigs and turn them over to the Singapore Rig
Owners on the sole basis the Pemex had validly terminated the Oro Negro Contracts, which it had not. (Compl. ¶ ¶
236, 251, 420.)




                                                       72
19-01294-scc       Doc 52    Filed 10/25/19 Entered 10/25/19 23:37:44            Main Document
                                         Pg 95 of 185



               •      Counts 9, 10 and 11 (tort claims) assert that the Singapore Rig Owners

                      “have used, or conspired to use, the Mexican criminal investigations not to

                      prosecute crimes and pursue their rights as victims of criminal offenses

                      but rather to cause the destruction of Integradora and its subsidiaries,

                      including cutting their access to cash and depriving them of the Rigs

                      through the Seizure Order and the Rigs Take-Over Order” (id. ¶¶ 497,

                      504, 511); and

               •      Count 18 seeks a declaratory judgment proclaiming that all Defendants

                      violated 11 U.S.C. § 1520(a)(1)’s bankruptcy stay and the Comity Order

                      by interfering in Perforadora’s right to possess the Rigs based on

                      Defendants’ alleged conduct in filing lawsuits or seeking to repossess the

                      Rigs (id. ¶¶ 551-565).

       The Singapore Rig Owners concede that the two contract claims (Counts 12 and 17) are

subject to the New York forum selection clause. However, they argue (Br. 12-13) that the Court

cannot exercise personal jurisdiction over them as to the other claims because they neither seek

to “interpret’ nor “enforce” the Bareboat Charters and are not “in respect of the transactions

contemplated” by the Bareboat Charters. But when ascertaining whether the claims and parties

involved in a suit are subject to a forum selection clause, a court should “examine the substance

of the claims, shorn of their labels.” Phillips v. Audio Active Ltd., 494 F.3d 378, 388-89 (2d Cir.

2007) (citations omitted). Moreover, a “contractually-based forum selection clause also covers

tort claims” if the tort claims “ultimately depend on the existence of a contractual relationship”

between the signatories. Magi XXI, Inc., 714 F.3d at 724 (citations omitted). “Put another way,

contract-related tort claims involving the same operative facts as a parallel claim for breach of




                                                73
19-01294-scc      Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44            Main Document
                                         Pg 96 of 185



contract should be heard in the forum selected by the contracting parties.” BMW of N. Am. LLC

v. M/V Courage, 254 F. Supp. 3d 591, 597 (S.D.N.Y. 2017) (finding that a contract-oriented

forum selection clause extends to tort claims between the parties).

       Here, for the reasons set forth above, Plaintiffs’ non-contractual claims are inextricably

linked to and cannot be divorced from the claims relating to the Bareboat Charters. See Power

Up Lending Grp., Ltd. v. Nugene Int’l, Inc., 17-CV-6601 (SJF)(AKT), 2019 WL 989750, at *3

(E.D.N.Y. Mar. 1, 2019) (finding tortious interference claim subject to forum selection clause

because it involved the same operative facts); Taboola, Inc. v. Ezoic Inc., 17 Civ. 9909, 2019

WL 465003, at *8 (S.D.N.Y. Feb. 6, 2019) (finding tortious interference claim subject to forum

selection clause because whether the defendants breached the contract involved “determining the

same facts at issue in the tortious interference claim”); Laspata DeCaro Studio Corp. v. Rimowa

GmbH, 16 Civ. 934 (LGS), 2017 WL 1906863, at *5 (S.D.N.Y. May 8, 2017) (finding non-

contract cross-claims subject to a forum selection clause because they arise from the “same

allegations” as the contract claims, including the representations in the agreement and “failure to

abide by those representations”).

       Moreover, contrary to the Singapore Rig Owners’ contention, the “interpretation” and

“enforcement” of the Bareboat Charters are directly relevant to the non-contractual claims. In

particular, the Complaint in its entirety relates to Perforadora’s rights to possess the Rigs and

resolution of whether the Singapore Rig Owners unlawfully hindered those rights (for example,

by colluding with other defendants and Pemex to terminate the Oro Negro Contracts) directly

relates to the enforcement of the following provisions: (1) possession, which says Perforadora

has sole and exclusive possession of the Rigs during the Charter Period, and the Singapore Rig

Owners do not have any right to disturb that possession (Compl. ¶ 127); and (2) the Charter




                                                74
19-01294-scc      Doc 52        Filed 10/25/19 Entered 10/25/19 23:37:44         Main Document
                                            Pg 97 of 185



Period, which says the Charter is valid from “the commencement of the [Pemex Contract]” to the

“termination/expiry of the [Pemex Contract]” (id. ¶ 126), and which Plaintiffs contend remains

in effect and enforceable because Pemex to date has never validly terminated any of the Oro

Negro Contracts and has not allowed Perforadora to perform under the Charters.

       C.      This Court Has General Jurisdiction Over Seadrill Because It Has
               Continuous And Systematic Contacts With The United States

       Plaintiffs have alleged facts detailing contacts between Seadrill and the United States—

the totality of which demonstrate “continuous and systematic” contacts such that it (1) is

“essentially at home” in the United States; and (2) could have reasonably expected to be haled

into court in the United States. Seadrill relies (Br. 44-45) on the idea that there is no general

jurisdiction because it is not incorporated in and does not have its principal place of business in

the United States. However, this is not the exclusive test for assessing general jurisdiction. See,

e.g., Daimler, 571 U.S. at 139 n. 19 (recognizing that, in an exceptional case, a foreign

corporation could be found at “home” in a forum other than its formal place of incorporation or

principal place of business).

       For instance, in Alfandary, the court found that the defendant—a wholly foreign entity

incorporated and with its principal place of business in Japan—was subject to general

jurisdiction in New York based on the following pleaded facts: (1) the defendant had a U.S.

subsidiary with a principal place of business in New York; (2) the defendant was registered as an

investment advisor with the SEC; (3) as part of its SEC registration, the defendant filed a Form

ADV, Form 13F reports and Form PF reports; (4) the defendant provided investment advisory

services in the United States through its U.S. subsidiary; (5) two members of the defendant’s

board of directors also sat on the board of the U.S. subsidiary; (6) senior executives of the

defendant traveled to the United States, including to discuss an executive compensation plan



                                                75
19-01294-scc         Doc 52       Filed 10/25/19 Entered 10/25/19 23:37:44                    Main Document
                                              Pg 98 of 185



with employees of the subsidiary; and (7) the defendant sent grants of stock to employees in the

United States. 337 F. Supp. at 361. Citing Daimler, Alfandary determined that these facts, taken

together, established that the defendant “may fairly be considered ‘at home’” in the United

States. Id.; see also Wiwa v. Royal Dutch Petroleum Co., 226 F.3d 88, 93, 97 (2d Cir. 2000)

(finding general jurisdiction over two foreign corporations based on the alleged facts that they

(1) filed reports with the SEC and employed transfer agents and depositories for their NYSE-

registered shares; (2) maintained an internet website accessible in New York; (3) maintained a

New York-based investor relations office, which they used to “invest substantial sums of money

in cultivating their relationship with the New York capital markets”; (4) participated in at least

one lawsuit in New York without contesting jurisdiction; and (5) retained New York-based

counsel).

        As in Alfandary, Plaintiffs have similarly alleged a number of facts demonstrating the

multitude of contacts between Seadrill and the United States that, together, compel a conclusion

that it “may fairly be considered ‘at home’” in the United States: (1) Seadrill is traded on the

NYSE (under the symbol “SDRL”);39 (2) Seadrill has two U.S. subsidiaries incorporated and

with principal places of business in the United States—Seadrill Americas, Inc. and Sevan

Drilling Ltd.—through which it conducts significant business in the United States; (3) two

members of Seadrill’s board of directors reside in New York; (4) Leand, a former member of the

Seadrill board of directors from 2013 to August 2018, resides in New York; and (5) Seadrill


39
          Foreign Defendants’ argument (Br. 7) that trading on, managing funds traded on, or owning shares of
companies that are listed on the NYSE does not constitute sufficient contact with the United States to confer
personal jurisdiction is misplaced. They rely on Wiwa, which recognized that foreign corporations could list their
securities on a New York-based stock exchange without necessarily subjecting themselves to general jurisdiction in
New York. 226 F.3d at 97. Crucially, however, the court clarified that stock exchange-related contacts still “count”
toward the overall general jurisdictional analysis and ultimately found general jurisdiction over the foreign
defendants. Id.




                                                        76
19-01294-scc         Doc 52       Filed 10/25/19 Entered 10/25/19 23:37:44                    Main Document
                                              Pg 99 of 185



commenced the Seadrill Restructuring (i.e., a Chapter 11 Proceeding in the U.S. Bankruptcy

Court in the Southern District of Texas (Victoria Division)) in September 2017. Compl. ¶ 74.40

        Indeed, in filings accompanying the Chapter 11 petition—where Seadrill and 85 of its

subsidiaries are seeking relief under U.S. bankruptcy law—Seadrill unequivocally and

resoundingly declared its extensive presence in and contacts with the United States, as follows:41

                 Seadrill Limited and 85 of its direct and indirect subsidiaries are Debtors
                 in these chapter 11 cases. Each Debtor entity has assets, property, or
                 other interests located in the United States by among other things: (a)
                 owning equity interests in United States-incorporated entities; (b)
                 owning a bank account with a positive cash balance at a United States-
                 based financial institution; (c) maintaining certain residual interests,
                 including in retainer amounts paid to United States-based
                 professionals; (d) being party to contracts governed by law in the
                 United States, including the Restructuring Support Agreement and the
                 Investment Agreement (each of which is governed by New York law); and
                 (e) owning certain other assets, property, or interests located in the
                 United States. The Debtor entity Seadrill Americas, Inc., a 100 percent-
                 owned subsidiary of Seadrill Limited, leases office space, maintains a
                 significant employee base, and owns substantial assets in Houston,
                 Texas that collectively serve as the headquarters of Seadrill’s North
                 American operations.

(emphases added).




40
           The cases Defendants rely upon are inapposite, as they concern only one or two isolated contacts with the
forum in an attempt to establish general jurisdiction. See, e.g., Sonera Holding B.V. v. Cukorova Holding A.S., 750
F.3d 221, 223-24, 226 (2d Cir. 2014) (finding no general jurisdiction where the defendant’s only direct contact with
the forum was an unsuccessful negotiation, which occurred outside the United States, to sell a portion of a business
to two New York-based private equity funds and the sale of American Depository Shares in an affiliate to a London
underwriter who subsequently offered the shares on the New York Stock Exchange); Doe v. Nat’l Conference of Bar
Examiners, 1:16-CV-264 (PKC), 2017 WL 74715, at *6 (E.D.N.Y. Jan. 6, 2017) (finding no general jurisdiction
where the defendant’s contacts with the forum were that it develops and administers bar exams used in New York
and a former member of the board of directors lives in New York); Stormhale, Inc. v. Baidu.com, 675 F. Supp. 2d
373, 375-76 (S.D.N.Y. 2009) (finding no general jurisdiction where the defendant’s only contact with the forum was
its listing on NASDAQ).
41
         Morillo Decl. Ex. 8 (Declaration of Mark Morris, Chief Financial Officer of Seadrill Limited, In Support of
Chapter 11 Petitions and First Day Motions at 17, In re: Seadrill Limited, et al., No. 17-60079 (Bankr. S.D. Tex.
Sept. 12, 2017).)




                                                        77
19-01294-scc         Doc 52       Filed 10/25/19 Entered 10/25/19 23:37:44                    Main Document
                                             Pg 100 of 185



        It is untenable for Seadrill to seek relief from and represent to one U.S. court (whose

protection it seeks as part of its restructuring) that it has significant contacts in the United States,

while simultaneously maintain in another U.S. court (from whose jurisdiction it seeks to escape)

that it does not have any minimum contacts with the United States. See In re Bozel S.A., 434

B.R. 86, 99-100 (Bankr. S.D.N.Y. 2010) (finding it “unreasonable for [defendant] to believe that

he could regularly conduct business in the United States and seek the protection of its laws and

courts, and at the same time believe he could escape the jurisdictional reach of the United States’

courts”).42

        Furthermore, Seadrill errs in arguing (Br. 46-47) that its initiation of and participation in

the Chapter 11 proceeding—which remains ongoing—should be disregarded. Courts frequently

look to participation in other proceedings in deciding general jurisdiction. See, e.g., Wiwa, 226

F.3d at 97 (citing foreign corporations’ participation in at least one lawsuit in New York where

they did not contest jurisdiction as a factor weighing in favor of a finding of general jurisdiction);

In re Bozel S.A., 434 B.R. at 98, 100 (finding general jurisdiction over foreign defendant who

signed and filed a Chapter 11 petition in New York and appeared in multiple hearings in the

proceeding). Indeed, that Seadrill made specific affirmative representations about its extensive

contacts with the United States in the Chapter 11 proceeding betrays its intentions in asserting

that this Court should not examine the proceeding as part of a general jurisdiction analysis.

        D.       Exercising Personal Jurisdiction Over the Moving Defendants Would Not
                 Offend Traditional Notions of Fair Play and Substantial Justice

        The Moving Defendants make summary assertions that it would be unfair for them to be

subject to this Court’s jurisdiction, even assuming the existence of minimum contacts with the

42
          Seadrill attempts (Br. 24) to distinguish In re Bozel S.A. by stating the decision “pre-dated Daimler” and
that the defendant in that case had other contacts with the forum, but Daimler did not purport to make other
litigation in the forum irrelevant and there are likewise other contacts with the United States here.




                                                        78
19-01294-scc        Doc 52   Filed 10/25/19 Entered 10/25/19 23:37:44          Main Document
                                        Pg 101 of 185



United States. While a defendant’s minimum contacts with a forum “may be considered in light

of other factors to determine whether the assertion of personal jurisdiction would comport with

‘fair play and substantial justice,’” Burger King, 471 U.S. at 476 (citation omitted), such

dismissals “should be few and far between,” Metropolitan Life Ins. v. Robertson-Ceco Corp., 84

F.3d 560, 575 (2d Cir. 1996). This case does not belong in the category of rare dismissals, as

Moving Defendants have not met their burden in establishing a “compelling showing” that

exercising jurisdiction over them would be unreasonable. See Eades v. Kennedy, PC Law

Offices, 799 F.3d 161, 169 (2d. Cir. 2015) (citation omitted) (the burden is on the defendant to

“present a compelling case that the presence of some other considerations would render

jurisdiction unreasonable”); In re Propranolol Antitrust Litig., 249 F. Supp. 3d 712, 731

(S.D.N.Y. Apr. 6, 2017) (“The burden is on the defendant to demonstrate that the assertion of

jurisdiction in the forum will ‘make litigation so gravely difficult and inconvenient that [it]

unfairly is at a severe disadvantage in comparison to [its] opponent.’”) (quoting Burger King,

471 U.S. at 478).

       In particular, courts consider a number of factors to determine whether a defendant has

made such a “compelling case,” including: “(1) the burden that the exercise of jurisdiction will

impose on the defendant; (2) the interests of the forum state in adjudicating the case; (3) the

plaintiff’s interest in obtaining convenient and effective relief,” Chloe v. Queen Bee of Beverly

Hills, LLC, 616 F.3d 158, 164 (2d Cir. 2010); and (4) whether the exercise of jurisdiction over

the defendant would threaten “international rapport.” Daimler, 571 U.S. at 141. The Moving

Defendants fall far short of making a “compelling case” under any of these factors.

       First, exercising jurisdiction over the entity defendants—ARCM, CQS, GHL, SFIL and

Seadrill—will impose only a minimal burden. This is because these defendants themselves




                                               79
19-01294-scc        Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44             Main Document
                                          Pg 102 of 185



maintain domestic offices, subsidiaries, or agents in the United States, market and conduct their

business in the United States, and/or already have experience in litigating claims in the United

States. As to the entities that do not already have some type of presence in the United States

(including through their subsidiaries), as the Second Circuit has repeatedly recognized, “‘the

conveniences of modern communication and transportation ease’ any burden the defense of this

case in New York might impose.” See Licci, 732 F.3d at 174; In re Propranolol, 249 F. Supp.

3d at 731 (finding the exercise of jurisdiction reasonable where “defendants have global bases of

operations, maintain distribution networks throughout the United States, and have retained New

York counsel”). And Moving Defendants identify no concrete difficulty with litigation in this

forum.

         Second, as discussed supra Section II.C.2, the United States has a very strong interest in

adjudicating the case. And it is far from unreasonable to do so given Moving Defendants’ choice

to engage in a conspiracy directed from the United States.

         Third, also as discussed supra Section II.C.1, Plaintiffs’ interest in obtaining efficient and

effective relief is best served by adjudicating this case in the United States. (See also supra

Section II (discussing arguments against dismissal based on forum non conveniens).) And while

Moving Defendants contend that México would be a preferable forum, few of them actually

reside in México and, notably, they have not consented to jurisdiction there.

         Fourth, there is no threat to international rapport from having the litigation in the United

States. Moving Defendants do not contest this point, aside from referencing the argument on the

act of state doctrine, which is erroneous for the reasons stated infra at Section III.B.

         E.     In the Alternative, Plaintiffs Move for Jurisdictional Discovery

         For all the reasons set forth herein, Plaintiffs have made a prima facie showing for

personal jurisdiction. However, should this Court conclude that it is a close question as to some


                                                  80
19-01294-scc          Doc 52       Filed 10/25/19 Entered 10/25/19 23:37:44                      Main Document
                                              Pg 103 of 185



or all of the Moving Defendants, Plaintiffs request the right to move in the alternative for

jurisdictional discovery.

         “It is well settled under Second Circuit law that, even where a plaintiff has not made a

prima facie showing of personal jurisdiction, a court may still order discovery, in its discretion,

when it concludes that the plaintiff may be able to establish jurisdiction if given the opportunity

to develop a full factual record.” Leon v. Shmukler, 992 F. Supp. 2d 179, 194 (E.D.N.Y. 2014);

see also In re Magnetic Audiotape Antitrust Litig., 334 F.3d 204, 208 (2d Cir. 2003) (“At the

very least, then, plaintiffs are entitled to further development on this point prior to a conclusion

that they have failed to make a prima facie showing that [the defendant] participated directly in a

conspiracy, the effects of which were purposefully directed at the United States.”); see also Ikeda

v. J Sisters 57, Inc., No. 14–cv–3570 (ER), 2015 WL 4096255, at *9 (S.D.N.Y. July 6, 2015)

(recognizing same). In particular, Plaintiffs are entitled to jurisdictional discovery “when the

allegations are sufficient to articulate a colorable basis for personal jurisdiction, which could be

established with further development of the factual record.” Leon, 992 F. Supp. 2d at 195; see

also Ayyash v. Bank Al-Madina, No. 04 Civ. 9201(GEL), 2006 WL 587342, at *5 (S.D.N.Y.

Mar. 9, 2006) (quotations omitted) (“Such discovery has typically been authorized where the

plaintiff has made a threshold showing that there is some basis for the assertion of

jurisdiction.”).43

         Here, given the allegations discussed above linking all Defendants with a conspiracy

directed from New York, there is at least a threshold showing that warrants further discovery.


43
          See also, e.g., New York v. Mountain Tobacco Co., 55 F. Supp. 3d 301, 314 (E.D.N.Y. 2014) (granting
jurisdictional discovery where plaintiffs had made a “sufficient start” of establishing personal jurisdiction); Pension
Comm. of the Univ. of Montreal Pension Plan v. Banc of Am. Sec., LLC, No. 05 Civ. 9016 (SAS), 2006 WL 708470,
at *6 (S.D.N.Y. Mar. 20, 2006) (permitting jurisdictional discovery where defendants’ declarations created factual
dispute concerning the exercise of personal jurisdiction).




                                                         81
19-01294-scc        Doc 52   Filed 10/25/19 Entered 10/25/19 23:37:44           Main Document
                                        Pg 104 of 185



And while Plaintiffs have received some discovery in this proceeding, they did not previously

know which Defendants would object to jurisdiction and thus have not received targeted

discovery from Moving Defendants as to their contacts in the United States.

III.   THE ACT OF STATE DOCTRINE DOES NOT BAR PLAINTIFFS’ CLAIMS

       “The act of state doctrine is a judicially created exception to the rule that courts of the

United States will decide cases before them where their jurisdiction has been properly invoked.”

Banco Nacional de Cuba v. Chem. Bank New York Tr. Co., 594 F. Supp. 1553, 1557 (S.D.N.Y.

1984). This exception is narrowly limited, and “should not, the Supreme Court instructs, be

casually expanded ‘into new and uncharted fields.’” Kashef v. BNP Paribas S.A., 925 F.3d 53,

58 (2d Cir. 2019) (quoting W.S. Kirkpatrick & Co. v. Envtl. Tectonics Corp., Int’l, 493 U.S. 400,

409 (1990)).        “[T]he burden of proof rests on defendants to justify application of

the act of state doctrine.” Bigio v. Coca-Cola Co., 239 F.3d 440, 453 (2d Cir. 2000). Defendants

do not even come close to meeting that burden.

       A.      The Threshold Conditions For The Act Of State Doctrine Are Not Present

       The act of state “doctrine applies only when ‘the relief sought or the defense [raised]

would have required a court in the United States to declare invalid the official act of a foreign

sovereign performed within its own territory.’”       Id. at 59 (emphasis in original) (quoting

Kirkpatrick, 493 U.S. at 405). Defendants fail to meet these requirements.

               1.       The Mexican Courts Have Declared That There Is No Official Act Of
                        A Foreign Sovereign At Issue Here

       Defendants carry “the burden of establishing the act and its character as an act of state.”

Galu v. Swissair: Swiss Air Transp. Co., 873 F.2d 650, 654, n.4 (2d Cir. 1989) (emphasis in

original) (citing Restatement (Third) of the Foreign Relations Law of the United States § 443

comment i (1986)). To begin with, Defendants err in suggesting (Ad-Hoc Br. 44) that the act of



                                                 82
19-01294-scc      Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44             Main Document
                                        Pg 105 of 185



state doctrine applies simply because Pemex is a state-owned entity. “[T]he identity of the actor

alone . . . is not determinative of whether the act was official or public.” In re Air Cargo

Shipping Servs. Antitrust Litig., 2010 WL 10947344, at *32 (E.D.N.Y. Sept. 22, 2010).

       Defendants failed to meet their burden in establishing the elements necessary for the

application of the doctrine to the terminations. To apply the act of state doctrine, the act in

question “must be imbued with some level of formality, such as authorization by the foreign

sovereign through an official statute, decree, order, or resolution.” Kashef, 925 F.3d at 60-61

(quotations and citations omitted); see also McKesson Corp. v. Islamic Republic of Iran, 672

F.3d 1066, 1073-74 (D.C. Cir. 2012) (declining to apply act of state doctrine, even in suit against

foreign sovereign, because “Iran did not pass a law, issue an edict or decree, or engage in formal

governmental action explicitly taking McKesson’s property for the benefit of the Iranian

public”). Defendants argue (Ad-Hoc Br. 41) that the act of state doctrine bars “twelve of the

seventeen causes of action” that “turn on Pemex’s decisions and actions regarding the Pemex

Contracts.”   But Defendants “point to no statute, decree, order, resolution, or comparable

evidence of sovereign authorization for any of the actions in question.” Kashef, 925 F.3d at 60-

61.

       Furthermore, a Mexican court has declared that the terminations lack a sovereign

character, which is required for application of the act of state doctrine. As the D.C. Circuit

explained, the act of state doctrine applies only to “conduct that is by nature distinctly sovereign,

i.e., conduct that cannot be undertaken by a private individual or entity.” McKesson, 672 F.3d at

1073 (emphasis added); see also, e.g., In re Air Cargo Shipping Servs. Antitrust Litig., No. 06-

MDL-1775 JG VVP, 2010 WL 10947344, at *32 (E.D.N.Y. Sept. 22, 2010) (emphasis added)

(holding that even if certain “actions constitute governmental acts in the strict sense, inasmuch as




                                                 83
19-01294-scc      Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44            Main Document
                                        Pg 106 of 185



it is an instrumentality of the [foreign] government, they” do not constitute sovereign acts for the

act of state doctrine unless they are “of a governmental character”) (emphasis in original).

Indeed, acts of a foreign government in the commercial realm are routinely held outside the

purview of the act of state doctrine. See, e.g., de Csepel v. Republic of Hungary, 714 F.3d 591,

604 (D.C. Cir. 2013). While the Ad-Hoc Defendants note (Br. 47 n.39) that the Second Circuit

has not decided on the existence of a commercial activity exception, numerous lower courts in

this circuit have recognized that a sovereign state does not take an official action when it acts in

the commercial context because such actions are not “executed by the sovereign acting as a

government.” Fed. Treasury Enter. Sojuzpolodoimport, OAO v. Spirits Int’l B.V., 809 F.3d 737,

744 (2d Cir. 2016); see also In re Air Cargo Shipping Servs. Antitrust Litig., 2010 WL

10947344, at *32 (E.D.N.Y. Sept. 22, 2010) (finding “no case applying the act of state doctrine

to purely commercial conduct on the part of a foreign sovereign,” and holding that “to speak of a

‘commercial exception’ is somewhat misleading, because it appears doubtful that purely

commercial behavior was ever covered by it in the first place”); In re Nakash, 190 B.R. 763, 769

(Bankr. S.D.N.Y. 1996) (“Because the Receiver . . . acted in a commercial capacity, as he did on

other occasions in relation to this Debtor, he should not be afforded the blind eye which the Act

of State Doctrine affords.”); Lyondell-Citgo Ref., LP v. Petroleos de Venezuela, S.A., No. 02

CIV. 0795 (CBM), 2003 WL 21878798, at *9 (S.D.N.Y. Aug. 8, 2003) (declining to apply act of

state doctrine to transactions defined “as commercial, not governmental”).

       Here, the act of Pemex relied upon by Defendants (Ad-Hoc Br. 44-47) is the termination

of contracts, and the same Mexican court that ruled on the invalidity of the Pemex terminations

held that the contracts were “private” and “of a commercial nature.” See Ch. 15 ECF 181, Ex. B.

The Mexican court’s ruling on this issue is dispositive for purposes of the act of state doctrine.




                                                84
19-01294-scc         Doc 52   Filed 10/25/19 Entered 10/25/19 23:37:44             Main Document
                                         Pg 107 of 185



The entire purpose of the act of state doctrine is to protect the foreign state from improper

interference with its purely sovereign acts.      But where the foreign state—through its own

courts—disclaims the idea that it is acting in a sovereign (rather than a commercial) capacity,

there is no plausible basis for application of the doctrine. That is especially true here because

México and Pemex have not come forward to support any act of state defense. Thus, Defendants

cannot defend as an act of state what México itself has stated is not an act of state in the first

place.    Indeed, Plaintiffs recognize the effect of the relevant official act of the Mexican

government: the Mexican court’s ruling that Pemex breached the Oro Negro Contracts by

unlawfully purporting to terminate them. Compl. ¶ 220.

                2.      The Relief Sought Does Not Require This Court To Declare Invalid
                        Any Foreign Sovereign’s Official Act

         Even if there were a qualifying foreign sovereign’s official act here, Plaintiffs’ claims do

not require this Court to invalidate any such official act, as required for application of the

doctrine. Kirkpatrick, 493 U.S. at 405 (“In every case in which we have held the act of state

doctrine applicable, the relief sought or the defense interposed would have required a court in the

United States to declare invalid the official act of a foreign sovereign . . . .”). Because Plaintiffs

do not seek that this Court issue any declaration or relief in regards to the validity or

enforceability of any decision by Pemex or any other Mexican agency, the act of state doctrine is

inapplicable. An order requiring Defendants to compensate Plaintiffs for their injury, the sole

relief Plaintiffs’ request in this case, does not require this Court to invalidate either the

termination of the Pemex Contracts or the Mexican criminal investigations. This case thus is on

all fours with Kirkpatrick, where the Supreme Court denied the availability of the act of state

defense to a suit brought by an unsuccessful bidder in a contract with the Nigerian government

against the successful bidder, alleging the successful bid was obtained through bribery. Id. at



                                                 85
19-01294-scc       Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44            Main Document
                                         Pg 108 of 185



402. And the government contracts concerned construction at to a Nigerian Air Force Base, id.

at 401, an area well within the sovereign authority of a foreign state. But the Supreme Court

concluded: “Regardless of what the court’s factual findings may suggest as to the legality of the

Nigerian contract, its legality is simply not a question to be decided in the present suit, and there

is thus no occasion to apply the rule of decision that the act of state doctrine requires.” Id. at

406. Likewise, here, regardless of what Plaintiffs’ claims may indirectly suggest as to Pemex’s

conduct, the validity of its conduct is not the subject of this suit. See also, e.g., Alpha Lyracom

Space Commc’ns, Inc. v. Commc’ns Satellite Corp., 1993 WL 97313, at *7 (S.D.N.Y. Mar. 30,

1993) (“The only issue before this Court is whether [defendant] has violated [U.S.] law. That

[defendant] may have conspired with foreign companies owned by foreign governments is

irrelevant to the Act of State Doctrine.”).

       More generally, the act of state doctrine is unavailable where plaintiffs only seek

monetary damages from non-state actors. If Plaintiffs prevail on their claims here, the result is

that they will receive money from Defendants. There is no sense in which receiving money from

Defendants invalidates acts of Pemex, and thus the act of state doctrine is inapplicable. See

Northrop Corp. v. McDonnell Douglas Corp., 705 F.2d 1030, 1048 (9th Cir. 1983) (rejecting act

of state defense where plaintiff “did not seek to name any foreign nation or officer as a defendant

and did not directly challenge the foreign nation’s conduct in a way that would threaten relations

with the country”); WMW Mach., Inc. v. Werkzeugmaschinenhandel GmbH IM Aufbau, 960 F.

Supp. 734, 745 n.8 (S.D.N.Y. 1997) (“The remedies available to plaintiffs, if ultimately

successful in this action, would be the award of damages and would not require the [defendants]




                                                 86
19-01294-scc          Doc 52       Filed 10/25/19 Entered 10/25/19 23:37:44                       Main Document
                                              Pg 109 of 185



to violate any laws abolishing the GDR’s monopoly over the exports or mandating the

privatization of the machine tool industry.”).44

          Furthermore, the validity of Pemex’s conduct need not be even indirectly decided here.

No claim has an element that requires underlying unlawful conduct from Pemex. See infra at V

(discussing elements of the claims). Rather, even assuming everything that Pemex did was

legally valid, Plaintiffs still have claims against Defendants for their own unlawful acts. See

Sharon v. Time, Inc., 599 F. Supp. 538, 547 (S.D.N.Y. 1984) (rejecting application of act of state

doctrine where “if the alleged acts of state were assumed to be valid, no remedy for the plaintiff,

or defense by the defendant, would be precluded”); see also Northrop, 705 F.2d at 1049, n.26

(“[M]ere governmental approval or foreign governmental involvement which the defendants had

arranged does not provide a defense.”) (citation and quotations omitted). And to the extent that

Pemex’s conduct may be relevant to some claims, it would be premature on the pleadings to

decide that the nature of that relevance is so great that the act of state doctrine applies (even

putting aside all of the other reasons why the act of state doctrine is inapplicable here). See infra

at III.



44
          In contrast, all of the cases Defendants cite (Ad-Hoc Br. 45-52) concern claims against foreign government
entities that threatened to find their conduct invalid. See World Wide Minerals, Ltd. v. Republic of Kazakhstan, 296
F.3d 1154, 1165 (D.C. Cir. 2002) (plaintiff’s claim “require[d] [the D.C. Circuit] to question the ‘legality’ of
[defendant] Kazakhstan’s denial of the export license”); Sea Breeze Salt, Inc. v. Mitsubishi Corp., 899 F.3d 1064,
1072 (9th Cir. 2018) (all of plaintiff’s claims against the defendant state-owned entity, ESSA, “seek[] the same
relief—invalidation of ESSA’s exclusivity arrangement with Mitsubishi”); Spectrum Stores, Inc. v. Citgo Petroleum
Corp., 632 F.3d 938, 953-955 (5th Cir. 2011) (“The government’s brief underscores that the damaging
consequences of this litigation are likely to include immediate disruption of oil imports into the United States … and
the frustration of other national priorities,” and “the granting of any relief would in effect amount to an order from a
domestic court instructing a foreign sovereign to alter its chosen means of allocating and profiting from its own
valuable natural resources.”); Int’l Ass’n of Machinists & Aerospace Workers, (IAM) v. Org. of Petroleum Exporting
Countries (OPEC), 649 F.2d 1354, 1355 (9th Cir. 1981) (plaintiff directly sued a cartel of sovereign nations,
charging them with violating U.S. antitrust laws, and sought to enjoin and recover damages from the sovereign
nations); Du Daobin v. Cisco Sys., Inc., 2 F. Supp. 3d 717, 726 (D. Md. 2014) (“Adjudication of these claims would
require judging official actions of the Chinese government and its officials in enforcing Chinese law against Chinese
citizens in China.”).




                                                          87
19-01294-scc       Doc 52      Filed 10/25/19 Entered 10/25/19 23:37:44              Main Document
                                          Pg 110 of 185



        The Ad-Hoc Defendants argue (Br. 50-52) that Plaintiffs’ abuse of process claims

necessarily implicate the act of state doctrine because they concern México’s “police power.”

However, claims alleging abuse of foreign process do not require “a ruling regarding the validity

. . . of [that foreign] process” but “merely require[] the Court to consider whether the process was

unlawfully used by non-governmental parties . . . in order to extort money and other concessions

from Defendant” Dubai World Corp. v. Jaubert, 2010 WL 11504310, at *3 (S.D. Fla. July 9,

2010); see also Garcia v. Lion México Consol. L.P., 2018 WL 6427350, at *5 (W.D. Tex. Sept.

14, 2018) (rejecting act of state defense to suit alleging bribery of Mexican officials led to

improper arrest of plaintiffs because “the Court need not find the purported acts to be invalid to

find that a bribe occurred . . . . only the motive for, not the validity of, foreign sovereign acts is at

issue”). The lone case Defendants cite, Nocula v. UGS Corp., 520 F.3d 719 (7th Cir. 2008), “is

clearly distinguishable” on this basis, Dubai World, 2010 WL 11504310, at *3, because Nocula

concerned a challenge to the seizure of property by the Polish police pursuant to a Polish

criminal prosecution, see 520 F.3d at 728. If Defendants’ interpretation of the act of state

doctrine were correct, plaintiffs could never bring an abuse of process claim concerning actions

by a foreign state. But the Second Circuit has recognized abuse of process claims involving

foreign legal proceedings. See Weiss v. Hunna, 312 F.2d 711 (2d Cir. 1963) (reversing dismissal

of abuse of process claim concerning Austrian legal proceeding).

        Indeed, there is no element of abuse of process that requires invalidity of the foreign state

conduct in that process. Rather, under New York law, an abuse of process claim presumes the

legitimacy of the underlying process. See Cook v. Sheldon, 41 F.3d 73, 80 (2d Cir. 1994) (“In

New York, a malicious abuse of process claim lies against a defendant who [] employs regularly

issued legal process to compel performance or forbearance of some act.”). It is only the use of




                                                   88
19-01294-scc      Doc 52      Filed 10/25/19 Entered 10/25/19 23:37:44             Main Document
                                         Pg 111 of 185



that process by Defendants “in order to obtain a collateral objective that is outside the legitimate

ends of the process” that gives rise to Plaintiffs’ tort claim. Id. Accordingly, the resolution of

Plaintiffs’ abuse of process claim does not require the invalidation of any Mexican investigation

(assuming arguendo such investigations constitute official acts), but merely the determination

from this Court that Defendants improperly initiated those investigations for illicit ends. And

because this Court need not invalidate those investigations to grant the monetary relief sought,

the act of state defense does not apply. See Kirkpatrick, 493 U.S. at 407 (act of state doctrine not

applicable where plaintiff “was not trying to undo or disregard the governmental action, but only

to obtain damages from private parties who had procured it”) (emphasis added); see United

States v. Portrait of Wally, 663 F. Supp. 2d 232, 248 (S.D.N.Y. 2009) (rejecting act of state

defense because “the Court is not being asked to invalidate any action by an Austrian

governmental authority, but only to determine the effect of such action, if any . . .”) (emphasis in

original); see also In re Yukos Oil Co. Sec. Litig., 2006 WL 3026024, at *7 (S.D.N.Y. Oct. 25,

2006) (“The act of state doctrine does not preclude a court from deciding a case that implicates

the motives or justifications of a foreign sovereign’s official act but does not seek to invalidate or

circumvent that act.”). Plaintiffs’ action is readily distinguishable from Nnaka v. Fed. Republic

of Nigeria, 756 F. App’x 16, 18 (D.C. Cir. 2019), in which the plaintiff directly sued the

Nigerian government to recover for a purportedly unlawful criminal investigation.

       Finally, even if this Court were required to invalidate an official act of México, whether

the improper investigation into Plaintiffs or the termination of the Oro Negro Contracts, the act

of state doctrine would still not justify dismissal because “acts that flagrantly violate a foreign

state’s own laws cannot, at the same time, constitute official acts entitled to deference.” Kashef,

925 F.3d at 61. Here, a Mexican trial court has ruled that Pemex breached the Oro Negro




                                                 89
19-01294-scc       Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44              Main Document
                                         Pg 112 of 185



Contracts by unlawfully terminating them, Compl. ¶ 220, and Plaintiffs allege there existed no

factual or legal basis for the Mexican investigations and that they are based on evidence

fabricated by or knowingly used by Defendants, id. ¶¶ 306-310. Accordingly, the act of state

doctrine is unavailable.     See In re Air Cargo Shipping Servs. Antitrust Litig., 2010 WL

10947344, at *33 (E.D.N.Y. Sept. 22, 2010) (Conduct “in violation of the law of that [foreign]

state [] is not the kind of conduct that should receive the protection of the act of state doctrine.”).

In Konowaloff v. Metro. Museum of Art, 702 F.3d 140, 148 (2d Cir. 2012), which the Ad-Hoc

Defendants cite (Br. 47 n.40) for the proposition that the act of state doctrine applies even where

“the complaint alleges a violation of the foreign state’s own domestic laws,” the foreign state had

“not repudiated the 1918 appropriation that is the government act that deprived [plaintiff] of any

right to the [p]ainting.” 702 F.3d at 148. But here, a trial court has ruled that Pemex breached

the Contracts by unlawfully terminating them. Compl. ¶ 220.

       B.      There Are No Comity Or Foreign Policy Concerns That Allow For
               Application Of The Act Of State Doctrine Here

       Even if Defendants demonstrate the threshold conditions for application of the act of state

doctrine are present here (they cannot), they still cannot establish that “the policies underlying

the act of state doctrine . . . justify its application.” Kirkpatrick, 493 U.S. at 409 (“[T]he policies

underlying the act of state doctrine should be considered in deciding whether, despite the

doctrine’s technical availability, it should nonetheless not be invoked.”). See also United States

v. One Etched Ivory Tusk of African Elephant, 871 F. Supp. 2d 128, 142 (E.D.N.Y. 2012) (“[A]

court must balance the interests involved and ask itself whether the policies that underlie the

doctrine justify the application in the particular case. This requires a case-by-case analysis of

whether separation-of-power concerns are implicated.”).




                                                  90
19-01294-scc       Doc 52    Filed 10/25/19 Entered 10/25/19 23:37:44            Main Document
                                        Pg 113 of 185



       The Supreme Court has articulated two policies underpinning the doctrine: (1) “the

highest considerations of international comity and expediency,” Oetjen v. Central Leather Co.,

246 U.S. 297, 303-04 (1918); and (2) “domestic separation of powers, reflecting ‘the strong

stance of the Judicial Branch that its engagement in the task of passing on the validity of foreign

acts of state may hinder’ the conduct of foreign affairs,” Kirkpatrick, 493 U.S. at 404 (citing

Banco Nacional de Cuba v. Sabbatino, 376 U.S. 398, 423 (1964)).                And it is only in

“extraordinary circumstances” that either of these policy considerations will justify application

of the act of state doctrine. European Cmty. v. RJR Nabisco, Inc., 150 F. Supp. 2d 456, 473 n.13

(E.D.N.Y. 2001) (“Absent such extraordinary circumstances, [] courts in the United States have

. . . the obligation [] to decide cases and controversies properly presented to them, even when the

outcome of the case turns upon the effect of a foreign sovereign’s acts taken within its own

territory.”). Similarly, the Second Circuit has held that the act of state doctrine applies only if

“resolution of th[e] case” will “likely impact on international relations or embarrass or hinder the

executive in the realm of foreign relations.” Bigio v. Coca-Cola Co., 239 F.3d 440, 452-53 (2d

Cir. 2000) (citation omitted) (reversing district court’s application of act of state doctrine where

court could not “see how any decision that the district court might make would offend the

government of Egypt or interfere with the relationship between Egypt and the United States”).

Neither of the policy considerations outlined by the Supreme Court justifies invocation of the act

of state doctrine here.

       Defendants’ only argument as to comity and foreign relations are two conclusory

sentences (Ad-Hoc Br. 52-53) that “México continues to fight Oro Negro’s claims that it

breached the Pemex Contracts and has continued to prosecute the criminal actions.” However,

Defendants fail to explain how the claims in this case create any international conflict with those




                                                91
19-01294-scc       Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44             Main Document
                                         Pg 114 of 185



foreign actions. In particular, Plaintiffs do not request relief that binds the state of México or any

entities controlled by México; instead, Plaintiffs merely seek monetary damages from

Defendants for the losses they have suffered as a result of the conduct of non-State entities, many

of them operating in New York or elsewhere in the United States.                See Rasoulzadeh v.

Associated Press, 574 F. Supp. 854, 860 (S.D.N.Y. 1983), aff’d, 767 F.2d 908 (2d Cir. 1985)

(“The executive branch has no interest in a tort claim by Iranian citizens against an American

corporation arising out of the latter’s breach of a lease agreement, the use of plaintiffs’ Iranian

property by Canadians, and the subsequent confiscation of the property by Iran.”). As such,

Defendants do not even attempt to explain how “this case will upset or adversely impact

relations between [México] and the United States, and relatedly, there is little risk of trodding

improperly on the turf of the Executive of Congress in the management of foreign relations.” In

re Air Cargo Shipping Servs. Antitrust Litig., 2010 WL 10947344, at *33 (E.D.N.Y. Sept. 22,

2010) (“Without some risk” thereof, “the concerns animating the act of state doctrine are . . . not

implicated here.”); see also Attorney Gen. of Canada v. R.J. Reynolds Tobacco Holdings, Inc.,

103 F. Supp. 2d 134, 144-45 (N.D.N.Y. 2000), aff’d, 268 F.3d 103 (2d Cir. 2001) (“[T]he Court

discerns no policy reasons why a factual determination of these issues would hinder the conduct

of foreign affairs—the primary reason behind the act of state doctrine.”).




          See Villoldo v. Castro Ruz, 821 F.3d 196, 203 (1st Cir. 2016) (explaining courts “are

required to accord some deference to the executive’s position concerning the application of the

act of state doctrine”).




                                                 92
19-01294-scc       Doc 52      Filed 10/25/19 Entered 10/25/19 23:37:44              Main Document
                                          Pg 115 of 185



        C.      The Act Of State Doctrine Should Not Be Applied At The Pleading Stage

        Finally, even assuming arguendo the defense had any merit, it would be premature to

apply the act of state doctrine here. “As a substantive rather than a jurisdictional defense,

the Act of State doctrine is more appropriately raised in a motion for summary judgment than in

a motion to dismiss.” Daventree Ltd. v. Republic of Azerbaijan, 349 F. Supp. 2d 736, 755

(S.D.N.Y. 2004), opinion clarified on denial of reconsideration, 2005 WL 2585227 (S.D.N.Y.

Oct. 13, 2005). And this Court may only grant a motion to dismiss based on the act of state

doctrine if it is “satisfied that there is no set of factors favorable to the plaintiffs and suggested by

the complaint which could fail to establish the occurrence of an act of state.” MMA Consultants

1, Inc. v. Republic of Peru, 245 F. Supp. 3d 486, 520 (S.D.N.Y.), aff’d, 719 F. App’x 47 (2d Cir.

2017) (citing Daventree, 349 F. Supp. 2d at 755); see also Ramirez de Arellano v. Weinberger,

745 P.2d 1500, 1534 (D.C. Cir. 1984) (same). Here, Defendants cannot show no conceivable set

of facts avoid the act of state doctrine because the extent of the Mexican government’s

involvement, if any, in the action is disputed. Compare, e.g., Compl. ¶¶ 340-41, 391 (alleging

bribes to government) with Ad-Hoc Br. 21 (characterizing those allegations as “scurrilous” and

“not supported”). Accordingly, this Court should not allow Defendants “to use the act of state

doctrine as a shield at such an early stage of the proceedings.” Lyondell-Citgo Ref., LP v.

Petroleos de Venezuela, S.A., 2003 WL 21878798, at *9 (S.D.N.Y. Aug. 8, 2003); see also

Associated Container Transp. (Australia) Ltd. v. United States, 705 F.2d 53, 62 (2d Cir. 1983)

(rejecting act of state defense where “it cannot be determined at this stage of the proceedings

whether any court will ever be called upon to investigate the validity of actions taken by a

foreign government”).




                                                   93
19-01294-scc      Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44            Main Document
                                        Pg 116 of 185



IV.    NEW YORK LAW GOVERNS PLAINTIFFS’ TORT CLAIMS

       “[B]ankruptcy courts confronting state law claims that do not implicate federal policy

concerns should apply the choice of law rules of the forum state.” In re Gaston & Snow, 243

F.3d 599, 601-02 (2d Cir. 2001). New York’s choice of law rules thus control here. See

GlobalNet Financial.Com, Inc. v. Frank Crystal & Co., 449 F.3d 377, 382 (2d Cir. 2006). Under

New York law, “the first step in any case presenting a potential choice of law issue is to

determine whether there is an actual conflict between the laws of the jurisdictions involved.” In

re Allstate Ins. Co., (Stolarz), 81 N.Y.2d 219, 223 (1993). Here, New York and Mexican law

conflict in their treatment of Plaintiffs’ tort claims. See Curley v. AMR Corp., 153 F.3d 5, 15 (2d

Cir. 1998) (concluding New York and Mexican tort law “are in actual conflict due to the

differences between common law and civil law requirements for establishing tort liability”);

Zamora Decl. ¶¶ 6-33.

       Given the existence of an actual conflict, for Plaintiffs’ tort claims, “[t]he law of the

jurisdiction having the greatest interest in the litigation will be applied.” Licci ex rel. Licci v.

Lebanese Canadian Bank, SAL, 739 F.3d 45, 48 (2d Cir. 2013).               Moreover, contrary to

Defendants’ approach (Ad-Hoc Br. 53-60), where all claims are analyzed together, this Court

must assess each claim to determine whether New York or Mexican law governs. Utts v.

Bristol-Myers Squibb Co., 226 F. Supp. 3d 166, 176 (S.D.N.Y. 2016) (“Choice of law analysis is

conducted on a claim-by-claim basis.”).       As the subsections below detail for each claim,

Defendants’ tortious conduct primarily occurred in New York and New York therefore has the




                                                94
19-01294-scc   Doc 52   Filed 10/25/19 Entered 10/25/19 23:37:44   Main Document
                                   Pg 117 of 185
19-01294-scc      Doc 52      Filed 10/25/19 Entered 10/25/19 23:37:44            Main Document
                                         Pg 118 of 185



       Given that the conflict of law concerns conduct-regulating laws, the location of the

tortious conduct is controlling. As the Second Circuit has explained, where “conduct-regulating

laws are at issue, the law of the jurisdiction where the tort occurred will generally apply because

that jurisdiction has the greatest interest in regulating behavior within its borders.” GlobalNet,

449 F.3d at 384 (citing Cooney v. Osgood Mach., Inc., 81 N.Y.2d 66, 72 (1993)). The location

where the tort occurred is generally controlling even where the injury occurs elsewhere. “In the

ordinary tort case, both the wrong and the injury take place in the same jurisdiction. . . . But

where they do not, it is the place of the allegedly wrongful conduct that generally has superior

interests.” Licci ex rel. Licci v. Lebanese Canadian Bank, SAL, 672 F.3d 155, 158 (2d Cir. 2012)

(quotation, citation and alteration omitted).

       Defendants’ argument on choice of law (Ad-Hoc Br. 55; Seadrill Br. 19) rests largely on

the erroneous legal premise that the place of injury controlling. However, Licci expressly

rejected the “view . . . that the law of the place of injury ordinarily or always governs where

conduct-regulating rules are involved as inconsistent with the law as clearly established by New

York’s highest court in Schultz [v. Boy Scouts of Am., Inc., 65 N.Y.2d 189, 197 (1985)].” Id.

And it held that “[a]lthough the plaintiffs’ injuries occurred in Israel, and Israel is also the

plaintiffs’ domicile, those factors do not govern where, as here, the conflict pertains to a conduct-

regulating rule.” Id. Numerous district court cases are in accord. See Holburn, 304 F. Supp. 3d

at 399 (holding that this Court “must follow the decision in Licci and presume that the state with

the greatest interest in this case is the state in which the alleged wrongful conduct occurred”);

Wultz v. Bank of China Ltd., 865 F. Supp. 2d 425, 429 (S.D.N.Y. 2012) (“[I]n this context, the

location of the injury does not control; instead, it is the location of the defendant’s conduct that

controls.”); In re Hellas Telecommunications (Luxembourg) II SCA, 535 B.R. 543, 574 (Bankr.




                                                 96
19-01294-scc      Doc 52      Filed 10/25/19 Entered 10/25/19 23:37:44           Main Document
                                         Pg 119 of 185



S.D.N.Y. 2015) (“[W]hen the allegedly wrongful conduct occurs in a place different from the

place of injury, the Second Circuit dictates that it is the place of the allegedly wrongful conduct

that generally has superior interests.” (citation and quotation omitted)).

       Defendants ignore Licci, and their only attempt (Seadrill Br. at 19 n.10) to address any of

the case law discussed above is to distinguish Holburn because it “was not a tortious interference

case.” However, nothing in Holburn suggested the analysis was limited to the particular tort at

issue. Licci’s broad holding also suggests no distinction between types of torts; the holding

applies to all conduct-regulating rules. 739 F.3d at 48-51. And tortious interference is plainly a

conduct-regulating law. First Hill, 52 F. Supp. 3d at 636. Thus, when faced with claims for

tortious interference, or conspiracy to commit and aiding and abetting tortious interference,

district courts correctly apply Second Circuit precedent and look to the location of the tortious

conduct. See SourceOne Dental, 310 F. Supp. 3d at 368; First Hill, 52 F. Supp. 3d at 636.

       The cases Defendants cite are not to the contrary. In some, the parties did not contest the

choice of law analysis. See 2002 Lawrence R. Buchalter Alaska Tr. v. Philadelphia Fin. Life

Assur. Co., 96 F. Supp. 3d 182, 200 (S.D.N.Y. 2015); Am. Lecithin Co. v. Rebmann, 2017 WL

4402535, at *19 (S.D.N.Y. Sept. 30, 2017). In others, the court applied the law in which the

tortious conduct occurred. See Lyondell, 534 B.R. at 450-51 (holding Texas law applied to

aiding and abetting breach of fiduciary duties brought against defendants operating in Texas);

Silverman v. Rosewood Hotels & Resorts, Inc., 2004 WL 1823634, at *4 (S.D.N.Y. Aug. 16,

2004) (concluding “México’s interest in seeing that its laws are applied to the conduct of the

defendant within its borders is substantial”); Arista Records, Inc. v. Mp3Board, Inc., 2002 WL

1997918, at *16 (S.D.N.Y. 2002) (applying California law to a claim for tortious interference

where the tortious conduct occurred “in California”). And another pre-dates Licci and cites to




                                                 97
19-01294-scc      Doc 52      Filed 10/25/19 Entered 10/25/19 23:37:44             Main Document
                                         Pg 120 of 185



the summary of the traditional, loss-allocating rule in Schultz, see Hidden Brook Air, Inc. v.

Thabet Aviation Int’l Inc., 241 F. Supp. 2d 246, 277 (S.D.N.Y. 2002), which Licci held does not

control for conduct-regulating laws, see Licci, 739 F.3d at 49.

       The Ad-Hoc Defendants also err in relying (Br. 58) extensively on the decision to apply

Mexican rather than New York law in Norte v. Worldbusiness Capital, Inc., 2015 WL 7730980,

at *12 (S.D.N.Y. Nov. 24, 2015), aff’d sub nom. Maricultura Del Norte, S. de R.L. de C.V. v.

Umami Sustainable Seafood, Inc., 769 F. App’x 44 (2d Cir. 2019). The plaintiffs in Norte did

not allege “that any of the [defendants’] conduct took place in New York.” Id. at *11 (emphasis

added). Thus, in Norte, “[t]here is absolutely no argument in favor of applying New York law.

Nothing whatever happened here that is relevant to this claim . . . . It is irrelevant that Defendants

might have committed some tort were they located in New York.”                Id. (emphasis added).

Abogados v. AT&T, Inc., 223 F.3d 932 (9th Cir. 2000), is similarly inapposite. As in Norte, the

plaintiff in Abogados arguing for the application of New York law “has not pointed to any

activities that occurred in New York. Instead, he points to decisions made from offices in New

Jersey and meetings that occurred in Atlanta.” Id. at 936.

       The only Second Circuit decision Defendants cite, In re Thelen LLP, 736 F.3d 213 (2d

Cir. 2013), is inapposite because its reasoning is expressly limited to fraud claims. It recognized

that “[i]f conflicting conduct-regulating laws are at issue, the law of the jurisdiction where the

tort occurred will generally apply,” but held that “for claims based on fraud, the locus of the tort

is generally deemed to be the place where the injury was inflicted, rather than where the

fraudulent act originated.” Id. at 220 (emphasis added; quotations omitted). Plaintiffs do not

allege fraud, and thus Thelen’s holding is irrelevant here. In addition, Thelen applied New York

law in part because the Chapter 7 petitioner’s principal place of business is New York and “the




                                                 98
19-01294-scc   Doc 52   Filed 10/25/19 Entered 10/25/19 23:37:44   Main Document
                                   Pg 121 of 185
19-01294-scc      Doc 52    Filed 10/25/19 Entered 10/25/19 23:37:44            Main Document
                                       Pg 122 of 185



conduct within its borders. Thelen, 736 F.3d at 220 (“[T]he location of the firm’s principal place

of business is certainly relevant in deciding the law applicable to actions taken in the course of

that business.”); see also Hernandez v. Office of the Comm’r of Baseball, 2019 WL 3034841, at

*4 (S.D.N.Y. July 11, 2019) (“Defendants have a principal place of business in New York, a

factor that gives New York a strong interest in the outcome of this suit.” (citation omitted));

Robins v. Max Mara, U.S.A., Inc., 923 F. Supp. 460, 465 (S.D.N.Y. 1996) (emphasizing the state

of defendant’s principal place of business as significant in the choice of law analysis concerning

conduct during the course of defendant’s business operations).

       Second, the tortious interference and conspiracy




       While Defendants suggest (Ad-Hoc Br. 56) that the relevant conduct is the location

where the termination of contracts or other interference occurred, that conduct is far less

important for choice-of-law purposes than the location where the tortious conduct was originated

and directed. In particular, courts repeatedly place the greatest weight on the location from

which the tortious conduct was directed, even if the scheme was carried out elsewhere. As one




                                               100
19-01294-scc      Doc 52    Filed 10/25/19 Entered 10/25/19 23:37:44           Main Document
                                       Pg 123 of 185



court explained, New York law applies where it is the location of “key face-to-face meetings” at

which the scheme “originated,” even where the conduct implementing the scheme occurred

elsewhere. Thomas H. Lee Equity Fund V, L.P. v. Mayer Brown, Rowe & Maw LLP, 612 F.

Supp. 2d 267, 283-84 (S.D.N.Y. 2009) (concluding “New York has the most significant interest

in, or relationship to, the dispute” because New York “is the jurisdiction where [defendant’s]

fraud originated and where substantial activities in furtherance of the fraud . . . were

committed”). Another court similarly held that “New York law governs” because “[t]hough

[defendants’] alleged conspiracy was carried out throughout the Nation and world, substantial

and vital portions of the alleged conspiracy were orchestrated and implemented in New York.”

Falise v. Am. Tobacco Co., 94 F. Supp. 2d 316, 354 (E.D.N.Y. 2000). Numerous cases are in

accord. See, e.g., In re Refco Inc. Sec. Litig., 892 F. Supp. 2d 534, 539 (S.D.N.Y. 2012)

(applying New York law where the entities engaged in underlying tortious behavior “were

controlled centrally from New York”); Cohain v. Klimley, 2010 WL 3701362, at *16 (S.D.N.Y.

Sept. 20, 2010), aff’d sub nom. Sissel v. Rehwaldt, 519 F. App’x 13 (2d Cir. 2013) (applying

New York law where loss was suffered out of state but Defendants designed and approved the

fraud in New York); Simon v. Philip Morris Inc., 124 F. Supp. 2d 46, 73 (E.D.N.Y. 2000)

(concluding “New York’s interest appears more significant in this action than that of any single

other state” because “substantial portions of [defendants’] alleged conspiracy were orchestrated

in New York”); Maison Lazard Et Compagnie v. Manfra, Tordella & Brooks, Inc., 585 F. Supp.

1286, 1290 (S.D.N.Y. 1984) (applying New York law to unfair competition claim because

“defendants did not merely, while in New York, dream up the possibility of misappropriating

plaintiffs’ exclusive rights . . . . [t]hey made the arrangements . . . covered their tracks, and

received payment—all in New York”).




                                              101
19-01294-scc      Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44           Main Document
                                        Pg 124 of 185



       This approach also best protects “the reasonable expectations of the parties who relied on

the laws of that place to govern their primary conduct.” Licci, 739 F.3d at 50. Ad-Hoc

Defendants cite (Br. 57) In re Citigroup Inc. Sec. Litig., 987 F. Supp. 2d 377, 390 (S.D.N.Y.

2013), to argue applying Mexican law protects the parties “justified expectations.” But because

the crucial components of Defendants’ tortious conduct—the strategizing and direction of the

conspiracy—occurred in New York, “all parties could reasonably expect New York law to

govern the conduct within its borders that forms the basis of both claims.” Citigroup, 987 F.

Supp. 2d at 390. Davis v. Costa-Gavras, 580 F. Supp. 1082 (S.D.N.Y. 1984), which Defendants

cite for the same proposition (Ad-Hoc Br. at 57), also supports the application of New York law:

the parties’ “justified expectation that their conduct will be judged by the rules of the

jurisdictions in which they carry on their activities merits protection.” Id. at 1092. Simply put,

Defendant could reasonably expect to be judged by New York

                                                       See Cavagnuolo v. Rudin, 1996 WL 79861,

at *5 (S.D.N.Y. Feb. 26, 1996) (emphasizing that “the state where the tortious conduct was

initiated” has the strongest interest in applying its own law “because it is the punishment and

deterrence of such conduct that is the impetus for every state’s tort law”).

       Third,




      See, e.g., Thomas H. Lee Equity Fund V, 612 F. Supp. 2d at 284 (recognizing relevance of

contract that “contains a New York choice-of-law provision”).




                                                102
19-01294-scc       Doc 52    Filed 10/25/19 Entered 10/25/19 23:37:44        Main Document
                                        Pg 125 of 185



              2.      New York Law Governs Count Three, Tortious Interference And
                      Conspiracy To Tortiously Interference With Plaintiffs’ Pemex
                      Business Relationship

       Because the crucial conduct constituting Defendants’ tortious interference and related

conspiracy to interfere with Plaintiffs’ Pemex business relationship occurred in New York, New

York law controls. See Licci, 739 F.3d at 48-49. As with Defendants’ tortious interference with

the Oro Negro Contracts, Defendants’ strategy to interfere with Oro Negro’s business

relationship with Pemex

                                                                , Compl. ¶ 274, which operated

out of New York, id. ¶¶ 24, 26, and



                                                                                  . Id. ¶ 314.

New York law should thus apply, as the Ad-Hoc Group defendants’ tortious behavior was

“controlled centrally from New York.” In re Refco, 892 F. Supp. 2d at 539.

              3.      New York Law Governs Count Thirteen, Tortious Interference And
                      Conspiracy To Tortiously Interfere With Plaintiffs’ Bareboat
                      Charters

       As with Plaintiffs’ prior tortious interference and attendant conspiracy claims, supra,

New York law should govern because the crucial tortious conduct with regards to the Bareboat

Charters occurred in New York. See Licci, 739 F.3d at 48-49.




                          Id. ¶ 415. And the Bondholders, many of whom operated out of New

York, directed the Nordic Trustee to declare Oro Negro Drilling in default, take over the

ownership and control of the Singapore Rig Owners, and seize the Rigs. Id.


                                             103
19-01294-scc       Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44         Main Document
                                         Pg 126 of 185




Id. ¶ 432. Such central control of the tortious conduct and attendant conspiracy from this

jurisdiction strongly supports application of New York law. See supra at IV(B)(1).

                                                         the Singapore Rig Owners to initiate

litigation in New York to take over the Rigs, evincing Defendants’ belief that this forum

possesses a strong interest in governing this dispute. Compl. ¶¶ 285-288. That the underlying

contracts Defendants interfered with had New York forum selection and U.S. maritime choice of

law clauses strongly supports a finding that New York courts have a strong interest in applying

their own law. Ayco Co., L.P. v. Frisch, 795 F. Supp. 2d 193, 204 (N.D.N.Y. 2011) (citing White

Plains Coat & Apron Co. v. Cintas Corp., 460 F.3d 281, 284 (2d Cir.), certified question

accepted, 7 N.Y.3d 830 (2006), and certified question answered, 8 N.Y.3d 422 (2007), for the

proposition that New York law applies “to tort claims where the contracts that were allegedly

interfered with were governed by New York law”); Innoviant Pharmacy, Inc. v. Morganstern,

390 F. Supp. 2d 179, 187 (N.D.N.Y. 2005) (finding New York possessed the strongest interest in

applying its tort law because the underlying contracts stipulated “New York’s status as the forum

state in this matter”).     This Court should therefore apply New York law to the tortious

interference and attendant conspiracy claims involving Bareboat Charters.

              4.      New York Law Governs Count Fourteen, Tortious Interference And
                      Conspiracy To Tortiously Interfere With Plaintiffs’ Singapore Rig
                      Owners Business Relationship

       New York law also governs Plaintiffs’ tortious interference and related conspiracy claim

for interference with Oro Negro’s business relationship with the Singapore Rig Owners because


                                              104
19-01294-scc      Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44            Main Document
                                        Pg 127 of 185



the significant tortious conduct occurred in New York. See Licci, 739 F.3d at 48-49. The

conduct interfering with Plaintiffs’ business relationship overlaps with the conduct interfering

with the Bareboat Charters, addressed supra. In the course of its business,




                                                      requires application of New York law.

       C.      New York Law Governs Counts Two And Four, Plaintiffs’ Aiding And
               Abetting Tortious Interference Clams Against The Seamex Defendants

       For aiding and abetting, the relevant inquiry considers the site of “defendant’s conduct

[that] gave substantial assistance or encouragement to the principal to engage in the . . . tortious

conduct.” In re Glob. Serv. Grp., LLC, 316 B.R. 451, 462 (Bankr. S.D.N.Y. 2004). The site of

the Seamex Defendants’ conduct that gave substantial assistance and encouragement was

centered in New York, requiring application of New York law. See Licci, 739 F.3d at 48-49.

       The Seamex Defendants’ crucial actions that gave substantial assistance or

encouragement to Defendants’ tortious interference with the Oro Negro Contracts and with Oro

Negro’s relationship with Pemex occurred in New York, requiring application of New York law.




                                                  .



                                                105
19-01294-scc       Doc 52   Filed 10/25/19 Entered 10/25/19 23:37:44           Main Document
                                       Pg 128 of 185



        Many of these parties were operating out of New York while they were conceiving and

directing their tortious plan. Fintech Advisory is an investment manager with a principal place

of business in New York. Id. ¶ 69. Seadrill conducts permanent and substantial business in New

York, and two current members of its Board of Directors are New York-based. Id. ¶ 74. Leand

was also a member of Seadrill’s Board of Directors from 2013 to July 2018, during all of the

relevant time period. Id. Thus, while the Complaint does not detail the location of all of the

communications—and does not need to—it is a reasonable inference that New York was the

locus of the activity.




        D.      New York Law Governs Count Nine, Abuse Of Process And Conspiracy To
                Commit Abuse Of Process

        An abuse of process claim involves a defendant who “employs regularly issued legal

process to compel performance or forbearance of some act,” Cook v. Sheldon, 41 F.3d 73, 80 (2d

Cir. 1994), and this conduct occurred in New York. AMA, which operates out of New York,

Compl. ¶ 24, directed the abuse of process scheme and conspiracy, id. ¶ 316.




                                       Id. ¶¶ 316, 326, 370. And as explained supra at IV(B)(1),

the jurisdiction from which strategic decisions are made and conduct is directed possesses the

strongest interest in New York’s choice of law analysis.



                                              106
19-01294-scc          Doc 52       Filed 10/25/19 Entered 10/25/19 23:37:44                       Main Document
                                              Pg 129 of 185



         But even if New York choice of law principles generally favor the application of

Mexican law to Plaintiffs’ abuse of process and attendant conspiracy claims (they do not), the

exception outlined in Weiss v. Hunna, 312 F.2d 711 (2d Cir. 1963), requires application of New

York law. In that case, the Second Circuit applied New York law to an abuse of process claim

alleging the improper initiation of civil litigation in Austria to frustrate the plaintiff’s contractual

rights because Austrian law did not provide the plaintiff with an adequate remedy to address the

injury. Compare id. at 716-717 with Compl. ¶ 306-307 (“[K]nowing that . . . Pemex would have

to pay the $96 million owed . . . . [t]he Ad-Hoc Group, AMA, and their agents have launched a

relentless campaign to criminally prosecute [plaintiffs] based on fabricated evidence.”).47

         Here, as in Weiss, the improper Mexican proceedings involve New York parties, and

(according to Defendants) Mexican law would not provide an adequate remedy for the harm

Plaintiffs have suffered due to the improper criminal investigations.                         The Ad-Hoc Group

Defendants argue (Br. 65) that “[u]nder Mexican law, filing a criminal complaint in relation to a

potential crime and providing evidence to support that complaint are protected rights under the

Mexican Constitution.” To the extent Defendants’ characterization of Mexican law is accurate,

there is no tort remedy for Plaintiffs’ abuse of process claim concerning the pretextual initiation

of criminal proceedings under Mexican law.                     Mexican law thus would “not provide the

plaintiff[s] with a sufficient remedy to address the injury,” McNamee, 762 F. Supp. 2d at 611,

and New York law would govern Plaintiffs’ abuse of process claim.                             The Ad-Hoc Group


47
         Citing an unpublished case from the Northern District of Ohio, Defendants argue (Ad-Hoc Br. 59) that
Weiss has been effectively overruled by New York’s adoption of the Second Restatement. But the Second
Restatement itself states that there are occasions in which a “state other than that where the proceeding complained
of occurred will be that of the most significant relationship and therefore the state of the applicable law,” and points
to Weiss as one such example. See Restatement (Second) of Conflict of Laws § 155. And courts in this circuit
continue to apply Weiss as good law. See McNamee v. Clemens, 762 F. Supp. 2d 584, 611 (E.D.N.Y. 2011); Tripodi
v. Local Union No. 38, Sheet Metal Workers’ Int’l Ass’n, AFL-CIO, 120 F. Supp. 2d 318, 321 (S.D.N.Y. 2000).




                                                         107
19-01294-scc          Doc 52        Filed 10/25/19 Entered 10/25/19 23:37:44                       Main Document
                                               Pg 130 of 185



Defendants attempt (Br. 59 n.44) to distinguish Weiss by noting the significant New York

interests in that case, but Plaintiffs’ action has equally compelling New York interests, as New

York was the forum from which the conspiracy and actions to abuse the Mexican criminal

process were orchestrated and directed. Moreover, the foreign process was abused to invalidate

the Bareboat Charters, which are contracts containing New York forum selection clauses, and

resulted in violations of this Court’s Comity Order and the Bankruptcy Code.

         Finally, as to Ad-Hoc Group Defendants’ suggestion (Br. 58-59) that abuse of foreign

process is impossible, this theory plainly conflicts with Weiss. And all of the case law on which

Ad-Hoc Group relies (Br. 58-59) concerns malicious prosecution claims, not abuse of process.

While both claims involve misuse of legal proceedings, they are fundamentally distinct torts,

with distinct elements.48 Most notably, for a claim of abuse of process, “it [i]s immaterial

whether the original suit ha[s] been terminated or whether it was founded on probable cause.

The employment of process to extort property [is], of itself, a sufficient cause of action.” Bd. of

Ed. of Farmingdale Union Free Sch. Dist. v. Farmingdale Classroom Teachers Ass’n, Inc.,

Local 1889 AFT AFL-CIO, 38 N.Y.2d 397, 402 (1975). Because the employment of the process

with an improper purpose (rather than the outcome) is the critical issue for abuse of process,

there is no legal or logical reason to bar claims for abuse of the process in a foreign country

where the abuse was directed from New York.




48
          See Bd. of Ed. of Farmingdale Union Free Sch. Dist. v. Farmingdale Classroom Teachers Ass’n, Inc.,
Local 1889 AFT AFL-CIO, 38 N.Y.2d 397, 400 (1975) (“Abuse of process, i.e., causing process to issue lawfully
but to accomplish some unjustified purpose, is frequently confused with malicious prosecution, i.e., maliciously
causing process to issue without justification.”). Critically, to state a claim for abuse of process, a plaintiff need not
wait for the process to be completed and a ruling issue in his favor—rather, it is enough that the process be instituted
for an improper purpose.




                                                          108
19-01294-scc      Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44             Main Document
                                        Pg 131 of 185



       E.      At A Minimum, New York Law Governs The Availability Of Punitive
               Damages

       Even if Mexican law governs Plaintiffs’ tort claims (and it does not), New York law still

governs the availability of punitive damages with regards to each and every claim. As explained

in Deutsch, “punitive damages are conduct-regulating issues,” requiring application of “the law

of the jurisdiction where the conduct occurred.” 723 F. Supp. 2d at 524-25. To obtain punitive

damages under New York law, Plaintiffs must establish that: “(1) the defendant’s conduct is

actionable as an independent tort; (2) the tortious conduct is of an egregious nature; (3) the

egregious conduct was directed to the plaintiff; and (4) the conduct is part of a pattern directed at

the public generally.” Wrap-N-Pack, Inc. v. Kaye, 528 F. Supp. 2d 119, 124 (E.D.N.Y. 2007).

       Accordingly, Plaintiffs may obtain punitive damages pursuant to New York law if

Defendant’s “egregious conduct” occurred in New York even if this Court determines that more

of Defendants’ tortious conduct occurred in México such that Mexican law governs the

underlying tort claims. Here, as discussed above, the tortious conduct

                                                           constitutes the “egregious conduct” that

supports punitive damages. In particular, the Ad-Hoc Group Defendants conspired to drive

Plaintiffs’ out of business to illegally seize Plaintiffs’ assets (Compl. ¶¶ 195-278) and initiated

vexatious litigation around the world (id. ¶¶ 279-397), all while they should have been aligned

with Plaintiffs in seeking performance of the Oro Negro Contracts that Plaintiffs legitimately

obtained (id. ¶¶ 398-436).



     satisfies the “high degree of moral turpitude and demonstrates such wanton dishonesty as to

imply a criminal indifference to civil obligations” threshold for punitive damages. Walker v.

Sheldon, 10 N.Y.2d 401, 405 (1961). In short, Defendants



                                                109
19-01294-scc         Doc 52       Filed 10/25/19 Entered 10/25/19 23:37:44                    Main Document
                                             Pg 132 of 185



                                   and therefore should be held accountable by the punitive damages

laws of this forum. Deutsch, 723 F. Supp. 2d at 525 (emphasizing importance of applying

punitive damages law of the forum in which the egregious “corporate decisions were made”).

V.      THE COMPLAINT STATES A CLAIM FOR THE CAUSES OF ACTION UNDER
        NEW YORK LAW (COUNTS 1-4, 9, 12-14, 17-18, AND 21)

        Federal Rule of Civil Procedure 8(a)(2) requires that a complaint contain a “short and

plain statement of the claim showing that the pleader is entitled to relief.” For Defendants to

prevail on their motions to dismiss under Rule 12(b)(6), they must show that the complaint has

not alleged “enough facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 570 (2007); see also Leon v. Rockland Psychiatric Ctr., 232 F. Supp. 3d

420, 426-28 (S.D.N.Y. 2017). To be facially plausible, the complaint need not provide “detailed

factual allegations”—only enough facts to allow “the court to draw the reasonable inference that

the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

In considering a motion to dismiss, the court must accept all well-pleaded factual allegations as

true and draw all reasonable inferences in the plaintiff’s favor. Harris v. Mills, 572 F.3d 66, 71-

72 (2d Cir. 2009). Plaintiffs have stated a claim for each cause of action under New York law, as

set forth more fully below.49

        A.       Plaintiffs State A Claim For Tortious Interference And Conspiracy To
                 Interfere With The Oro Negro Contracts Under New York Law (Count 1)

        Counts 1-2 allege tortious interference with the Oro Negro Contracts against the Ad-Hoc

Group Defendants (except GGB) and the Seamex Defendants, and aiding abetting the same

tortious interference against the Seamex Defendants. In particular, the Complaint alleges that the


49
    Plaintiffs withdraw the claims for prima facie tort (Count 19) and negligence (Count 20). Plaintiffs assert that
the Complaint adequately states a claim for each of the remaining causes of action. However, if the Court is
inclined to dismiss any count for failure to state a claim, Plaintiffs respectfully request leave to amend.




                                                       110
19-01294-scc         Doc 52       Filed 10/25/19 Entered 10/25/19 23:37:44                    Main Document
                                             Pg 133 of 185



Ad-Hoc Defendants, conspiring with the Seamex Defendants, intentionally caused Pemex’s

termination of the Oro Negro Contracts in 2017 and interfered with the Oro Negro Contracts in

                                                                                                  .

        A claim for tortious interference with contract requires: (1) the existence of a valid

contract between the plaintiff and a third party; (2) defendant’s knowledge of that contract; (3)

defendant’s intentional procurement of the third-party’s breach of the contract without

justification; (4) actual breach of the contract; and (5) damages resulting from the breach. Lama

Holding Co. v. Smith Barney Inc., 88 N.Y.2d 413, 424 (1996). The Complaint sufficiently

alleges all five elements.

        First, all elements are satisfied for the Complaint’s allegations that the Ad-Hoc

Defendants, conspiring with the Seamex Defendants, caused Pemex’s termination of the Oro

Negro Contracts in 2017. With regard to this tortious interference in the fall of 2017, the Ad-

Hoc Defendants do not dispute four of the five elements: Oro Negro had valid contracts with

Pemex; the Ad-Hoc Group knew of the contracts; Pemex breached the Contracts by terminating

them; and Oro Negro suffered harm. Defendants’ only challenge is to causation, arguing that

Pemex was predisposed to terminate the Contracts. Ad-Hoc Br. 67-68; Seamex Br. 24-25.50

        However, the complaint need only state facts from which it can be reasonably inferred

that the contractual breach would not have occurred but for the defendant’s tortious interference.

See Rich v. Fox News Network, LLC, 939 F.3d 112, 127 (2d Cir. 2019). As Rich held, in

reversing the dismissal of a tortious interference claim, “[t]he allegations here plainly claim that,

but for the [defendants’] conduct … , the breach would not have occurred. In the face of these

50
         The Ad-Hoc Defendants also suggest (Br. 69 n.52) that the Complaint does not adequately allege
fraudulent misrepresentation “to support Plaintiff’s tortious interference claim.” But Plaintiffs are not bringing a
claim for fraudulent misrepresentation; fraud is not an element of tortious interference, and Defendants’ invocation
of Rule 9(b) (which applies only to fraud claims) is completely inapposite.




                                                       111
19-01294-scc      Doc 52    Filed 10/25/19 Entered 10/25/19 23:37:44           Main Document
                                       Pg 134 of 185



allegations, the degree to which the contract would have been breached anyway is a question

properly left for discovery and, perhaps, jury determinations.” Id. The same is true here, as the

Complaint clearly alleges causation. See Compl. ¶ 449. It also specifically alleges that Pemex

agreed to terminate the contracts only after



                                                                     Id. ¶ 187. Indeed, given

Perforadora’s ultimate acceptance of the 2017 Proposed Terms in August, and Pemex’s

nonchalance regarding the concurso filing, Pemex’s actions




       Defendants’ supposition that the breach would have occurred anyway cannot be resolved

on the pleadings and, regardless, has no factual support. In particular, the Ad-Hoc Defendants

assert (Br. 67-68) they could not have caused the breach because that Pemex had “repudiated the

contracts in March 2017,” following a “similar pattern” in 2015 and 2016, and thus they could

not have caused the breach. But Defendants cannot support the assertion that Pemex repudiated

of the contracts in 2015, 2016, or March 2017. In March 2017, Pemex attempted to impose the

2017 Amendments by threatening cancellations and withholding payments, and Pemex had taken

a hard line before to force acceptance of amendments in 2015 and 2016, but in each case without

cancelling the Oro Negro Contracts. Compl. ¶¶ 164, 183. Indeed, Pemex has not cancelled the

contracts of any other vendor of rigs. Compl. ¶¶ 155, 159. Most tellingly, in September 2017,

six months after initiating the negotiation process over the 2017 terms, Pemex had taken no steps

towards terminating the Oro Negro Contracts, belying any assertion that termination would have

occurred absent the Ad-Hoc Group’s involvement. The history of the relationship between the




                                               112
19-01294-scc         Doc 52       Filed 10/25/19 Entered 10/25/19 23:37:44                    Main Document
                                             Pg 135 of 185



parties suggested Pemex would not terminate the Contracts once Oro Negro capitulated,



                       Compl. ¶ 231. Only after Defendants intervened did Pemex decide to break

with its own prior practice and terminate the Oro Negro Contracts. This makes perfect sense:

Pemex had no incentive to terminate the Contracts while it was not paying Perforadora under

them anyway.51

        Second, the Complaint alleges that the Ad-Hoc Defendants tortiously interfered with

Pemex’s performance under the Oro Negro Contracts in 2018. The Ad-Hoc Defendants argue

(Br. 70 n.53) in a footnote that the Pemex Contracts were already terminated and thus the claim

fails at the first element. But there is no factual support for the assertion that the termination pre-

dated the interference in 2018. At that time, there was an injunction in place prohibiting

termination of the Oro Negro Contracts and

         See Compl. ¶¶ 424-425. In the most recent ruling on the issue, the Mexican Federal

Court considering the issue ruled that the terminations were invalid, id. ¶ 220, and thus that the

contract terminations were null and void. Accordingly, the Complaint more than sufficiently

alleges the Contracts were still in effect in 2018 when the Bondholders interfered with them.

And where the validity of a contract underlying a claim for tortious interference with an existing

contractual relationship is in question, the plaintiff may allege tortious interference with a

51
         Seamex Defendants (Br. 23, 25) cite Granite Partners, L.P. v. Bear, Stearns & Co., Inc., 17 F. Supp. 2d
275 (S.D.N.Y. 1998), to argue the causation requirement is not met where a conspiring defendant is party to the
contract in question. But there, a tortious interference claim could not be maintained where the facts in the
complaint showed that each of the alleged co-conspirators made an individual decision to breach their contracts. Id.
at 295. Here, in contrast, the allegations establish that, despite its coercive negotiation tactics, Pemex would not
have terminated but for the Ad-Hoc Group’s interference. The other cases Defendants cite are likewise inapposite.
See Sharma v. Skaarup Ship Mgmt. Corp., 699 F. Supp. 440, 447 (S.D.N.Y. 1988), aff’d, 916 F.2d 820 (2d Cir.
1990) (noting that “in no way do plaintiffs allege that the [] defendants were the motivating force behind [the
contracting party’s] breach”); Mina Inv. Holdings Ltd. v. Lefkowtiz, 16 F. Supp. 2d 355, 360 (S.D.N.Y. 1998) (the
Complaint alleged that the breaching parties had already breached the agreement at issue on nine prior occasions,
and failed to allege any conduct by the defendant other than that it “acted with” the breaching party).




                                                       113
19-01294-scc      Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44            Main Document
                                        Pg 136 of 185



contract and tortious interference with a business relationship in the alternative.        See G-I

Holdings, Inc. v. Baron & Budd, 238 F. Supp. 2d 521, 534-36 (S.D.N.Y. 2001).

       B.      Plaintiffs State A Claim For Tortious Interference With Business
               Relationship Under New York Law: Relationship With Pemex (Count 3)

       Count 3 alleges that the Ad-Hoc Group Defendants (except GGB) and the Seamex

Defendants knowingly damaged Integradora and Perforadora by interfering in Pemex’s business

relationship with Perforadora.

       A claim for tortious interference with business relations must allege “(1) business

relations with a third party; (2) defendants’ interference with those business relations; (3) that

defendants acted with the sole purpose of harming the plaintiff or used dishonest, unfair, or

improper means; and (4) injury to the relationship.” Raedle v. Credit Agricole Indosuez, 670

F.3d 411, 417 (2d Cir. 2012). All of these elements are alleged here.

       First, the Complaint alleges that the Ad-Hoc Group tortiously interfered in Oro Negro’s

relationship with Pemex prior to 2018. For these allegations, the Ad-Hoc Defendants argue (Br.

73-74) only that the third element—that defendants acted with the sole purpose of harming the

plaintiff or used dishonest, unfair, or improper means—is not satisfied. However, the Ad-Hoc

Defendants provide no basis for this argument, aside from referencing back to their prior

argument on tortious interference with contract, which is erroneous for the reasons stated above.

       Regardless, the Complaint adequately alleges (1) malice; and (2) use of dishonest, unfair,

or improper means, either of which is sufficient to state a claim for tortious interference with a

business relationship. See Boehner v. Heise, 734 F. Supp. 2d 389, 405 (S.D.N.Y. 2010); Darby

Trading Inc. v. Shell Int’l Trading & Shipping Co., 568 F. Supp. 2d 329, 345 (S.D.N.Y. 2008)

(recognizing that the third element requires that the defendant acts with either the sole purpose of

harming the plaintiff or uses dishonest, unfair, or wrongful means). Specifically, the Complaint



                                                114
19-01294-scc      Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44             Main Document
                                        Pg 137 of 185



alleges that the Ad-Hoc Defendants acted with the sole purpose of destroying Oro Negro’s

business and taking over its Rigs.       Compl. ¶¶ 228-30, 261, 464.         The Ad-Hoc Group’s

interference was done intentionally, and with no justification or excuse, as they had no

contractual relationship to and no interest in the Oro Negro Contracts at the time of the

interference. See id. ¶ 464. Further, they did so




                                                       Id. ¶¶ 187-90. These allegations more than

suffice to show malice and dishonesty. See MDC Corp. v. John H. Harland Co., 228 F. Supp. 2d

387, 398 (S.D.N.Y. 2002) (declining to dismiss a tortious interference claim because “the

allegation that a defendant acted maliciously in procuring a breach of contract is sufficient”).

       Second, the Complaint alleges that the Ad-Hoc Group tortiously interfered in Oro

Negro’s relationship with Pemex in 2018. For these allegations, the Ad-Hoc Defendants argue

(Br. 74) that the Complaint fails to allege a business relationship because Oro Negro lacked

reasonable certainty of future contractual relations.     However, they ignore the Complaint’s

allegations

                                                                 Compl. ¶¶ 272-76. Notably, New

York law recognizes that automatically renewing, or “ever green,” contracts create a reasonable

expectation of a future business relationship. Ullmannglass v. Oneida, Ltd., 86 A.D.3d 827, 830

(3d Dep’t 2011). In 2018, Oro Negro not only had a history of doing business with Pemex, but

Pemex was aware that Oro Negro maintained that the contracts between the parties were still




                                                115
19-01294-scc   Doc 52   Filed 10/25/19 Entered 10/25/19 23:37:44   Main Document
                                   Pg 138 of 185
19-01294-scc      Doc 52    Filed 10/25/19 Entered 10/25/19 23:37:44           Main Document
                                       Pg 139 of 185




                                                               Compl. ¶¶ 261, 265—constituted

dishonest, unfair, or improper means.

       C.     Plaintiffs State A Claim For The Seamex Defendants’ Aiding And Abetting
              Tortious Interference With The Oro Negro Contracts And With
              Perforadora’s Relationship with Pemex (Counts 2 and 4)

       Counts 2 and 4 allege that the Seamex Defendants aided and abetted the Ad-Hoc Group

Defendants’ plans to tortiously interfere with the Oro Negro Contracts and Perforadora’s

business relationship with Pemex.

       To state a cause of action for aiding and abetting, the plaintiff must allege: “(1) the

existence of a violation by the primary wrongdoer; (2) knowledge of the violation by the aider

and abettor; and (3) proof that the aider and abettor substantially assisted the primary

wrongdoer.” In re Refco Sec. Litig., 759 F. Supp. 2d 301, 333 (S.D.N.Y. 2010) (citation and

quotation omitted). The Seamex Defendants assert (Br. 33-36) that the Complaint fails to allege

all three elements. With regard to the existence of tort violations, the Seamex Defendants merely

refer to the Ad-Hoc Group’s arguments, which are erroneous for the reasons stated supra at

V(A)-(B). And contrary to the Seamex Defendants’ arguments, the Complaint adequately pleads

the remaining two elements, as set forth below.

       The Complaint alleges that the Seamex defendants

                      In particular, the Complaint alleges that the Seamex defendants




                                              117
19-01294-scc   Doc 52   Filed 10/25/19 Entered 10/25/19 23:37:44   Main Document
                                   Pg 140 of 185
19-01294-scc      Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44              Main Document
                                        Pg 141 of 185



       D.      Plaintiffs State A Claim For Abuse of Process (Count 9)

       Count 9 alleges that the Ad-Hoc Defendants and Singapore Defendants abused the

criminal process in México to harm Oro Negro and Mr. Gil. Specifically, they caused at least

four criminal proceeding to be initiated in México against Perforadora, its officers, and

employees for the purpose of causing harm to Oro Negro and its associates and to gain control of

Oro Negro’s assets.

       Under New York law, to state a claim for abuse of process, the plaintiff must allege that

“there was ‘(1) regularly issued process, either civil or criminal; (2) an intent to do harm without

excuse or justification; and (3) use of the process in a perverted manner to obtain a collateral

objective.’”   D’Amico v. Corr. Med. Care, Inc., 120 A.D.3d 956, 960 (4th Dep’t 2014)

(quotations and citation omitted); see also Borison v. Cornacchia, 1997 WL 232294, at *2

(S.D.N.Y. May 7, 1997). The Complaint adequately alleges each element.

       First, the Complaint alleges that the Ad-Hoc Defendants and Singapore Defendants

initiated regularly issued process. In particular,                                     the Singapore

Defendants to initiate at least four criminal proceeding in México against Perforadora, its officers

and employees between June and October of 2018. See Compl. ¶¶ 321, 324, 343, 349, 394.

       Second, the Complaint alleges that the Ad-Hoc Defendants and Singapore Defendants



                                                      , the Complaint alleges that (1) the allegations

underlying the criminal proceedings were never pursued in any other forum (i.e., to recover

funds for the Ad-Hoc Defendants, Singapore Rig Owners, or others), Compl. ¶ 322; (2) the

criminal complaint filed by the Singapore Rig Owners against Integradora with PGR, México’s

federal prosecutors’ office, was used only as a pretense to freeze funds, and has not been

advanced since the federal judge denied the seizure request, id. ¶¶ 334, 350; and (3) the criminal


                                                119
19-01294-scc      Doc 52    Filed 10/25/19 Entered 10/25/19 23:37:44            Main Document
                                       Pg 142 of 185



complaint filed by the Singapore Rig Owners before the México City DA, México City’s local

prosecutors’ office, is a mere copy of the PGR case, filed before a more “friendly” judge when

the federal courts refused to grant the accounts seizure, id. ¶ 352. The Complaint also notes that

the relief requested in the México City DA proceeding has no relation to the alleged “harm” (i.e.,

USD 500,000 in supposed sham company invoices) but seeks the seizure of almost USD 90

million in the trust, and then later the seizure of USD 750 million in Rigs. Id. ¶¶ 356, 368, 373.

Further, the Complaint alleges that the requests were intended only to prevent the release of

Pemex payments from the Mexican Trust to Perforadora. Id. ¶ 353.

       Third, the Complaint alleges the process was used improperly and solely to obtain a

collateral objective. The Complaint clearly alleges that the Ad-Hoc Group seized, through the

Singapore Rig Owners, the Mexican Trust’s and Perforadora’s bank accounts and almost seized

possession of the Rigs with the objective of dispossessing Perforadora of its money and assets

and driving it out of business. Compl. ¶¶ 1, 228-30, 261, 270, 310, 435, 464. The Complaint

also alleges that the Ad-Hoc Group or its agents may have paid bribes in México to fabricate

evidence, and obtain the seizure and restitution orders. Id. ¶¶ 317-19. See Friends of Rockland

Shelter Animals, Inc. (FORSA) v. Mullen, 313 F. Supp. 2d 339, 343 (S.D.N.Y. 2004) (explaining

that a party is not immune from tort liability when it precipitates a government investigation

based on false evidence or through bribery).

       The Singapore Defendants assert (Br. 40-41) that Plaintiffs failed to allege how the

Singapore Defendants improperly used the process after it was issued. However, the Singapore

Defendants disregard the prior adversary proceeding, in which this Court issued an injunction

prohibiting them from taking any further actions, including in the criminal proceedings to

attempt to take over Oro Negro’s Rigs. Regardless, the Complaint specifically alleges that the




                                               120
19-01294-scc         Doc 52       Filed 10/25/19 Entered 10/25/19 23:37:44                     Main Document
                                             Pg 143 of 185



Singapore Defendants used the criminal proceedings to improperly obtain the Seizure Order and

the Rigs Take-Over Order. See Compl. ¶ 499.56

        E.       Plaintiffs State A Claim For Tortious Interference With The Bareboat
                 Charters (Count 13)

        Count 13 alleges that the Ad-Hoc Group Defendants (except GGB) tortiously interfered

with the Bareboat Charters. Specifically,                                                     the Singapore Rig

Owners to breach the Bareboat Charters to enable the Ad-Hoc Defendants to take control of Oro

Negro’s Rigs.

        The Complaint alleges that the Ad-Hoc Group, conspiring with the Seamex Defendants,

tortiously interfered with the Bareboat Charters.57 The Ad-Hoc Group argues (Br. 69-72) that

the Complaint fails to state a claim for tortious interference with the Bareboat charters because

(1) the Bareboat Charters terminated concomitantly with the termination of the Oro Negro

Contracts and thus there was no breach; and (2) any interference is excused because the Ad-Hoc

Defendants had an economic interest in the Bareboat Charters through their ownership of the

Singapore Rig Owners. The first argument conflicts with the allegations of the Complaint and

the second is erroneous as a matter of law.

        First, as explained supra at V(A), the validity of Pemex’s terminations remained

contested through 2019, and they were recently invalidated. Compl. ¶ 220. Because Pemex’s

56
          The Singapore Defendants also argue (Br. 41) that Plaintiffs have not stated a claim for malicious
prosecution because the proceedings have not terminated in Plaintiffs’ favor. But as evident from the Complaint,
Plaintiffs have not brought a claim for malicious prosecution; abuse of process has no such element of termination in
favor of the plaintiff.
         Ad-Hoc Group Defendants fail to identify any unmet element of an abuse of process claim, relying (Br. 77-
78) solely on their argument that no cause of action may lie for allegations of abuse of foreign process, which is
erroneous for the reasons stated supra at IV(D).
57
         The Complaint also adequately alleges a claim for tortious interference with the Bareboat Charters against
the Singapore Defendants for the reasons addressed infra III(F), as the Singapore Defendants seek dismissal of
Counts 13 (tortious interference with the Bareboat Charters) and 14 (tortious interference with the underlying
business relationship) on the same grounds. See Singapore Rig Owners’ Br. 45-47.




                                                        121
19-01294-scc       Doc 52      Filed 10/25/19 Entered 10/25/19 23:37:44                   Main Document
                                          Pg 144 of 185



terminations were never valid in 2017,58 the Bareboat Charters likewise did not automatically

terminate.

                                    Id. ¶ 203, 243. Thus, the Complaint adequately alleges that the

Singapore Rig Owners,                                                 breached the Bareboat Charters by

terminating them while the Pemex terminations remained in dispute. Id. ¶ 250.

       Second, the Ad-Hoc Defendants’ economic interest defense is inapplicable here. The

economic interest defense is unavailable to a party that is only protecting its own interests, rather

than its stake in the breaching party’s business. See Horowitz v. Nat’l Gas & Elec., LLC, No.

17-CV-7742 (JPO), 2018 WL 4572244, at *6 (S.D.N.Y. Sept. 24, 2018) (holding that “the

economic interest defense is not [] available to [defendant] because the [plaintiffs] have not

alleged that [defendant]’s interference with the contract between the [plaintiffs] and NGE was

for anyone’s benefit other than [the defendant]’s own”); Wells Fargo Bank, N.A. v. ADF

Operating Corp., 50 A.D.3d 280, 281 (1st Dep’t 2008) (“The economic interest defense is not

applicable because plaintiff alleged that defendants were not acting to protect their financial

interests in ADF LI when they sold their interests to a third party, but rather sold to profit

themselves to the detriment of ADF LI.”).

       Here, there is no allegation that the Ad-Hoc Group acted in any way that would protect or

advance the Singapore Rig Owners’ business.




                                                Compl. ¶¶ 228-30, 251, 261, 464. The Bondholders’



58
       In re Perforadora, et al., No. 18-11094 ECF 2 ¶ 71. n.17 (Bankr. S.D.N.Y.) (SCC) (Jointly Administered)




                                                    122
19-01294-scc       Doc 52    Filed 10/25/19 Entered 10/25/19 23:37:44           Main Document
                                        Pg 145 of 185



future contingent stake in the Singapore Rig Owners’ business was never threatened, and thus

their actions could not have been designed to protect that interest.

       F.      Plaintiffs State A Claim For Tortious Interference With Perforadora’s
               Business Relationship With The Singapore Rig Owners (Count 14)

       Count 14 alleges that the Ad-Hoc Defendants and Singapore Directors tortiously

interfered with Perforadora’s business relationship with the Singapore Sig Owners. Specifically,

the Complaint alleges a series of actions to ensure that Perforadora could not maintain and

operate the Rigs, and as such continue their relationship with the Singapore Rig Owners.

       The Complaint also adequately pleads all elements for tortious interference with the

business relationship between Perforadora and the Singapore Rig Owners.             The Ad-Hoc

Defendants (Br. 75) and Singapore Defendants (Br. 45 n.25) argue that the Complaint fails to

allege an existing relationship between Perforadora and the Singapore Rig Owners that would

have continued absent the Ad-Hoc Group’s interference. In support of this position, they repeat

(Ad-Hoc Br. 75) that the Bareboat Charters terminated as soon as Pemex terminated the Oro

Negro Contracts, thereby destroying any potential business relationship, but as explained supra

at V(A), the Bareboat Charters did not terminate when Pemex purported to terminate the Oro

Negro contracts.

       Moreover, as alleged in the Complaint, the Ad-Hoc Group and the Singapore Rig

Directors took a series of actions designed to ensure Perforadora could not maintain and operate

the Rigs—both activities essential to its ability to maintain its business relationship with the

Singapore Rig Owners. These actions included instituting false criminal actions to deprive Oro

Negro of funds and attempt to seize its assets such that it would be unable to operate or maintain

the Rigs, impeding the Singapore Rig Owners from paying costs owed to Perforadora, and

preventing Perforadora from paying the net funds Pemex is required to pay Perforadora under the



                                                123
19-01294-scc      Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44            Main Document
                                        Pg 146 of 185



Oro Negro Contracts (the “Charter Hire”), by obtaining a seizure of Oro Negro’s accounts.

Compl. ¶¶ 528-33.      Absent these actions, Perforadora would have undergone an orderly

reorganization and reasonably expected to continue its pre-existing business relationship with the

Singapore Rig Owners. See id.

       The Singapore Directors also err in arguing (Br. 45-46) for immunity based on their

status as directors. The Singapore Directors rely on the “general rule that a corporate officer

who is charged with inducing the breach of a contract between the corporation and a third party

is immune from liability,” Buckley v. 112 Cent. Park S., Inc., 285 A.D. 331, 334 (App. Div.

1954), but disregard that this immunity only applies “if it appears that he is acting in good faith

as an officer,” id., and did not commit any independent torts. Murtha v. Yonkers Child Care

Ass’n Inc., 45 N.Y.2d 913, 915 (1978). Here, the Complaint alleges that the Singapore Directors

did not act independently in the best interest of the Singapore Rig Owners,

                                                                     Compl. ¶¶ 236-37, 255, 315.

Indeed, with respect to the criminal proceedings,



                                          See id. ¶ 316. Taking these allegation as true, the

Complaint alleges that the Singapore Directors did not act in good faith as officers,

                                                                                           This is

sufficient to state a claim for tortious interference against the Singapore Directors. See Buckley

285 A.D. at 335 (explaining that when “the officer commits fraudulent, deceitful acts motivated

by a personal desire for monetary gain at the expense of the plaintiff, we see no reason to shroud

him with a mantle of immunity upon the fictitious theory that he was protecting the interests of




                                               124
19-01294-scc      Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44            Main Document
                                        Pg 147 of 185



the corporation, its stockholders and creditors in the performance of his duties as a corporate

officer”).

        Additionally, the Singapore Directors argue (Br. 46) that the Complaint fails to identify a

“crime or independent tort” that would support a claim for tortious interference with a business

relationship. As set forth supra at V(B), the Complaint must allege that the defendants “acted

with the sole purpose of harming the plaintiff or used dishonest, unfair, or improper means.”

Raedle, 670 F.3d at 417. The Complaint satisfies this requirement, alleging that the Singapore

Directors, conspiring with the Ad-Hoc Group, acted intentionally to destroy Oro Negro. Compl.

¶¶ 412, 416-417, 420, 424, 524-528.

        G.     Plaintiffs State A Claim For Civil Conspiracy Against The Seamex
               Defendants (Counts 1, 3, and 13)

        Counts 1, 3, and 13 allege civil conspiracy against the Seamex Defendants for conspiring

with the Ad-Hoc Group to tortiously interfere with the Oro Negro Contracts, the Bareboat

Charters, and Perforadora’s relationships with Pemex and the Singapore Rig Owners.

        Civil conspiracy requires (1) an agreement between two or more parties; (2) an overt act

in furtherance of the agreement; (3) the parties’ intentional participation in the furtherance of a

plan or purpose; and (4) resulting damage or injury. Reich v. Lopez, 38 F. Supp. 3d 436, 461

(S.D.N.Y. 2014), aff’d, 858 F.3d 55 (2d Cir. 2017). Here, the Complaint alleges that the Seamex

Defendants conspired with the Ad-Hoc Group to tortiously interfere with the Oro Negro

Contracts, the Bareboat Charters, and Perforadora’s relationships with Pemex and the Singapore

Rig Owners.

        The Seamex Defendants’ argument (Br. 26, 28, 33) that the Complaint fails to allege

conspiracy as to each underlying tort claim boils down to a single conclusory assertion that the




                                               125
19-01294-scc   Doc 52   Filed 10/25/19 Entered 10/25/19 23:37:44   Main Document
                                   Pg 148 of 185
19-01294-scc   Doc 52   Filed 10/25/19 Entered 10/25/19 23:37:44   Main Document
                                   Pg 149 of 185
19-01294-scc        Doc 52      Filed 10/25/19 Entered 10/25/19 23:37:44                 Main Document
                                           Pg 150 of 185



        Third, the Complaint alleges intentional participation in the interference. The Complaint

leaves no doubt the




        H.      Plaintiffs State A Claim For Civil Conspiracy Against The Ad-Hoc Group
                Members (Counts 1, 3, 9, 13, 14, 21)

        Counts 1, 3, 9, 14, and 21 allege civil conspiracy against the Ad-Hoc Group Members.

Specifically, the Complaint alleges that the Ad-Hoc Group members joined the Group with the

purpose of conspiring to commit the underling torts alleged in the Complaint,




        The Complaint clearly



                            See Compl. ¶¶ 413-418, 421-423, 428-431.

        Defendants’ only argument to the contrary (Ad-Hoc Br. 77) is that Plaintiffs supposedly

do not allege that Alterna, CQS, GHL, or SFIL did anything other than join the Ad-Hoc Group.62

However, “a conspiracy may be alleged ‘for the purpose of showing that a wrong was committed

jointly by the conspirators and that, because of their common purpose and interest, the acts of

one may be imputed to the others.’” Aetna Cas. & Sur. Co. v. Aniero Concrete Co., 404 F.3d

566, 591 (2d Cir. 2005) (per curiam) (citation omitted).                The cases Defendants cite are

62
         The Ad-Hoc Defendants do not make the same argument with respect to Defendants Ericil, Bodden, Leand,
AMA, or ARCM, and thus appear to concede that participation on the conspiracy is adequately pled as to those
individual defendants.




                                                    128
19-01294-scc         Doc 52       Filed 10/25/19 Entered 10/25/19 23:37:44                    Main Document
                                             Pg 151 of 185



inapposite, as they do not address claims for conspiracy, see In re TransCare Corp., 592 B.R.

272, 288 (Bankr. S.D.N.Y. 2018); Toumazou v. Turkish Republic of N. Cyprus, 71 F. Supp. 3d 7,

21 (D.D.C. 2014), or concern fraud claims requiring application of Rule 9(b), see In re

LightSquared Inc., 504 B.R. 321, 356 (Bankr. S.D.N.Y. 2013).

        The Complaint alleges that each member individually joined the Ad-Hoc Group and

explains that the Ad-Hoc Group, as a unit, is ultimately responsible for almost all decisions taken

by Nordic Trustee on behalf of the Bondholders. The Complaint plainly alleges that the Ad-Hoc

Group of Bondholders together performed the tortious conduct at issue. See Compl. ¶¶ 166-168,

182-194, 413-418, 421-423, 428-431. This more than suffices because where co-conspirators

take actions as a group, so long as the “[c]omplaint alleges each Defendant’s participation [in the

conspiracy] separately, it is not impermissible group pleading to refer to their collective actions

in furtherance of the conspiracy using a more general phrase.” Iowa Pub. Emps.’ Ret. Sys. v.

Merrill Lynch, Pierce, Fenner & Smith Inc., 340 F. Supp. 3d 285, 317 (S.D.N.Y. 2018) (holding

it sufficient that the complaint alleged that each member of the conspiracy “agreed to participate

in the conspiracy,” despite the fact that their actions in furtherance of the conspiracy were pled in

the aggregate).63

        In particular, the Complaint alleges that Nordic Trustee engaged



                                                                                           Compl. ¶¶ 173-174,

63
         The Singapore Defendants’ argument (Br. 31-33) against “group pleading” fails for the same reasons: The
Singapore Defendants consist of the five Singapore Rig Owners and the individuals who sit on their Boards of
Directors, and they are all alleged to have acted together in a conspiracy to perform the unlawful acts, and all are
alleged to be under the unlawful control of the Ad-Hoc Group. Compl. ¶¶ 76-81. Indeed, the Singapore Rig
Owners acted together in suing Perforadora in the Southern District of New York. Id. ¶ 80. Nothing more is
required to state claims against all of the Singapore Defendants, and there is no requirement to state each of their
names individually for each of the actions they performed together. See Iowa Pub. Emps.’ Ret. Sys., 340 F. Supp. 3d
at 317.




                                                       129
19-01294-scc       Doc 52         Filed 10/25/19 Entered 10/25/19 23:37:44             Main Document
                                             Pg 152 of 185



240. The Complaint alleges that Nordic Trustee acts only at the behest of the Bondholders, and

can only take actions approved by holders of at least 50% of the Bonds. Id. ¶¶ 118, 166. The

Complaint further alleges that members of the Ad-Hoc Group have controlled all the relevant

decisions made on behalf of the Bondholders by virtue of their control of 60% of the Bonds.64

Id. Thus, it is a more than reasonable inference that, for Nordic Trustee to act, including through

and                                                    each member of the Ad-Hoc Group must have

agreed to the proposed action. See id.

        I.      Plaintiffs State A Claim For Implied Covenant Of Good Faith And Fair
                Dealing (Count 12)

        Count 12 alleges that the Singapore Rig Owners breached the implied covenant of good

faith and fair dealing by acting in bad faith in terminating the Bareboat Charters when Oro Negro

Contracts had not been validly terminated and the Concurso Court had enjoined them from

taking any actions to terminate the Bareboat Charters.

        To establish a claim for breach of the implied covenant of good faith and fair dealing, a

plaintiff must establish the following: “(1) defendant must owe plaintiff a duty to act in good

faith and conduct fair dealing; (2) defendant must breach that duty; and (3) the breach of duty

must proximately cause plaintiff’s damages.” Schonfeld v. Wells Fargo Bank, N.A. for Aegis

Asset    Backed     Sec.    Tr.     Mortg.   Pass-Through       Certificates,    Series    2004-3,    No.

115CV01425MADCFH, 2017 WL 4326057, at *5 (N.D.N.Y. Sept. 27, 2017) (citation and

quotation omitted). Under New York law, “[e]very contract imposes upon each party a duty of

good faith and fair dealing in its performance.” In re Calpine Corp., No. 05-60200(BRL), 2008

WL 687071, at *2 (Bankr. S.D.N.Y. Mar. 12, 2008).

64
        The exceptions—amendments to the bond agreement and waivers of rights thereunder—are not applicable
here. Compl. ¶ 115, n.5.




                                                   130
19-01294-scc        Doc 52      Filed 10/25/19 Entered 10/25/19 23:37:44                 Main Document
                                           Pg 153 of 185



        Relying on the general rule that the implied covenant does not trump express provisions

of the contract at issue, the Singapore Rig Owners argue (Br. 42-43) that the Complaint fails to

state a claim because the Bareboat Charters specifically provided for their termination upon the

termination of the Oro Negro Contracts regardless of the reason the Oro Negro contracts were

terminated.    However, the Complaint does not allege that the Oro Negro Contracts ever

terminated. Quite the opposite: the Complaint states that Pemex’s purported terminations were

null and void—i.e., as a matter of law, the Oro Negro Contracts did not terminate with Pemex’s

purported termination in October 2017. Compl. ¶¶ 203, 220. In addition, the Singapore Rig

Owners,                                                   , were actively involved in the concurso and

well aware of the Concurso Court’s orders of October 5 and 11 and December 29, 2017, which

not only confirmed that the Oro Negro Contracts had not been terminated, but also enjoined any

actions to terminate the Bareboat Charters (including with retroactive effect). Id. ¶¶ 203, 206-08.

Thus, the Complaint adequately alleges that the Singapore Rig Owners violated their duty of

good faith and fair dealing by purporting to cancel the Bareboat Charters on the basis of Pemex’s

legally void purported terminations.

        J.      Plaintiffs State A Claim For Breach Of The Bareboat Charters:
                Reimbursement Costs (Count 17)

        Count 17 alleges breach of the Bareboat Charters against the Singapore Rig Owners

because they owe but have failed to pay the Reimbursement Costs to Perforadora, as set forth in

the Bareboat Charters.

        The Singapore Rig Owners assert (Br. 47-48) that Perforadora cannot maintain a claim

for breach of the Bareboat Charters with regard to reimbursement costs65 because (1) no demand


65
        The portion of reimbursement costs attributable to pre-contractual costs incurred for the Impetus are
addressed in conjunction with the claim for unjust enrichment.




                                                    131
19-01294-scc      Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44            Main Document
                                        Pg 154 of 185



for payment was ever made; and (2) Perforadora misreads section 7.1 of the Bareboat Charters.

Neither argument finds support in the text of the contract.

       First, while the Bareboat Charters set forth specific notice requirements for, inter alia,

redelivery of the Rigs and postings of notices regarding liens, there is no specific contractual

notice requirement applicable to requests for reimbursement. Thus, there is no basis in the

Complaint or the referenced contract to assume, as the Singapore Rig Owners urge, that

Perforadora failed to request reimbursement.

       Second, the Singapore Rig Owners argue (Br. 47) that Plaintiffs used “artful drafting” to

assert that the Singapore Rig Owners should pay for certifications. Lest there be any doubt, the

entirety of the provision at issue (which the Singapore Rig Owners fail to provide) states:

       The Vessel shall during the Charter Period be in the full possession and at the
       absolute disposal for all purposes of Charterer and under its control. Charterer
       shall bear the cost of maintaining the Vessel, her spare parts and documentation in
       a good state of repair, in efficient operating condition and in accordance with
       good commercial maintenance practice, and Charterer shall keep the Vessel with
       unexpired classification of the same class as at delivery of the Vessel (and free
       from overdue recommendations and conditions of class), and with other required
       certificates in force at any time. Annual survey, special survey, major
       maintenance and major overhaul of the Vessel shall be performed every five years
       (or any other time as required by the classification society) by Charterer at
       Owner’s expense.

(emphasis added).     The final sentence, which clearly references survey requirements of

classification societies, directly contradicts the Singapore Rig Owners’ strained interpretation of

the language. As alleged in the Complaint, the ABS is the certification society that conducts the

five-year and annual inspections (i.e., surveys) and issues the corresponding certificate. Compl.

¶¶ 132-35. Though it was Perforadora’s obligation to make sure the Rigs stayed in class, as

alleged in the Complaint, the activities required to do so were to be paid “at the Owner’s

expense.” Id.




                                               132
19-01294-scc      Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44            Main Document
                                        Pg 155 of 185



       K.      Plaintiffs State A Claim For Unjust Enrichment (Count 21)

       Count 21 alleges unjust enrichment against the Singapore Rig Owners and Ad-Hoc

Group. Specifically, they used illegal means to deprive Perforadora and Integradora of the Rigs

and pre-paid expenses for the Impetus Rig.

       To plead a claim for unjust enrichment, the Complaint must plead facts that support a

plausible inference that “(1) the defendant was enriched; (2) at plaintiff’s expense; and (3) equity

and good conscience militate against permitting defendant to retain what plaintiff is seeking to

recover.” Briarpatch Ltd., L.P. v. Phoenix Pictures, Inc., 373 F.3d 296, 306 (2d Cir. 2004). Ad-

Hoc Defendants (Br. 81-82) and Singapore Rig Owners (Br. 51-52) argue that the Complaint

fails to state claim for unjust enrichment because (1) the claim is duplicative of other tort and

contract claims; and (2) the Singapore Rig Owners had a legal right to take over the Rigs. Both

arguments are meritless.

       First, the unjust enrichment claim cannot be dismissed as duplicative. To begin with, the

elements of tortious interference do not duplicate unjust enrichment, and thus the claim cannot

be dismissed as duplicative. See Nuss v. Sabad, 7:10-CV-0279(LEK/TWD), 2016 WL 4098606,

at *11 (N.D.N.Y. July 28, 2016) (holding that an unjust enrichment claim is not duplicative if a

“reasonable trier of fact could find unjust enrichment . . . without establishing all the elements

for one of [the plaintiff’s] claims sounding in law”); see also McCracken v. Verisma Sys., Inc.,

No. 6:14-CV-06248(MAT), 2017 WL 2080279, at *8 (W.D.N.Y. May 15, 2017),

reconsideration denied, No. 6:14-CV-06248(MAT), 2018 WL 4095104 (W.D.N.Y. Aug. 28,

2018) (same). As for the claim of breach of contract, that is obviously not duplicative as to the

Ad-Hoc Defendants, who are not being sued for breach. As for the Singapore Rig Owners, the

claim for breach does not duplicate the claim for unjust enrichment because it is based on other

conduct (i.e., the claim for breach is premised on the Singapore Rig Owners failure to pay the


                                                133
19-01294-scc         Doc 52      Filed 10/25/19 Entered 10/25/19 23:37:44                    Main Document
                                            Pg 156 of 185



Reimbursement Costs while the claim for unjust enrichment is premised on the Singapore Rig

Owners collusion with the Ad-Hoc Defendants to take the Rigs), leading to other damages than

at issue for the breach of contract claim (i.e., Reimbursement Costs versus damages). See

Compl. ¶¶ 547-550, 575-579.

        Second, the Complaint alleges that the Singapore Rig Owners and Ad-Hoc Group used

illegal means to deprive Perforadora and Integradora of the Rigs. The Singapore Rig Owners

argue that, because they have always been the owners of the Rigs, there can be no unjust

enrichment by their possession of them. However, the Complaint alleges that the Ad-Hoc Group

illegally took control of the Singapore Rig Owners, removing them (and thus the Rigs) from

Integradora’s control by improperly declaring an event of default and purporting to exercise the

share charge66 in violation of Mexican bankruptcy law. Compl. ¶¶ 205, 254-55. Thus, the

Bondholders were unjustly enriched by taking the Singapore Rig Owners, and by extension, the

Rigs, away from Integradora.

        Further, both the Ad-Hoc Defendants (Br. 82) and the Singapore Rig Owners (Br. 52)

argue that the Singapore Rig Owners, controlled by the Bondholders, cannot have been unjustly

enriched because the Concurso Court ordered the return of the Rigs to them in May of 2019.

However, that decision was a consequence of the Ad-Hoc Defendants’ scheme. As the opinion

the Ad-Hoc Group relies on makes clear, the Concurso Court ordered Perforadora to hand the

Rigs back not because the Singapore Rig Owners had superior possession rights (they did not

under the existing Bareboat Charters), but for the simple and practical reason that Perforadora

could no longer afford to maintain the Rigs. See Clareman Decl., Ex. 36-T, at 20-23. Of course,


66
          The share charge, which is equivalent to a pledge of stock, was granted by Integradora to Nordic Trustee
over Integradora’s shares in Oro Negro Drilling, which includes Integradora’s authorization to Nordic Trustee to
replace, if certain conditions are met, Oro Negro Drilling’s directors. Compl. ¶ 113.




                                                      134
19-01294-scc          Doc 52       Filed 10/25/19 Entered 10/25/19 23:37:44                      Main Document
                                              Pg 157 of 185



as set forth in the Complaint, Perforadora was only unable to maintain the Rigs because the Ad-

Hoc Group and its co-conspirators had cut off its access to essential funds. Compl. ¶¶ 270-71,

309, 441-442. This at the very least raises a factual question as to whether there was unjust

enrichment. See A.V.E.L.A., 131 F. Supp. 3d at 208 (a challenge to allegation in complaint

“raises a question of fact that cannot be resolved on a motion to dismiss”).

         The Complaint also alleges unjust enrichment against the Singapore Rig Owners based

on pre-paid expenses for the Impetus. The Singapore Rig Owners argue that they did not receive

anything of value from Perforadora. However, the Complaint alleges that the Singapore Rig

Owners received over USD 7 million from Perforadora related to expenses incurred for the

Impetus rig, which the Singapore Rig Owners now owe to Perforadora.67 Compl. ¶ 138. In light

of the egregious actions of the Ad-Hoc Group and Singapore Rig Owners to dispossess Oro

Negro of all its assets, it is clear that Oro Negro did not enjoy the fruits of these expenses. Oro

Negro has been deprived of the Rigs and use of the same, and its prospect of future business

relations with the Singapore Rig Owners and Pemex destroyed by the interference of the Ad-Hoc

Group.     “[E]quity and good conscience” demand that Perforadora recover these expenses,

Briarpatch Ltd., 373 F.3d at 306, and any argument to the contrary merely raises a factual

dispute that cannot be resolved on the pleadings, see A.V.E.L.A., 131 F. Supp. 3d at 208.

VI.      IN THE ALTERNATIVE, PLAINTIFFS STATE CLAIMS UNDER MEXICAN
         LAW (COUNTS 5-8, 10-11 AND 15-16)

         Counts 5-8, 10-11, and 15-16 of the Complaint allege violations of Mexican law against

all Defendants. In particular, the Complaint alleges that Defendants violated Mexican laws and


67
         While the Impetus costs are not listed under Count 21, it is clear from the facts alleged that Plaintiffs seek
to recover these sums from the Singapore Rig Owners, who were never entitled to them. The Singapore Rig Owners
thus have adequate notice of the claims against them. However, if the court concludes this formal defect is fatal to
the underlying claim, Plaintiffs respectfully request leave to amend the Complaint.




                                                         135
19-01294-scc      Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44               Main Document
                                        Pg 158 of 185



good customs by interfering in its reorganization, abusing the criminal process, and causing the

termination of Oro Negro’s contracts.

       The Complaint alleges violations of the Mexican general tort statute based on myriad

wrongful acts of Defendants (Counts 5-8, 10-11 and 15-16). Mexican tort law, in contrast to

U.S. common law, does not recognize particular types of torts that may give rise to liability.

Rather, Mexican law recognizes a general rule of liability for wrongs under a broad tort statute.

See Lopez Decl. ¶ 33.

       México is a civil law state, meaning that codified statutes control, while court decisions

have limited to no precedential value. See Lopez Decl. ¶ 8. As the Second Circuit explained,

“[c]ivil law codes tend to be much more general and encompass a broader range of

circumstances than do common law statutes. . . . A civil code is not a list of special rules for

particular situations; it is rather a body of general principles carefully arranged and closely

integrated.” Curley v. AMR Corp., 153 F.3d 5, 14 (2d Cir. 1998) (quoting Margarita Trevino

Balli and David S. Coale, Torts and Divorce: A Comparison of Texas and the Mexican Federal

District, 11 Conn. J. Int’l L. 29, 42 (1995)). Here, Article 1910 provides:

       Whoever, by acting illicitly or against the good customs and habits, causes
       damage to another shall be obligated to compensate him unless he can prove that
       the damage was caused as a result of the fault or inexcusable negligence of the
       victim.

       Thus, liability may lie for either the violation of a statute (i.e., acting illicitly) or actions

“against . . . good customs and habits.” Id.; Lopez Decl. ¶ 35; see also Asali Decl. ¶ 20 (“An act

against good custom is one that contravenes morals accepted in a given place and time, which is

within the judge’s discretion to determine”).

       Defendants argue primarily that Mexican law does not recognize claims for the specific

common law torts of tortious interference, interference with a business reorganization, or abuse



                                                 136
19-01294-scc         Doc 52       Filed 10/25/19 Entered 10/25/19 23:37:44                     Main Document
                                             Pg 159 of 185



of process. In addition, the Ad-Hoc Defendants argue (Br. 61) that “reference to ‘acting illegally

or against good customs’ provides for civil liability for conduct that otherwise violates Mexican

statutory law.” However, as explained above, their emphasis on specific causes of action is

misplaced. While Mexican law does not recognize the precise cause of action for tortious

interference in contractual relations, Defendants’ conduct—including their interfering with

contractual rights and with Oro Negro’s reorganization, and their gross manipulation and misuse

of the Mexican criminal process—violates both specific statutes and “good customs and habits”

and is therefore actionable under Article 1910.68 Moreover, the Second Circuit has expressly

refuted the suggestion that there must be a statutory violation, and recognized that a violation of

good customs would also suffice: “As is apparent, … an illicit act may be a violation of ‘good

customs’ as well as a violation of a statute or administrative regulation.” Curley , 153 F.3d at 14

(emphasis added).

        In particular,




68
         The Seamex Defendants argue (Br. 12) that Plaintiffs’ “label” for the claim is not controlling, but it is
Defendants who are trying to put a label of “tortious interference” on Plaintiffs’ Mexican law claims, and then argue
that there is no such claim under Mexican law. The question, however, is whether the particular conduct here
underlying the tortious interference (as well as other conduct) violates Article 1910, even if tortious interference
would not necessarily give rise to a claim under Mexican law. And as set forth below, the facts alleged support a
violation of Article 1910.




                                                        137
19-01294-scc         Doc 52      Filed 10/25/19 Entered 10/25/19 23:37:44                     Main Document
                                            Pg 160 of 185



                                     (7) instigated numerous criminal proceedings against Oro Negro

with the help and agreement of, and in the name of, the Singapore Rig Owners.

        A.       Violations of the Ley de Concursos Mercantiles

        Much of this conduct was in direct violation of the Mexican Ley de Concursos

Mercantiles.     The Ley de Concursos Mercantiles states that it is in the public interest to

“preserve businesses and avoid that the generalized failure to pay debts places the viability of

[businesses] at risk.” See Ley de Concursos Mercantiles, Art. 1; Lopez Decl. ¶ 41. It also states

that, during the concurso process, “there cannot be any foreclosure or execution against the

assets if the Merchant.”         See Ley de Concursos Mercantiles, Art. 65; Lopez Decl. ¶ 42.

Defendants’ conduct was aimed specifically at the destruction of Oro Negro’s viability, and

directly sought to foreclose on the Bareboat Charters, and execute on (and, failing that, limit)

Oro Negro’s access to Oro Negro’s own assets. The Complaint also alleges that Defendants took

repeated actions to take over Oro Negro’s Rigs (i.e., dispossess it of its assets) and deprive it of

cash. These allegations are more than sufficient to allege a violation of the Ley de Concursos

Mercantiles, as well as actions “against good customs,” as explained infra Section VI.C.

        B.       Violations of Mexican Criminal Law

        Plaintiffs also allege violations of Mexican criminal law to support a claim under Article

1910. Ad-Hoc Defendants argue (Br. 65) that use of the Mexican criminal process is legally

protected in México, but Plaintiffs are not claiming tort liability based on the filing of legitimate

criminal complaints.69 Rather, Plaintiffs rely on wrongful conduct in violation of Mexican

statutes—in particular, the pursuit of criminal proceedings through the fabrication of evidence.


69
         Defendants again conflate abuse of process with malicious prosecution, arguing that the latter can only be
brought after a favorable verdict. As explained supra Section IV.D the Complaint does not allege malicious
prosecution or any torts, under Mexican law or otherwise, premised thereon.




                                                       138
19-01294-scc        Doc 52      Filed 10/25/19 Entered 10/25/19 23:37:44                  Main Document
                                           Pg 161 of 185



Presenting a false document to a government authority, including the courts, is a violation of the

Mexican Criminal Code. Lopez Dec. ¶ 45. As the Ad-Hoc Defendants’ expert points out,

Mexican law recognizes that the filing of a false complaint or false evidence does support

liability under Article 1910. See Zamora Decl. ¶ 64.70

        Contrary to the Ad-Hoc Group’s assertion (Br. 65 n. 49), the Complaint sets forth in

painstaking detail the pursuit of criminal proceedings through the fabrication of evidence and

why the evidence was false. As the Complaint alleges, (1) the circumstances in which the

“evidence” of the sham companies arose—a lone spreadsheet suddenly “found” within thousands

of other documents—is highly dubious; (2) the evidence is nonsensical, as Perforadora never

invoiced any entity but Pemex; (3) the evidence has been discredited not only by Oro Negro’s

own internal investigation, but also by the Mexican tax authority from whence it supposedly

originated; (4) the evidence was contradicted by other spreadsheets on the same compact disk;

and (5) the Ad-Hoc Group should have known and did know no crime had been committed when

it filed the criminal actions. Compl. ¶¶ 349-67.

        The Ad-Hoc Defendants’ only argument to counter this point is that Plaintiffs fail to

provide definitive proof that the evidence is false. Such proof is not required at the motion to

dismiss stage under settled U.S. procedural law, Harris, 572 F.3d at 71–72, which governs

claims that are subject to Mexican substantive law. See Bournias v. Atl. Mar. Co., 220 F.2d 152,

154 (2d Cir. 1955) (“In actions where the rights of the parties are grounded upon the law of

jurisdictions other than the forum, it is a well-settled conflict-of-laws rule that the forum will




70
         As the Ad-Hoc Group’s expert point out, additional liability may lie under Article 1916 of the Mexican
Civil Code. However, any violation of this code may also form the basis for liability under Article 1910. Lopez
Decl. ¶ 45.




                                                     139
19-01294-scc        Doc 52      Filed 10/25/19 Entered 10/25/19 23:37:44                  Main Document
                                           Pg 162 of 185



apply the foreign substantive law, but will follow its own rules of procedure.”); In re Hellas

Telecomms (Luxembourg) II SCA, 535 B.R. 543, 566 (Bankr. S.D.N.Y. 2015) (same).

        C.      Violations of Good Customs

        Additionally, the actions of Defendants in sabotaging Oro Negro’s business and

restructuring and in instigating criminal proceedings are in violation of “good customs.”

        The Mexican Supreme Court has explained:

                Anything that hurts morality is contrary to good customs, and
                jurisprudence has slowly considered that there is a criterion of morality in
                the society and that the social environment constitutes the source of good
                custom. Therefore, it is not necessary to give a precise definition of ‘good
                customs’ because no legislature is going to do this but leave it to the
                wisdom of the courts.71

        The Second Circuit in Curley recognized the breadth of torts arising out of violations of

“good customs.” 153 F.3d at 14. Curley explained that “the potential for liability [under Article

1910] is somewhat open-ended.” Id. at 14-15. Accordingly, assessing a claim under Article

1910 for a violation of good customs “requires a flexible approach to the admissibility of

evidence, the method of proof, and discretion of the trier of fact. In theory, good customs could

be proven by as many evidentiary devices as may be concocted by a fertile imagination, from the

interpretation of theological or religious injunctions on bad behavior to anthropological,

sociological or psychological expert testimony on prevailing attitudes.”                Id. (quoting Boris

Kozolchyk and Martin L. Ziontz, A Negligence Action in México: An Introduction to the

Application of Mexican Law in the United States, 7 Ariz. J. Int’l & Com. L. 1, 11 (1989)).

        The actions to scuttle Oro Negro’s business and restructuring contravene the public

purpose in favor of facilitating orderly reorganizations. Lopez Decl. ¶ 43. The Ad-Hoc Group


71
        See “Illiades Viuda de Ize, Elena,” 120 S.J.F. 1821 (5a 6poca 1954), as translated in Moral Damages in
México, 36 Univ. of Miami Inter-Am. L. Rev. 183, 191 (2004). Lopez Decl. 35.




                                                    140
19-01294-scc         Doc 52      Filed 10/25/19 Entered 10/25/19 23:37:44                     Main Document
                                            Pg 163 of 185



intentionally sought to take over the Rigs by forcing the company into financial distress that

would certainly cause the company ultimately to default. See Compl. ¶¶ 228-30, 261, 411, 434,

464. Notably, no court has ever denied that interference with reorganization can give rise to tort

liability in México. Lopez Decl. ¶ 44. To do so would contravene public policy in favor of

orderly reorganization, as set forth in the LCM.                Lopez Decl. ¶ 43.         And the actions of

Defendants are clearly contrary to any conceivable good social custom.

        Furthermore, when Oro Negro attempted an organized restructuring of its debt

obligations, Defendants took every step to frustrate that reorganization. First,




                         Third, when the Concurso Court imposed injunctions to protect Oro Negro

(similar to the automatic stay in Chapter 11), the Ad-Hoc Group in conjunction with the

Singapore Rig Owners and their directors initiated litigation in three different countries in an

effort to circumvent the Mexican restructuring proceeding. Fourth, when the Ad-Hoc Group

was not able to secure a judgment in any jurisdiction allowing them to take over the Rigs, they

initiated criminal proceedings against Oro Negro and its executives based on falsified evidence.




                                                                                       Sixth, the efforts of the

Ad-Hoc Group and the Singapore Rig Owners to forcibly seize the Rigs by attempting to land a


72
          The Seamex Defendants dispute (Br. 14) their role in the events, but as explained supra Section V.G., the
factual allegations more than suffice to establish their participation in the conspiracy and unlawful acts.




                                                       141
19-01294-scc      Doc 52    Filed 10/25/19 Entered 10/25/19 23:37:44            Main Document
                                       Pg 164 of 185



squadron of helicopters on the Rigs put Oro Negro, its employees and its assets at risk. Seventh,

through the criminal actions, they not only converted a commercial dispute into a criminal

proceeding against Oro Negro but brought into those criminal proceedings personal actions

against individual executives, directors and employees of Oro Negro.

       This conduct culminated in the destruction of Oro Negro’s business. And in doing so,

Defendants displayed reckless disregard for social mores, intentionally targeting individuals with

criminal prosecution to exert pressure on Oro Negro in order to achieve purely commercial

goals. At a minimum, this raises a factual issue regarding whether there is a violation of Article

1910 under the flexible standard recognized in Curley, 153 F.3d at 14.

       D.      The Complaint Adequately Alleges Damages Under Mexican Law

       The Singapore Defendants (Br. 31) and the Seamex Defendants (Br. 15-16) assert that the

Complaint does not plead damages causation adequately under Mexican law, and that Mexican

law does not allow recovery of certain categories of damages pled, including punitive damages.

       However, as set forth in detail in the Complaint, the conduct of each Defendant directly

precipitated Oro Negro’s collapse by causing (1) Pemex to cancel Oro Negro’s Contracts and (2)

Oro Negro to run out of money such that it was declared in liquidation and forced to hand over

the Rigs. Compl. ¶¶ 309, 403-408, 413-414, 432-433. Simply put, Plaintiffs allege damages

resulting from the destruction of their business. It need not prove the exact amount now as to

each Defendant. See In re Food Mgmt. Grp., LLC, 380 B.R. 677, 700 (Bankr. S.D.N.Y. 2008)

(“On a Rule 12(b)(6) motion, the Court need only address whether the facts alleged in the

complaint demonstrate any damages to the [plaintiff]. Plaintiff need not plead a concrete amount

of damages to survive a motion to dismiss.”).

       Further, Mexican law does permit recovery of moral damages (daños morales), an analog

to punitive damages for certain tort claims. Lopez Decl. ¶ 46. While there is no binding


                                                142
19-01294-scc       Doc 52    Filed 10/25/19 Entered 10/25/19 23:37:44               Main Document
                                        Pg 165 of 185



precedent mandating an award of moral damages, the concept is relatively new to Mexican law,

and there is no authority prohibiting their award. Id. ¶ 47.

VII.      PLAINTIFFS STATE A CLAIM FOR VIOLATION OF 11 U.S.C. § 1520 AND
          THE COMITY ORDER

          The Complaint alleges that the Ad-Hoc Group Defendants and the Singapore Defendants

violated 11 U.S.C. § 1520(a)(1) and the Comity Order by foreclosing on the Rigs and depriving

Perforadora of its right to “full possession” of the Rigs for an improper motive.

          Plaintiffs state a claim against the Ad-Hoc Defendants and Singapore Defendants for

violation of 11 U.S.C. § 1520 and the Comity Order because section 1520(a)(1) and the Comity

Order automatically stayed all actions against the property of Perforadora located in the United

States.

          A.    Plaintiffs’ Rights Are Located Within The Territorial Jurisdiction Of The
                United States

          The Singapore Rig Owners argue (Br. 33) that the stay did not apply to Plaintiffs’

possession of the Rigs under the Bareboat Charters because Plaintiffs’ possession rights are not

located in the United States. But the situs of Plaintiffs’ rights under the Charters is within the

territorial jurisdiction of the United States because the Bareboat Charters contain forum selection

clauses requiring litigation of disputes arising out of the Charters in this District and under U.S.

maritime law. As this Court explained in In re Berau Capital Res. Pte Ltd, 540 B.R. 80, 83

(Bankr. S.D.N.Y. 2015), such a forum selection clause renders the intangible property within the

United States because “[i]t would be ironic if a foreign debtor’s creditors could sue to enforce the

debt in New York, but in the event of a foreign insolvency proceeding, the foreign representative

could not file and obtain protection under Chapter 15 from a New York bankruptcy court.” Id.

(concluding “the indenture is property of [debtor] in the United States”); see also In re U.S. Steel

Canada Inc., 571 B.R. 600, 610 (Bankr. S.D.N.Y. 2017) (“[D]ebt subject to a New York


                                                143
19-01294-scc          Doc 52       Filed 10/25/19 Entered 10/25/19 23:37:44                       Main Document
                                              Pg 166 of 185



governing law clause and a New York forum selection clause constitutes property in the United

States.”); In re Inversora Eléctrica de Buenos Aires S.A., 560 B.R. 650, 655 (Bankr. S.D.N.Y.

2016) (same).73

         Because Plaintiffs’ rights under the Bareboat Charters were enforceable only in this

District, Plaintiffs’ rights under those contracts exist in this forum. In re Octaviar, 511 B.R. at

372 (rejecting the argument that “‘potential’ causes of action in the United States cannot satisfy

the requirements” and concluding “that because [debtor’s] claims and causes of action against

Drawbridge constitute property located in the United States, the Foreign Representatives satisfy

the eligibility requirements”); see also In re PT Bakrie Telecom Tbk, 601 B.R. 707, 714-15

(Bankr. S.D.N.Y. 2019) (“Examples of property sufficient to satisfy the requirement include

funds held in a retainer account in the possession of the foreign representative’s counsel, deposits

in a New York bank account, and causes of action with a situs in New York owned by the




73
          Defendants attempt to distinguish In re Berau and U.S. Steel because the debt in those cases contained a
New York choice of law provision, while the Bareboat Charters only specify U.S. maritime law applies. Singapore
Rig Owners Br. 19 n.9. This is a distinction without difference; that the parties contracted for U.S. maritime law to
govern evinces just as much of a connection to the territory of the United States as would a New York choice of law
provision. Moreover, the Bareboat Charters are admiralty contracts, and even state courts must apply federal
admiralty law in admiralty disputes. See Offshore Logistics, Inc. v. Tallentire, 477 U.S. 207, 223 (1986) (“[T]he
extent to which state law may be used to remedy maritime injuries is constrained by a so-called ‘reverse-Erie’
doctrine which requires that the substantive remedies afforded by the States conform to governing federal maritime
standards.”). Thus, the governing law would be the same even if the Bareboat Charters contained New York choice
of law provisions instead of U.S. maritime choice of law provisions. In any event, that Oro Negro’s causes of action
to enforce the Bareboat Charters were located in this Court is sufficient to conclude that this forum is at least one of
the situses of Oro Negro’s property rights. See In re Octaviar Admin. Pty Ltd, 511 B.R. 361, 372 (Bankr. S.D.N.Y.
2014).
         The sole case cited by the Singapore Rig Owners (Br. 19 n.9), for the proposition that New York choice of
law clauses are required for the intangible property right to exist in the territorial jurisdiction of the United States
contained no choice of law provision. In re B.C.I. Finances Pty Ltd., 583 B.R. 288, 297 (Bankr. S.D.N.Y. 2018).
And that case nonetheless concluded the claims are located in New York because, in part, “where a court has both
subject matter and personal jurisdiction, the claim subject to the litigation is present in that court.” Id. at 303.
Similarly, this Court is the correct forum as evidenced by both the choice of forum provision and the Singapore Rig
Owners’ decision to litigate here in March 2018. Compl. ¶ 285 (noting the Singapore Rig Owners sought “an order
compelling Perforadora to deliver the Rigs to them” in the Southern District of New York).




                                                         144
19-01294-scc         Doc 52   Filed 10/25/19 Entered 10/25/19 23:37:44           Main Document
                                         Pg 167 of 185



foreign debtor.”). Defendants’ violation of the Chapter 15 stay thus affected property located in

the United States.

       B.      Defendants Violated The Automatic Stay Under 11 U.S.C. § 1520

       The Singapore Rig Owners argue (Br. 33-38) they did not violate the Chapter 15 stay

because they seized the Rigs under a restitution order issued as part of a criminal proceeding, the

Rigs Take-Over Order. “Upon recognition of a foreign proceeding that is a foreign main

proceeding . . . sections 361 and 362 apply with respect to the debtor and the property of the

debtor that is within the territorial jurisdiction of the United States.” 11 U.S.C. § 1520(a)(1).

And Section 362(b)(1) exempts from the automatic stay “the commencement or continuation of a

criminal action or proceeding against the debtor[.]” However, “[t]he party asserting an exception

to the automatic stay bears the burden of proving that the exception applies[,]” In re Best

Payphones, Inc., 01-15472 (SMB), 2016 WL 164900, at *11 (Bankr. S.D.N.Y. Jan. 13, 2016),

and the exception is inapplicable here on five separate grounds.

       First, multiple Mexican courts expressly prohibited the seizure of the Rigs, and the

seizure, in contravention to these orders, was, therefore, not a legal exercise of state power over

criminal proceedings. Specifically, the seizure violated not only the Concurso Court’s October 5

and October 11 orders but also on October 24, 2018, the Concurso Court ordered Defendants to

cease the unlawful actions and required the withdrawal of the Rigs Take-Over Order. Compl. ¶¶

386, 389. In addition, on October 26, 2018, Oro Negro obtained an amparo order, a remedy for

the protection of constitutional rights, staying the Rigs Take-Over Order. Id. ¶ 390. Defendants’

seizure of the Rigs was therefore unlawful under Mexican law as established by four different

judicial orders, and cannot constitute a valid “commencement or continuation of a criminal

action or proceeding” under 11 U.S.C. § 362(b)(1).




                                               145
19-01294-scc      Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44            Main Document
                                        Pg 168 of 185



       Second, the seizure was not carried out by state security forces,. The sole Mexican police

officer involved left the same day the helicopter that attempted to seize the Rigs landed. Compl.

¶¶ 382-83. Instead,                                                                     and one of

Defendants’ attorneys in México attempted to seize the Decus by remaining on it for nearly a

week. Id. ¶ 383. These actions plainly violate the automatic stay’s prohibition on any creditor

seizing property of the estate. 11 U.S.C. § 362(a). Defendants cite no cases in which private

actors seizing property in violation of foreign law are exempt from a Chapter 15 automatic stay.

To the contrary, the cases they cite presume restitution orders that “further the penal goals of the

state,” Singapore Rig Owners Br. 36, and “function to benefit society as a whole.” Id. (citing

Kelly v. Robinson, 479 U.S. 36, 52 (1986)). Defendants’ seizure of the Rigs in violation

Mexican law neither advances legitimate penal goals nor benefits society at large.

       Third, even if permitted under a Mexican court order, Defendants’ seizure of the Rigs

was not required. The purported restitution order did not require Defendants and their agents to

seize the Rigs, it merely “authorized the Singapore Rig Owners, as restitution, to take possession

of the Rigs.” Compl. ¶ 372. And “[i]t is well settled that a creditor has an affirmative duty

under § 362 to take the necessary steps to discontinue its collection activities against a debtor.”

In re Wright, 328 B.R. 660, 663 (Bankr. E.D.N.Y. 2005). The Singapore Rig Owners failed to

fulfill that affirmative duty to discontinue their collection activities even assuming arguendo the

seizures were authorized by Mexican courts (they were not) because the seizures were not

mandatory.

       That the seizure was both non-mandatory and conducted by private parties distinguishes

this case from those the Singapore Rig Owners argue (Br. 35-36) that restitution orders are not

dischargeable in bankruptcy. In re First Texas Petroleum, Inc., 52 B.R. 322, 329 (Bankr. N.D.




                                                146
19-01294-scc      Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44            Main Document
                                        Pg 169 of 185



Tex. 1985), addressed “restitution [] ordered by the state court judge as a condition of

probation,” and carried out by the state. In re Ritter, No. 05-36150 (CGM), 2006 WL 3065518,

at *5 (Bankr. S.D.N.Y. Oct. 27, 2006), similarly concerned a mandatory restitution order that

was part of a criminal sentence imposed by the state, not private entities. But Plaintiffs in this

case have not been charged or convicted of any crime, much less sentenced.

       Defendants also cite United States v. Colasuonno, 697 F.3d 164, 175 (2d Cir. 2012), for

the proposition that the seizure of the Rigs is restitution, which § 362(b)(1) exempts from

automatic stays because “restitution compensates a crime victim, to the extent money can do so,

for actual injuries sustained, whether to body or property, from a criminal offense.” That case

concerned a criminally-convicted debtor who violated the terms of his probation, resulting in the

federal government seeking restitution. Id. The post-conviction restitution ordered in that case

is not comparable to a purported restitution order obtained ex parte against Oro Negro without an

adjudication on the merits and enforced by private parties. Nor can the Singapore Rig Owners

avail themselves of the rule outlined in Colasuonno when they do not claim the restitution

compensates them as “crime victims[s]” for “actual injuries sustained . . . from a criminal

offense” committed by Plaintiffs. Id. Accordingly, any claim that their seizure of the Rigs

serves a restitution function is misplaced, and this is not a case in which the 362(b)(1) exception

should apply even if it were available.

       Fourth, even if the seizure were conducted pursuant to a criminal proceeding (it was not),

courts in this circuit have recognized “the majority rule” that excludes improperly motivated

criminal proceedings from the Section 362(b)(1) exception to the automatic stay. In re Gary V.

Otten; Gary V. Otten v. Majesty Used Cars, Inc., Robert Semitekolos, No. 10-74946-AST, 2013

WL 1881736, at *9 (Bankr. E.D.N.Y. May 3, 2013). “[T]he motivation of a creditor whose debt




                                               147
19-01294-scc      Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44            Main Document
                                        Pg 170 of 185



was discharged in seeking prosecution of the debtor may be relevant when it is possible to argue

that no crime was committed, or that the process under which the debtor is being prosecuted is

tainted by bad faith, or a criminal charge is threatened solely to coerce payment of the discharged

debt.” Id. (quotations and alteration omitted). In re Pearce, 400 B.R. 126, 133 (N.D. Iowa

2010), for example, held a creditor violated the automatic stay by contacting police and a

prosecutor with the primary intent to collect on a debt through restitution. And even in Circuits

that have rejected the “principal motivation” test described above, a “[d]ebtor’s complaints

regarding [c]reditors’ purported use of the criminal process to collect a debt are only relevant if

[d]ebtor can show that the entire proceeding was brought in bad faith.” In re Cantin, No. 15-

28505-BKC-MAM, 2019 WL 2306620, at *14 (Bankr. S.D. Fla. May 30, 2019).

       Plaintiffs here adequately allege improper motivation under either standard. Plaintiffs

plausibly allege that the motivation of Defendants in their “relentless campaign to criminally

prosecute Integradora, Perforadora, and their directors, executives and employees, including Gil,

based on fabricated evidence” was to forcibly seize control of the Rigs. Compl. ¶¶ 306-10.

Plaintiffs further allege that Defendants were fully aware no crime was committed. Id. ¶¶ 329

(knowledge of falsity of mismanaging funds criminal complaint), 343-47 (knowledge of falsity

of misleading public official criminal complaint); 349-67 (knowledge of falsity of sham

company criminal complaint); and 394-97 (knowledge of falsity of promptly-dismissed fourth

criminal complaint). Moreover, Plaintiffs allege the criminal charges were brought solely to

coerce Plaintiffs by “suffocating Oro Negro and depriving it of its ability to maintain the Rigs.”

Id. ¶ 310. Defendants’ seizure of the Rigs therefore would not fall under the criminal proceeding

exception if that exception were applicable because the criminal proceeding was improperly

motivated solely by Defendants’ efforts to seize the Rigs.




                                               148
19-01294-scc        Doc 52   Filed 10/25/19 Entered 10/25/19 23:37:44           Main Document
                                        Pg 171 of 185



       Fifth, even if Defendants were correct that their seizure of the Rigs occurred pursuant to a

properly-motivated criminal proceeding that required them to obtain restitution, their actions

would still not fall within the exception because the policy concerns justifying the exception are

not present here.    “Excluding state criminal proceedings from the stay and the discharge

injunction reflects a respect for federalism.” In re Gary V. Otten, 2013 WL 1881736, at *7

(quotations and alteration omitted). But there are no federalism concerns at play where the

purported criminal proceeding takes places in a foreign forum.         And to the extent comity

displaces federalism as a relevant concern in Chapter 15 cases involving foreign proceedings, it

weighs against finding applicable the Section 362(b)(1) exception because two Mexican courts

ruled the seizure unlawful. Compl. ¶ 390. Defendants’ seizure of the Rigs therefore violated the

automatic stay.

       Finally, Plaintiffs’ construction of Section 362(b)(1) does not leave Defendants without

mechanisms for relief. If Defendants believed they possessed legitimate justifications for the

seizure of the Rigs, Defendants should have sought relief pursuant to Section 362(d), which

authorizes a party in interest to request relief from the stay with regards to particular claims on

the debtor’s estate. Assuming Defendants’ claims on the Rigs were valid, they could have then

proceeded with their actions for restitution. But Defendants did not seek any such relief from

this Court or the Concurso Court.

       C.      Defendants Violated This Court’s Comity Order

       The Singapore Rig Owners argue (Br. 38-39) that they did not violate this Court’s

Comity Order because the Comity Order merely gave enforcement and recognition to the

Concurso Court’s October 5 and October 11 Orders, which did not order relief against the Rig

Owners.     Defendants are incorrect: the October 5 and October 11 Orders prohibited any

interference with Perforadora’s possession rights under the Bareboat Charters. Compl. ¶ 386.


                                               149
19-01294-scc       Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44             Main Document
                                         Pg 172 of 185



Through the Comity Order, this Court thus adopted as its own the Concurso Court’s October 5

and October 11 Orders. And this Court also issued a temporary restraining order (“TRO”) to

prohibit the Ad-Hoc Group and its agents from continuing their attempt to seize the Rigs. Id. ¶

387. In light of that order, an October 24 Concurso Court order explicitly directed at the

Singapore Rig Owners to cease their unlawful actions to seize the Rigs, id. ¶ 389, and an amparo

order staying the order authorizing seizure of the Rigs, id.¶ 390, Defendants violated at least

three judicial orders in their attempts to seize the Rigs. Contrary to the Singapore Rig Owners’

suggestion (Br. 39), Plaintiffs do not ask this Court to “issue an injunction against the Rig

Owners” or “enjoin Mexican criminal proceedings.” This Court and numerous Mexican courts

already provided the injunctive relief sought. Id. ¶¶ 386-90. But Defendants ignored those

orders, and Plaintiffs properly seek compensation under Section 1521(a)(7).

VIII. THIS COURT HAS JURISDICTION OVER THE ABUSE OF PROCESS CLAIMS
      AND PLAINTIFFS DO NOT LACK STANDING

       A.      Bankruptcy Jurisdiction Exists Over All Plaintiffs’ Claims

       Section 1334 grants bankruptcy courts by referral “original but not exclusive jurisdiction

of all civil proceedings arising under title 11, or arising in or related to cases under title 11.” 28

U.S.C. § 1334(b). “[L]egislative history makes it clear that section 1334(b), taken as a whole,

constitutes an extraordinarily broad grant of jurisdiction to the Article III District Court.” In re

Residential Capital, LLC, 489 B.R. 36, 44 (Bankr. S.D.N.Y. 2013) (citation omitted). And “[t]he

scope of ‘related to’ bankruptcy jurisdiction has been broadly interpreted by the Second Circuit.”

City of Ann Arbor Emps. Ret. Sys. v. Citigroup Mortg. Loan Trust Inc., 572 F. Supp. 2d 314, 317

(E.D.N.Y. 2008).     To determine “related to” jurisdiction, this Court assesses whether the

“outcome” of the litigation “might have any ‘conceivable effect’ on the bankruptcy estate.” In re




                                                 150
19-01294-scc       Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44              Main Document
                                         Pg 173 of 185



Cuyahoga Equip. Corp., 980 F.2d 110, 114 (2d Cir. 1992). “If that question is answered

affirmatively, the litigation falls within the ‘related to’ jurisdiction of the bankruptcy court.” Id.

       The conceivable effect standard constitutes an expansive grant of jurisdiction. “In the

absence of limiting guidance on the meaning of ‘conceivable effect,’ courts have found that even

an ‘unlikely’ possibility that the bankruptcy estate’s rights might be altered satisfies the

‘conceivable effect’ test.” BGC Partners, Inc. v. Avison Young (Canada), Inc., 919 F. Supp. 2d

310, 318-19 (S.D.N.Y. 2013); see also In re Extended Stay Inc., 435 B.R. 139, 150 (S.D.N.Y.

2010) (“However unlikely it might be . . . the prospect of an effect . . . is conceivable and is . . .

sufficient to render [the] adversary proceeding ‘related to’ Debtors’ bankruptcy proceedings

within the meaning of 28 U.S.C. § 1334(b).”). “Bankruptcy jurisdiction will exist so long as it is

possible that the proceeding may affect the debtor’s rights or the administration of the estate.”

Winstar Holdings, LLC v. Blackstone Grp. L.P., 2007 WL 4323003, at *1 (S.D.N.Y. Dec. 10,

2007); see also In re Residential Capital, LLC, 489 B.R. 36, 44 (Bankr. S.D.N.Y. 2013) (“[E]ven

where suit may ultimately have no effect on the bankruptcy, jurisdiction is established where a

court cannot conclude, on the facts before it, that it will have no conceivable effect.”) (citation

and quotation omitted).      And “related to” subject matter jurisdiction attaches to “[e]very




                                                 151
19-01294-scc          Doc 52       Filed 10/25/19 Entered 10/25/19 23:37:44                       Main Document
                                              Pg 174 of 185



conceivable interest of the debtor, future, nonpossessory, contingent, speculative, and

derivative.” In re Bernard L. Madoff Inv. Secs. LLC, 740 F.3d 81, 88 (2d Cir. 2014).74

         Ad-Hoc Defendants argue (Br. 83-85) that this Court does not have bankruptcy

jurisdiction over Counts 9-11 (alleging abuse of process under New York law, intentional torts

under Mexican law, and negligent torts under Mexican law, all against the Ad-Hoc Group

Defendants and Singapore Defendants) because they are brought by the foreign representative

and Gil in his personal capacity. But recovery of monetary damages under the claims brought by

the foreign representative would augment the estate, thereby vesting this Court with “related to”

bankruptcy jurisdiction.         Any damages recovered under claims brought by Gil as foreign

representative would augment the estate because the debtor entities, Integradora and Perforadora,

would be entitled to the proceeds of the foreign representative’s claims. See In re Octaviar

Admin. Pty Ltd., 511 B.R. 361, 369-371 (Bankr. S.D.N.Y. 2014) (concluding claims and causes

of action brought by foreign representative are property of the foreign debtor in the United

States); In re Containership Co. (TCC) A/S, 466 B.R. 219, 233 (Bankr. S.D.N.Y. 2012) (“[T]hese

are adversary actions by a foreign representative to augment the size of the estate.”).

         As In re Hellas Telecommunications (Luxembourg) II SCA, 524 B.R. 488, 515 (Bankr.

S.D.N.Y.), adhered to, 526 B.R. 499 (Bankr. S.D.N.Y. 2015), explained: “[t]he outcome of this

74
          Defendants’ citation to Matter of Paso Del Norte Oil Co., 755 F.2d 421, 425 (5th Cir. 1985), for the
proposition that “exercising jurisdiction over a collateral controversy is improper where it is ‘possible’ to administer
the estate without resolving the controversy” misstates the law. It is true that “[a] court of bankruptcy has no power
to entertain collateral disputes between third parties that do not involve the bankrupt or its property,” id. at 424, but
that is clearly not the case here. The foreign representative seeks to recover on behalf of the foreign debtor’s estate,
and any recovery will therefore augment the res of the bankruptcy estate, ensuring “related to” jurisdiction. See In
re Octaviar, 511 B.R. at 369-371. Moreover, the foreign representative’s claims arise out of the same tortious
conduct as the entity Plaintiffs’ other claims. “The existence of strong interconnections between the third party
action and the bankruptcy has been cited frequently by courts in concluding that the third party litigation is related to
the bankruptcy proceeding.” In re WorldCom, Inc. Sec. Litig., 293 B.R. 308, 321 (S.D.N.Y. 2003). That certain
claims are brought in part by Gil in his personal capacity does not preclude jurisdiction. Bgc Partners, Inc. v.
Avison Young (Canada) Inc., 2015 WL 7251954, at *5 (N.D. Ill. Nov. 17, 2015) (“The debtor need not be a party in
cases ‘related to’ a bankruptcy proceeding.”) (citing In re Teknek, LLC, 563 F.3d 639, 648 (7th Cir. 2009)).




                                                          152
19-01294-scc       Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44             Main Document
                                         Pg 175 of 185



adversary proceeding would clearly have an effect on the Debtor’s foreign estate, as it could

potentially recover approximately €1 billion for the benefit of the estate. Notwithstanding that

the Plaintiffs’ claims are all state law claims brought in an adversary proceeding related to a

Chapter 15 proceeding, this adversary proceeding is related to a case under title 11.” The same

is true of Counts 9-11 as brought by the foreign representative in this case, as any monetary

recovery under those claims would become part of the debtor’s foreign estate. See Geltzer as Tr.

of Estate of Michaux v. Riverbay Corp., 2019 WL 912504, at *2 (S.D.N.Y. Feb. 25, 2019)

(finding a “personal injury lawsuit” brought by the trustee is “‘related to’ the bankruptcy

proceeding . . . because any recovery from the . . . lawsuit will be furnished to the trustee . . . to

be distributed consistent with the bankruptcy court’s relevant orders, and as such may ‘have an

effect on the estate’”) (citations omitted).

        “Related to” jurisdiction also exists with regard to Counts 9-11 as brought by Gil in his

personal capacity because the Defendants’ conduct that gave rise to Gil’s personal claims also

gave rise to the foreign representative’s claims. See Compl. ¶¶ 307, 310. “[S]o long as the estate

at issue in a chapter 15 case, wherever located, may conceivably be affected by the action in

question, that action is related to the chapter 15 case.” In re British Am. Ins. Co. Ltd., 488 B.R.

205, 223-24 (Bankr. S.D. Fla. 2013) (“There is no question that . . . this entire adversary

proceeding[] falls within related to jurisdiction under section 1334(b)” because “[t]he outcome of

this action . . . . could augment the recoveries of creditors of the debtor.”). Adjudication of Gil’s

claims brought in his personal capacity could have a significant impact on the claims arising

from the same conduct brought by the foreign representative, and such effects on the claims of

the bankruptcy estate create “related to” jurisdiction. See In re Sterling Optical Corp., 302 B.R.

792, 806 (Bankr. S.D.N.Y. 2003) (finding “related to” jurisdiction because “[t]here was a huge




                                                 153
19-01294-scc      Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44            Main Document
                                        Pg 176 of 185



overlap between the issues raised . . . in its adversary complaint” and “those before the Court,”

ensuring “findings in this adversary proceeding, by reason of res judicata, collateral estoppel, or

some combination of the two would plainly be relevant” to the bankruptcy estate); Private

Capital Grp., LLC v. Cline, No. 07CV4585 (ADS) (WDW), 2008 WL 11449284, at *3

(E.D.N.Y. Sept. 29, 2008) (finding related to jurisdiction exists because the findings of the court

“could conceivably have an estoppel effect on the bankruptcy court’s determination of the

ownership issue” which “could result in the allowance or disallowance of” a particular claim,

thus “having a direct and immediate impact on the bankruptcy estate”).

       Defendants’ cases are readily distinguishable. In re Shirley Duke Assocs., 611 F.2d 15,

18-19 (2d Cir. 1979) denied jurisdiction over a creditor’s claim against a third party unrelated to

the bankruptcy. Similarly, in In re Parade Place, LLC, 508 B.R. 863, 872 (Bankr. S.D.N.Y.

2014), the court lacked jurisdiction because the “claim could not have any conceivable effect on

the bankruptcy estates.” But Counts 9-11 in this case concern claims brought by the foreign

representative of the debtor, arising out of the same alleged tortious conduct for which the debtor

seeks compensation. And the Second Circuit has explained that the location of the estate abroad

is wholly irrelevant to this Court’s jurisdictional analysis. Parmalat Capital Fin. Ltd. v. Bank of

Am. Corp., 639 F.3d 572, 579 (2d Cir. 2011) (“In the context of § 1334(b), there is no need to




                                               154
19-01294-scc          Doc 52        Filed 10/25/19 Entered 10/25/19 23:37:44                        Main Document
                                               Pg 177 of 185



distinguish between estates administered principally in foreign forums and those administered

principally in domestic forums.”).75

         Finally, even if Defendants were correct that this Court lacks subject matter jurisdiction

under 28 U.S.C. § 1334(b) over Gil’s personal claims (or any of Plaintiffs’ other claims), this

Court could exercise supplemental jurisdiction under 28 U.S.C. § 1367, which grants jurisdiction

“over all other claims that are so related to claims in the action . . . that they form part of the

same case or controversy[.]” The Second Circuit has recognized the “bankruptcy court had

jurisdiction . . . under principles of supplemental jurisdiction” in a case involving a non-debtor’s

suit against a creditor. In re Lionel Corp., 29 F.3d 88, 92 (2d Cir. 1994); see also In re Cavalry

Constr., Inc., 496 B.R. 106, 109 (S.D.N.Y. 2013) (“[T]his Court is bound by the Second

Circuit’s view of the matter, which is that bankruptcy courts may invoke the supplemental

jurisdiction of § 1367.”).

         Because of the significant overlap between the conduct giving rise to Counts 9-11 and the

conduct giving rise to Plaintiffs’ remaining claims, supplemental jurisdiction is available:

Counts 9-11 are “so related to claims in the action within such original jurisdiction that they form

part of the same case or controversy[.]” 28 U.S.C. § 1367(a). Claims form part of the same case


75
          The Singapore Rig Owners (Br. 22-25) argue this Court lacks subject matter jurisdiction over all of
Plaintiffs’ claims because the debtor’s estate is outside the United States. But the Second Circuit has expressly held
the location of the debtor’s estate is irrelevant to this Court’s subject matter jurisdiction: “In the context of §
1334(b), there is no need to distinguish between estates administered principally in foreign forums and those
administered principally in domestic forums.” Parmalat Capital Fin. Ltd, 639 F.3d at 579. And Parmalat remains
good law, contrary to the Singapore Rig Owners’ unsubstantiated assertion that Chapter 15 redefined “related to”
jurisdiction under Section 1334 to require in rem jurisdiction over property in the United States. This Court recently
rejected an identical attempt to “engraft” the Chapter 15 “territorial limitation to the Second Circuit’s ruling in
Parmalat” because that argument “confuses subject matter jurisdiction over a proceeding with a court’s in
rem jurisdiction over property . . . . The Parmalat ruling—that the relevant estate for a foreign debtor is the foreign
estate—is not limited to the recovery of U.S. assets; all that is required for the exercise of ‘related to’ jurisdiction is
the satisfaction of the ‘conceivable effect’ test, nothing more.” In re Fairfield Sentry Ltd., No. 10-13164 (SMB),
2018 WL 3756343, at *8 (Bankr. S.D.N.Y. Aug. 6, 2018) (quotations and alteration omitted). In any event,
Plaintiffs’ claims in this action pursuant to a valid forum selection clause are property in the United States that can
augment the debtor’s estate, thereby creating subject matter jurisdiction in this Court. See supra VI(A).




                                                           155
19-01294-scc      Doc 52    Filed 10/25/19 Entered 10/25/19 23:37:44            Main Document
                                       Pg 178 of 185



or controversy if they “arise from the same common nucleus of operative fact.” Montefiore Med.

Ctr. v. Teamsters Local 272, 642 F.3d 321, 332 (2d Cir. 2011) (citing United Mine Workers of

Am. v. Gibbs, 383 U.S. 715, 725 (1966)). And “the court should look to whether the evidence

likely to be used in the specific case in addressing the federal claim is likely to substantially

overlap that used to address the state-law claims.” BLT Rest. Grp. LLC v. Tourondel, 855 F.

Supp. 2d 4, 11 (S.D.N.Y. 2012).

       Here, Plaintiffs’ allegations concerning abuse of process (Counts 9-11) are inextricably

linked with Plaintiffs’ allegations concerning tortious interference and the Ad-Hoc Group

Defendants’ conspiracy: the purpose of the abuse of process was to “cause the destruction of

Integradora and its subsidiaries, including cutting their access to cash and depriving them of the

Rigs.” Compl. ¶ 499. The facts that show the abuse of process also evince Defendants’ tortious

interference and related conspiracy, as the abuse of process was one mechanism by which the

“Ad-Hoc Group Defendants and Singapore Defendants managed to seize all of Oro Negro’s

cash, suffocating Oro Negro and depriving it of its ability to maintain the Rigs, which ultimately

allowed them to take over the Rigs.” Id. ¶ 310.

       Where the claims share “a common nucleus of operative fact,” as in this case, the

exercise of supplemental jurisdiction “is a favored and normal course of action.” Promisel v.

First Am. Artificial Flowers, Inc., 943 F.2d 251, 254 (2d Cir. 1991) (citation omitted). And this

case does not implicate any of the enumerated grounds for this court to decline to assert

otherwise available supplemental jurisdiction. 28 U.S.C. § 1367(c). Counts 9-11 do not “present

a novel or complex issue of State law,” id., as they assert abuse of process claims that New York

courts routinely address, as has this court when applying New York state law. See supra Section

IV.D. Nor do Counts 9-11 “substantially predominate” over the remaining claims, § 1367(c), as




                                               156
19-01294-scc       Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44              Main Document
                                         Pg 179 of 185



they amount to only one of Plaintiffs’ numerous claims because Counts 10 and 11 are pled in the

alternative. Moreover, because “the evidence pertinent to the federal claim is likely to overlap

substantially with the evidence relevant to the state-law claims, . . . the joint adjudication of these

claims will promote judicial and cost efficiency.” BLT Rest. Grp., 855 F. Supp. 2d at 13.

Accordingly, should this Court lack jurisdiction over Counts 9-11 under Section 1334(b), it

should nonetheless exercise supplemental jurisdiction over these claims pursuant to Section

1367.

        B.     Plaintiffs Have Standing To Bring Claims Under Chapter 15

        Ad-Hoc Defendants argue (Br. 85-86) that Gil does not have standing because he is no

longer the foreign representative. But the current foreign representative may be substituted for

Gil without consequence to Plaintiffs’ claims. Under Fed. R. Bankr. P. 2012(b), the “successor

is automatically substituted as a party in any pending action, proceeding, or matter” in the event

that “a trustee dies, resigns, is removed, or otherwise ceases to hold office during the pendency

of a case.” The same applies for foreign representatives.

        This Court has recognized and ordered substitution of foreign representatives under

similar circumstances, recognizing “by analogy” the relevance of Rule 2012 providing for

automatic substitution.       In re Milovanovic, 357 B.R. 250, 253 (Bankr. S.D.N.Y.

2006), subsequently aff’d sub nom. In re Agency for Deposit Ins. of Serbia, No. 08-0299-BK,

2008 WL 4963046 (2d Cir. Nov. 21, 2008) (“The Court will order the substitution . . . in

accordance with § 304(b)(3), which permits the Court to grant ‘other appropriate relief,‘ and (by

analogy) Bankruptcy Rule 2012, which provides for the automatic substitution of a successor

trustee when a trustee ceases to hold office during a case under the Bankruptcy Code.”). As

explained in In re Stanford Int’l Bank, Ltd., No. 3:09-CV-0721-N, 2012 WL 13093940, at *4-5

(N.D. Tex. July 30, 2012), “the Court is satisfied that Chapter 15 of the Bankruptcy Code


                                                 157
19-01294-scc        Doc 52    Filed 10/25/19 Entered 10/25/19 23:37:44           Main Document
                                         Pg 180 of 185



provides the authority for an action to survive the removal of a foreign representative from

office” because, in part, “the fact that foreign representatives generally play the same role as

trustees in U.S. bankruptcy proceedings—that of estate representatives[.]” In that case, the court

granted substitution of a foreign representative after noting the automatic substitution of a

successor trustee under Fed. R. Bankr. P. 2012(b). And this Court does not need to confirm any

replacement foreign representative, because the debtor under Mexican law can appoint the

foreign representative. See In re OAS S.A., 533 B.R. 83, 94 (Bankr. S.D.N.Y. 2015) (“The

District Court had identified examples of bankruptcy courts routinely granting recognition to

foreign representatives appointed by Mexican debtors.”) (citing In re Vitro S.A.B. de CV, 701

F.3d 1031, 1047-48 (5th Cir. 2012)).

          Ad-Hoc Defendants also argue (Br. 86) that “all claims” should be dismissed for lack of

standing. This argument was rejected by In re Stanford Int’l Bank, Ltd., which authorized

substitution nunc pro tunc, and explained that “the Court is also mindful of the necessity of legal

fictions to deal with the practical needs of litigation. Such is the case here where a change in

office could have the potential to negate three years of extensive briefing and hearings on the

issue.”    2012 WL 13093940, at *4 n.12.        The same factors disfavor forcing Plaintiffs to

recommence litigation in this action, as the Chapter 15 Proceeding started over a year ago and

entailed extensive briefing. In any event, the precise name on the complaint bringing claims by a

foreign debtor through a foreign representative is immaterial. See In re British Am. Ins. Co, 488

B.R. at 236 n.32 (“The complaint is presented in the name of BAICO, rather than in the name of

Mr. Glasgow as [foreign representative] for BAICO. The Court sees no material distinction. In

this case, BAICO acts solely through Mr. Glasgow.”).




                                                158
19-01294-scc       Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44              Main Document
                                         Pg 181 of 185



IX.       THIS ADVERSARY PROCEEDING IS CONSISTENT WITH THE PURPOSE OF
          CHAPTER 15

          The Ad-Hoc Defendants argue (Br. 86) that the adversary proceeding should be

dismissed as “inconsistent with the purpose of chapter 15,” but this argument is meritless. As the

Fifth Circuit explained in In re Condor Ins. Ltd., 601 F.3d 319, 325 (5th Cir. 2010), “[t]he

structure of Chapter 15 provides authority to the district court to assist foreign representatives

once a foreign proceeding has been recognized by the district court. Neither text nor structure

suggests additional exceptions to available relief.” (emphasis added). Here, this Court has

already recognized a foreign proceeding, and Defendants cannot identify any provision of

chapter 15 that Plaintiffs’ action violates. Nor do they explain how this action falls within any of

the enumerated exceptions to available relief.         Defendants’ failure to argue an applicable

exception is fatal to their argument that the relief sought in this action falls outside of chapter 15.

          The Ad-Hoc Defendants err in relying on 15 U.S.C. § 1509(b), which refers to

“limitations that the court may impose consistent with the policy of this chapter.” That provision

has not been interpreted as providing a broad policy exception to relief, but rather to recognize

the role of comity. See In re Cozumel Caribe, SA de CV, 482 B.R. 96, 109 (Bankr. S.D.N.Y.

2012). And as discussed supra Section III.B, there is no basis in comity for dismissing this

action.

          The Ad-Hoc Defendants likewise err in relying on the “zone of interests” idea. Once

again, this does not allow for a free-floating inquiry into policy matters. Rather, the “‘zone of

interests’ is an issue that requires [the court] to determine, using traditional tools of statutory

interpretation, whether a legislatively conferred cause of action encompasses a particular

plaintiff’s claim.” Lexmark Int’l, Inc. v. Static Control Components, Inc., 134 S. Ct. 1377, 1387

(2014); see also, e.g., Citizens for Responsibility & Ethics in Washington v. Trump, 939 F.3d



                                                 159
19-01294-scc      Doc 52      Filed 10/25/19 Entered 10/25/19 23:37:44             Main Document
                                         Pg 182 of 185



131, 154 (2d Cir. 2019) (The “zone of interests test asks whether the complaint states an

actionable claim under a statute.”). And “the test is not meant to be especially demanding.”

Citizens for Responsibility, 939 F.3d at 154 (citation and quotations omitted). Thus, the question

is not the zone of interests of Chapter 15 (where a foreign proceeding has already been properly

recognized and thus adversary claims can be brought), but the zone of interests for the claims

themselves. Here, Plaintiffs clearly have a right to bring the claims at issue, and Defendants

identify nothing about any particular claim to suggest that Plaintiffs are outside that claim’s zone

of interests. Indeed, Defendants cite no cases applying the zone of interests test to dismiss

claims in a Chapter 15 adversary proceeding.

       Even if some policy-based or zone of interests test were applicable, it is readily satisfied

here. Chapter 15 provides an expansive policy or “zone of interest” for foreign representatives,

evinced by the “exceedingly broad” remedies available to a foreign representative under chapter

15, “since a court may grant ‘any appropriate relief’ that would further the purposes of chapter

15 and protect the debtor’s assets and the interests of creditors.” In re Atlas Shipping A/S, 404

B.R. 726, 739 (Bankr. S.D.N.Y. 2009). Here, the claims seek recovery from Defendants—the

parties who drove the entity Plaintiffs into insolvency and many of whom have never appeared in

the Mexican insolvency proceedings, see Compl. ¶¶ 252, 255, 324, 343, 349, 394—to augment

the debtor’s estate. This relief is expressly authorized by chapter 15 and effectuates the core

purpose of chapter 15. See In re British Am. Ins. Co., 488 B.R. at 236 (“To the extent this Court

has subject matter jurisdiction over a dispute, has personal jurisdiction or in rem jurisdiction

sufficient to support the action . . . . [T]his Court should exercise that subject matter jurisdiction

to assist the foreign proceeding. This is consistent with the primary goal of chapter 15.”).




                                                 160
19-01294-scc      Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44            Main Document
                                        Pg 183 of 185



       Although Ad-Hoc Defendants emphasize (Br. 88-89) the ongoing Mexican proceedings,

that this action pursues causes of action based on similar factual predicates and legal grounds as

in the foreign bankruptcy proceeding does not invalidate Plaintiffs’ claims. This Court in In re

Octaviar, 511 B.R. 361, expressly rejected a defendant’s attempt to deny recognition of a foreign

proceeding under similar circumstances. There, as in this case, “it is precisely because the

Foreign Representative[] cannot bring these claims in [the foreign forum] that relief here may be

necessary[,]” as “[defendant] is apparently not subject to, and refuses to consent to, the

jurisdiction of the [foreign] court.” Id. at 374. The court in Octaviar emphasized the foreign

representatives’ “common law rights as trustees to bring an action in order to assert claims on

behalf of beneficiaries[,]” and adopted the course of action that would “facilitate the Foreign

Representatives’ ability to bring causes of action they properly identified for the benefit of

creditors.” Id. The court concluded facilitating foreign representatives’ claims was “[c]onsistent

with the[] purpose[]” of chapter 15 because it would “assist in protecting the interests of the

[foreign debtor] and maximizing the value of the [foreign debtor’s] assets for the benefit of its

creditors.” Id. at 375. Plaintiffs here possess the same ability to bring causes of action to

augment the estate under chapter 15 through the foreign representative, especially as litigation in

this forum provides the only means of obtaining relief from the numerous Defendants who have

not appeared in Mexico.

       Ad-Hoc Defendants cite (Br. 88-90) three cases for the proposition that this Court may

limit the foreign representative’s right to sue under 11 U.S.C. § 1509(b). All are inapposite. In

re Bancredit Cayman Ltd., No. 06-11026 (SMB), 2008 WL 5396618, at *9 (Bankr. S.D.N.Y.

Nov. 25, 2008), dismissed the case under the doctrine of forum non conveniens because the

dispute had “no connection to the forum.” This Court is the appropriate forum in this case




                                               161
19-01294-scc      Doc 52     Filed 10/25/19 Entered 10/25/19 23:37:44            Main Document
                                        Pg 184 of 185



because of its significant ties to the underlying action and the lack of an adequate alternative

forum. See supra Section I.B. In re Stanford Int’l Bank, Ltd, No. 3:09-CV-0721-N, 2012 WL

13093940 (N.D. Tex. July 30, 2012), cited for the proposition that this Court may “restrict claims

under Chapter 15,” (Br. at 88) does not support dismissal of claims on any grounds; in that case,

the court merely limited the discovery available to joint liquidators, and conditioned that

discovery on the joint liquidators producing similar information. Id. at *26. Finally in, In re

Magnesium Corp. of Am., 583 B.R. 637, 655 (Bankr. S.D.N.Y. 2018), the court dismissed the

claim of an equity holder to object to a creditor’s claims because the equity holder

mathematically could not receive anything from the estate as the debtor’s assets were already

accounted for by secured creditors with priority over the general unsecured claims of the equity

holder. Id. at 651 (“Thus . . . simple arithmetic makes clear that there is zero possibility that

there will be a surplus available for distribution to equity.”). Plaintiffs’ claims here have a real

prospect of augmenting the debtors’ estates, as this action is brought by the debtors in the foreign

proceeding and the foreign representative on behalf of those debtors. This adversary proceeding

thus furthers the core purpose of chapter 15 by expanding the debtor’s estate and allowing

Plaintiffs to recover for the tortious conduct of Defendants that pushed Plaintiffs into bankruptcy.

                                         CONCLUSION

       For the foregoing reasons, Defendants’ motions to dismiss should be denied.




                                                162
19-01294-scc   Doc 52   Filed 10/25/19 Entered 10/25/19 23:37:44    Main Document
                                   Pg 185 of 185




Dated: October 25, 2019                QUINN EMANUEL URQUHART &
       New York, New York              SULLIVAN, LLP

                                         /s/ Juan P. Morillo
                                       Juan P. Morillo (pro hac vice)
                                       1300 I Street, NW, Suite 900
                                       Washington, D.C. 20005
                                       Telephone: (202) 538-8000
                                       Facsimile: (202) 538-8100
                                       Email: juanmorillo@quinnemanuel.com

                                       Scott C. Shelley
                                       51 Madison Avenue, 22nd Floor
                                       New York, NY 10010
                                       Telephone: 212-849-7000
                                       Facsimile: 212-849-7100
                                       Email: scottshelley@quinnemanuel.com

                                       Eric Winston (pro hac vice)
                                       865 South Figueroa Street, 10th Floor
                                       Los Angeles, California 90017
                                       Telephone: (213) 443-3000
                                       Facsimile: (213) 443-3100
                                       Email: ericwinston@quinnemanuel.com

                                       Counsel for the Plaintiffs




                                      163
